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Attorneys for Defendan’: Regence Blue Shield of
Idaho, Inc.

UNI’I`ED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

PAUL VINCI, an individual,
Plaintiff,
Vs.
REGENCE BLUE SHIELD OF IDAHO,
zB{\IC., AND §OHN and JANE DGES Ithrough

Defendants.

 

 

Case No.
NOTICE OF REMOVAL

PLEASE TAKE NOTICE that Defendant Regence Blue Shield of Idaho, Ine. (“Regence”

or “Defen<iant”), by and through its attorneys of reeoi‘d, Hawfey TroXeH Ennis & Hawley LLP,

and pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, hereby removes this aetion, Which is Case

No. CV~UI-E 8-15982, on the docket of the Foul“ch Judieial Distriet Court ofthe State of Idaho,

for the County of Ada, to the United States Disu‘iot Court, Distriet of idaho and Whieh Was H}ed

NOTICE OF REMOVAL ~ 1

41823.0002.1¥382013.3

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in the state court on August 28, 2018 As more fully set forth heiow, this case is properly
reinovabie to this Court pursuant to 28 U.S.C. § 1441 because this Ccurt has original jurisdiction
over this action pursuant to 28 U.S.C. § 133i and Det`endant has satisfied the procedural
requirements for removal under 28 U.S.C. § 1446.

I. BACKGROUND

011 or about Septernber 9, 2018, Plaintiff Paui Vinci (“Vinci” or “Plaintift”), served his
Complaint and Dernand for Jury Trial (“Compiaint”) on Defendant. As required by 28 U.S.C.§
i446(a) and Local District Rule of Procedure 81.1, a copy of the entire state court record and the
Register of Actions, Which includes the Coinplaint and Surnrnons, is attached hereto as Exhibit
A.

fn the Ccrnplaint, Vinci asserts three causes of action: (1) Breach of Insurance Contract;
(2) Breach of Impiied Covenant of Good Faith and iiair Dealing in an insurance Contract; and
(3) Tort of Bad Faith. Each cause of action is based on Piaintift” s allegation that Det`endant
breached the terms of a certain health insurance policy by improperiy denying a claim for
benefits by Plaintiff. See generally Compiaint. The specific poiicy at issue is part of a group
plan identified by Piaintit`f as Group Nuniber 60017706 (“Group Pian”). See Ccrnplaint it 8. A
copy cf the contract and booklet governing the Group Plan is attached hereto as Exhibits B and
C, respectively

II. FEDERAL QUESTION JURISDICTION

Rernoval is proper under 28 U.S.C. § 1441(a) because this Couit has federal question

jurisdiction under 28 U.S.C. § 1331.

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1. Plaintiff alieges that he is entitled to the payment of certain benefits under the
Group Pian. See generally, Cornplaint.

2. The G~roup Plan, is a heaith care benefits plan provided by Reha‘oAuthority, LLC
to its employees and employees’ dependentsl See Ex. B. As such, it is an “empioyee Welfare
benefit plan” as that term is defined under the Employee Retirernent Incorne Security Act of
1974 (“ERISA”), 29 U.S.C. § 1002(1) (“The terms “ernployee Weliare benefit plan” and
“Welfare plan” mean any plan . . . established or maintained by an employer . . . for the purpose
of providing for its participants or their beneficiaries, through the purchase of insurance or
otherwise, (A) medical, surgical, or hospital care or benefits . . .”). Accordingly, Plaintiff"s

claims fail Within the civil enforcement provisions set forth in ERISA § 502(a), 29 U.S.C. §

1132(a).1 See also 29 U.S.C. § ll32(e)(l) (addressing ERiSA jurisdiction).

3. 'i`his Court has federal question jurisdiction over this action because the claims
asserted in the Coinplaint relate to an employee Welfare benefit piant governed by ERISA and
administered by Regence.

4. ERISA preempts “any and all State laws insofar as they may novv or hereafter
relate to any employee benefit plan. . . .” ERISA § 514(a); 29 U.S.C. § 1144(a). Section Sld(a)
is “cieariy expansive” and designed to establish benefit plan regulation as “exciusiveiy a federai
concern.” Egelhojj”v. Egelhojj§ 532 U.S. 141 (2001); New Yor'k Sl‘ate Conference ofB[ue Cross

& Blue Shield Plans v. Travelers Ins. Co., 514 U.S. 645, 655 (1995); Epps v. NCNB Texas, 7

 

1 ERISA’s civil enforcement provision, § 502(a)(l)(B), 29 U.S.C. § ii32(a){i)(B) provides:
A civil action may be brought
(1) by a participant or beneficiaryl . ..
(B) tc recover benefits due to him under the terms of the plan, to enforce his rights under the
terms of the plan, or to clarity his rights to future benefits under the terms cf the plan; . ..

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F.3d 44, 45 (Sth Cir. l993). When a court must refer to an ERISA plan to determine the
plaintiff s eligibility for benefits or other rights under the plan and compute the damages
claimed, the case “relates to” an BRISA plan and is preempted See Nr'shz`moto v. Federman-
Bachrach & Assocs., 903 F.2d 709, 7l3 (9th Cir. i990); Epps, 7 F.Sd at 45. Thus, Plaintiffs’
claims asserted in his Compiaint are preempted by ERlSA’s civil enforcement scheme codified
at 29 U.S.C. § l132(a).

5. This court therefore has original jurisdiction under 28 U.S.C. §1331 and 29
U.S.C. §1132(e), and the matter is one that Defendant may remove pursuant to 28 U.S.C. § 1441.
See, e_g., Nishimol'o, 903 F.2d at 713 (“Civil claims preempted by ERISA, and redressable under
29 U.S.C. § 1132(a), provide federal question jurisdiction because Congress has “so completeiy”
preempted this area “that any civil complaint raising [section 1132(a)} claims is necessarily
federal in char'acter.”’ (quoting Metropolftan Lz'fe lns. Co. v. Taylor, 48l U.S. 58, 63 67 (l987))).

III. PROCEDURAL REQUIRMENTS

1. Pleadings. A copy of “all process, pleadings, and orders served upon,”
Defendant, see 28 U.S.C. § 1446(a), are attached hereto as Exhibit A (vvhich includes the
Complaint and Summons).

2. Timeliness. Because Plaintiff served Defendant With the Complaint on or about
September 5, 2018, this Notice of Removal is timely under 28 U.S.C. § ld46(b)(i), having been
filed Within 30 days from that date. Further, this Notice of Removal has been filed less than one
year after the commencement of the action See 28 U.S.C. § l446(c)(l).

3. Consent. To Regence’s l<nowledge, Regence is the only defendant that has been
served. 'l`hus, as the only served defendant, Regence is the only defendant required to provide

consent to removal as required under 28 U.S.C. § 1446(b)(2) (“[A]ll defendants Who have been

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properly joined and served must join in or consent to the removal of the action.” (emphasis
added)).

4. Notiee. Consistent With the requirements of 28 U.S.C. § 1446(d), Defendant Wili
file a Notice ofNotice of Removal With the Ada County District Court and serve this Notice of
Removai as Well as the Notice ofNotice of Removal upon Plaintiff. A true and correct copy of
the Notice of Notice of Removal to be filed With the ldaho state court is attached hereto as
Exhibit D.

5. Forum. Ada County, ldaho is vvithin the district of the United States District
Court for the Distr‘ict of ldaho. Therefore, this “district and division embrac[es] the place Where
[the Complaint] is pending,” and therefore this is the appropriate court for removal 28 U.S.C. §
l441(a).

6. Pursuant to Local District Rule of Procedure 8i .l, a Civil Cover' Sheet has been
filed concurrently herewith

WHEREFORE Defendant requests that Case No. CV-01-18-15982, on the docket of the
Fourth indicial District Court of the State of ldaho, for the County of Ada, be removed to the

United States District Court, District of ldaho.

i)ated: 250 // /‘Z{;’F/X

HAWLEY TROXELL ENNIS & HAWLEY LLP

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utilities K. smrrh, isn NO. 9769
Attorneys for Defendant Regence Blue Shield of
ldaho, lnc.

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CERTIFICATE OF SERVICE

 

l HEREBY CERTiFY that l caused to be served a true copy of the foregoing NOTICE
OF REMOVAL by the method indicated beloW, and addressed to each of the f`ollowing:

Chip Giles [:l U.S. l\/lail, Postage Prepaid

GILES & THOMPSON LAW, PLLC l:l Hand l)elivered

350 r\r. 9“l street sure 500 §;r manager rvr-ni

Boise, iD 83702 § E-mail: chip@gtidaholaw.com
[:i Facsimile: 208.947.2424
[B"iCourt

Datedi fOl/i /ZO£Y

 

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fe per/if /j wife
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William K. Smith

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Case Information
CVOi-iB--tSQSZ | Pau§ \finci P§aintiff, vsl Regence B|ue Shield of |da|ro, |nc.
Defenda\rt.
Case Nrr:nber Court irldicia| Offlcer
CVOt»tS-i 5982 Ac|a County Distttct Bail, Deborah A.
Court
|:i|e Date Case Type Case Status
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F, and H'l)
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Party
l Pla§'l_tllf |rractive F\ttorneys'
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l Retained
D@le"da’“ |nactive /-\ttomeys '
f Regence B|ue Sbield of idaho, lnc. Lead Attomey
Martin, James L.
§ Retained j
Attorney §
Srnith, Wti|iam
Keitf'r
Retained

 

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Details'

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08/28/20‘¥8 Compiainl Filed

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Comment
And Filed - Regence Btue Shield of ldabo

08/28/2018 Summons '

09/10/2018 Afr‘idavit of Service '

Comment
9/5/18

09/25/2018 Civil Case |nformation Sheet

09/25/2018 Nolice ot Appearance

Financia|

Vinci, F’arl§
Total Financial Assessment
Total Payments and Credits

8/29/2018 transaction
Assessment

8/29/2018 §F§Ie Payment Receipt #
99033-
2018-R01

R'egence' B|rle Shie|d ot |'da|ro, |nc‘
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Tota| Payrnents and Credlts

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9/28/2018

Details_ Case 1:18-cV-00418-REB Document 1 Filed 10/01/18 Page 9 of 107 Page 3 of3

9/25/2018 Transaction $136.00
Assessment
9/25/2018 EFiie Receipt# Regence {$136.00)
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Idaho, lnc.

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Founh Lirrdtclal Dlstrlct, Ada Ccunty
Chrl'stcpirer D. Rich. C|erk of the Court
By: Luslna Heiskari, Deputy C!ert<

Chip Giles, ISB # 9135

GILES & 'I`HOMPSON LAW, PLLC
350 N. 9'*‘ Street, Suite 500

Boise, Idaho 837€)2

Telephone: (208) 342-7 880

Facsimiie: (208) 947-2424
chip@g£idaho[mv.com

Attorneys for Plaintiff

IN THE DISTRICT COURT OF THE FOURTH JUDICIAL DISTRICT FOR THE
STATE OF II)AHO, IN AND FOR THE COUNTY OF ADA

PAUL VINCI, an individual,
. :CaSe No_ CVG'I~’lS-'ESQBZ

Plaintift`,` -
_ ‘COMPLAINT AND DEMAND FOR\
vA iJURY TRIAL
REGENCB BLUE SHlELD OF IDAHO,
lNC., and .`FOHN and .JANE DOES 1 |l‘
through X, " `.
Def`endants_;;

 

 

COMBS NOW `Plaintiff, by and through his attorney of record, Chip Giles of Giles
and 'i`hompson Law, PLLC, aud, for cause(s) of action against Defendants, alleges as

follows:

I.
_I’AR_TIES ~JURIS}).I.C§F;T}ON.. ANI).VENUE

1. Plaintiff, .Paul Vinci (“Plainrift”) at ali times relevant to this action has been
a resident of Meridian, Ada County, Ida`ho.
2. At all times relevant to this action, Defcndant, Regence Blue Shield ofldaho

Inc., (“Defcndant”) was and is an idaho Corporation based in Portland Oregon presumably

COMPLA}NT AND DEMAND FOR JURY TRIAL - l

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authorized to do business in the state of ldaho, conducting an insurance and/or surety
business, and otherwise presumably does and has had authority to transact insurance and/or
surety business within the state of ldaho. l)ei`endant’s registered agent for service of
process is Corporation Service Company, 12550 W Explorer Drive Ste. 100 Boise, lD
83713.

3. At all times relevant to this action, Det`endants, John/Jane Does l through
X, are individuals or entities, political, corporate, or otherwise, whose true identities are
unknown at the present time but Who engaged in activities conduct, and/or omissions set
forth herein Alternatively, John/Jane Does l through X are individuals or entities Who are
now, or at the material and operative times herein were, the agents, employees,_ independent
contractors subdivisions5 franchisees, wholly»owned subsidiaries or divisions of
Defendants herein, or are individuals or entities acting on behalf of`, or in concert with_, the
other Defendants named herein.

4. 'i`he amount in controversy is greater than the sum of 810,000.00, and this
claim therefore exceeds the jurisdictional limits of the Magistrate’s Division and thereby
satisfies the jurisdictional prerequisites of the District Cour‘t.

5. Based upon the above allegations, venue is proper in this action in this
Court.

6. Service of process may bernade upon tire De;fendants pursuant to 1 .C, §§41-
333 and 41-334 by service upon the Director of the Departnient of insurance for the state

of Idaho.

COMPLAINT AND DEMAN}) FOR JURY TR!AL. ' 2

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II.
nerve ALLEGATIONSQQMMONTOALLCAHSBSOEACTIOn

7. Piaintiff incorporates herein by reference all of the foregoing and following
allegations of his Complaint as though fuily set forth herein

8. At all times herein mentioned, Defendant had issued tc Plaintiff, for which
Plaintiff duly, prcperly, and timely paid the premium paymenr(s), a health insurance
contract and/or surety bond identified by Policy No. XNEI 301971'76. Also-’associated- With
this insurance/bond coverage was claim reference E415342l3800 and Group‘ Number
60017706.

9. The above referenced insurance policy was effective from .`iuly 1, 2016,
through July l, 2017. Plaintiff thereafter renewed the policy through .`iuly l, 2018.

10. On Friday .`Iune 17, 20i7 Piaintiff presented at St. Luke’s Hcspital
emergency room in Meridian, Idahc with severe acute abdominal pain and a synccpal
episode

ll. Ai`ter initiai workup and evaluation in the emergency room Plaintiff was
found to be clinically worsening and suffering systemic inflammatory response syndrome
and worsening pancreatic appearance on CT scan.

12. Plaintiff had history of fungemia and sepsis. Mcdicai personnel had serious
concern about Plaintiff’s rapid deciine. At that point St. Lul<e’s hospital physicians
consulted with the University of Utah physician that had formerly treated P.laintiff.

13. v By all accounts from medical personal, Plaintiff required emergent transport
te the University of Utah for ongoing care, provided the complexity of his medicai issues,

and rapid deciine.

COMPLA}NT AND DE]VEAND FOR JURY TRIAL - 3

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ld. Therefore, Plaintiff required air transport (90 minutes to the University of
Utah) rather than ground transport (5-6 hours to the University of Utah) to sustain his life.

15. Plaintiff was temporarily stabilized prior to transport, as is completely
customary whenever a patient is transferred to a different facility Accordingly Plaintiff’s
St. Luke’s chart notes indicate Plaintiff was in stable condition This does not mean that
the Life Flight transport to Salt Lake was not emergent, and necessary to sustain Plaintiff s
life

l6. Plaintiff’s treating physician stated that Plaintiff”s condition on lane 17,
20l7 Was emergent requiring transport to a tertiary care center, and that a delay in transfer
could have resulted in Piaintiff’s death.

17. The costs incurred by Life Flight Network for the medically necessary and
emergent transport cfPlaintiff on June l?, 2017 totaled $`56,804.00

lS. On September 7, 2017 Defendant denied authorization of the services ofthe
Life Flight Network on §une l?, 201?.

19. Plaintiff was informed of his right to appeal, which he did. In the process of
tire appeal Plaintiff obtained supporting documentation from his local treating physician
Dr. Tracy i\/iorgan, and the Life i?light l\ietworl<. Ail appeals were denied by Regence Blne
Shield.

20. The balance to the Life Flight Networl< remains unpaid, and a dispute has
now arisen between Plaintiff and Defendant concerning the extent'of benefits to which
Piaintiff is entitled under the applicable insurance contract and/or surety bond relative to

the expenses incurred to the Life Flight Networl<.

COMPLA}NT AND DEMAND FOR JURY TR`lAL - 4

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21. Plaintiff has complied With ail notice requirements oi` the applicable
insurance policy and/cr surety bond and has submitted an appropriate appeal of
determination with all reasonably necessary documentation

22. Defendant has breached the express terms of the applicable insurance
contract and/or surety bond by failing to pay the benefits due. in adjusting Plainti-'fi"’s claim,
Defendant has acted in bad faith by intentionally and unreasonably delaying and/or denying
payment on a claim that Was not fairly debatable, nor can be factually disputcd, has harmed
Piaintift` in such a Way not fully compensable by contractual remedies The unreasonable
investigation, adjustment, delay, and/or denial of payment of the relevant charges-incurred
Was/wcre not the result of a good faith mistake by Defendants, especially considering both
the Life Flight Network and_Plaintiit’s own physician stated during the appeal process that
the Life Ftight 'i`ransport was medically necessary tc sustain Pl'aintift’s life

23. That in doing the acts described in this Ccmplaint, Defendant knew or
should have known that it would cause tinancial, mental, and emotional injuries to Piaintiff
but nonetheless carried out the adjustment and investigation with a conscious disregard of
`Plaintii`f’s right to payment of the incurred charges under the applicable insurance contract
and/or surety bond and with the intention of depriving him oftiie insurance contract and/or
surety bond proceeds to Whicli he Was/is entitied.

24. Plaintiff has not prejudiced any rights that iJe:t`endant may have. Plaintiff
has repeatediy requested that Defendant pay this amount due under the applicable
insurance contract and/cr surety bond, which to date De_t`endant has refused to do.

25. As a resuit of the aforementioned denial of payment Piaintiff has been

required to bring a civil action against Det`endant.

COMPLA}NT AND DEMAND FOR JURY TRlAL - 5

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III|

rest QAUS'§,_OF ACTIQN.
(BREACH OF INSURANCE CONTRACT)

26. Plaintiff incorporates herein by reference all of the foregoing and following
ailegations of this Ccrnplaint as though fully set forth fuin herein

27. Plaintiff paid all premiums due under the applicabie insurance contract
and/or surety bond, submitted.a`li necessary appeals required under the applicable insurance
policy and/or surety bond, and performed all other conditions precedent which the
appiicablc insurance policy and/ci"snrety bond With Defendant-reqaired him to ‘peri`cnn.

28. Defendant breached the terms of the applicable insurance policy and/or
surety bond by faiiing_ to justly, fairly, and time_iy pay charges incurred by Plaintiff to the
Life"Fiight` Net\>vork for a medically necessary and emergent transport

29. As a direct and proximate result of i)efend`ant’s breach(es) of the appiicabie
insurance contract and/or surety bond, Piaintiffhas suffered direct and consequentiai losses
and damages in amounts to be determined at trial.

30. As. a result of the above and foregoing events, facts, and circumstances,
Plaintiff has been required to retain an attorney and has engaged the professionai services
of Giies and Thornpson Law P,L.L.C. Plaintiff is entitled to recover his reasonable attorney
fees and costs of litigation from Defendant, pursuant to i. C. §41~1839, and other applicable
fee-shifting provisions set by governing statute(s) and procedural ruie(s).

IV.

:\SE_CO.ND CaU$E,O-r action
(BREACH OF IMPLIED CO'VENA`NT UFMGUOHD…FAITH AND FAIR DEAL{NG
IN AN INSURANCE CONTRACT)

COMP.LAINT AN}) D}?.MANI) FOR JURY TR]AL - 6

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31.. Plaintiff incorporates herein by reference all of the foregoing and following
allegations ofthis Cornplaint as though fully set forth herein

32. Plaintifi` paid all premiums due under the applicable insurance contract
and/or surety bond, submitted ail proofs of loss required under the applicable insurance
policy and/or surety bond, and performed ail other conditions precedent which the
applicable insurance policy and/or surety bond Witli Defendants required them to perform

33. Payrnent.of charges incurred by Plairitifi` to the Life Flight Network for a
r_nedi_cally necessary and emergent transport under the insurance contract and/or surety
bond Written by De’i`endan't is not fairiy debat'ai)le, and Det`endant should have timely
tendered payment of benefits to either Plainti‘ff or the Life Flight Network within a
commercially reasonable time frazne, as the proof of loss, With all reasonably necessary
document`ation, was submitted to Defendant in a timely manner pursuant to the policy
provisions

34. Defendant breached the implied covenant of good faith and fair dealing by
failing to fairly investigate and adjust and thereafter justly and timely pay Plaintii`fs’ the
charges incurred to the Li'fe Fiight Network.

35. As a direct and proximate result of Defendant’s breaches of the implied
covenant of good faith and fair dealing Plaintiff has suffered direct and consequential
losses and damages in amounts to be detelrnined at trial.

36. As a result cf the above and foregoing events, facts, and circumstancesI
Plaintift` has been required to retain an attorney and has engaged the professional services

of Giies & Thompson Law P.L.L.C. Plaintift`s are entitled to recover their reasonable

COMPLA]NT AND DEMAND FOR JURY TRlAL ~ 7

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attorney fees and costs of litigation from Deiendants, pursuant to l. C. §41~1839, and other

applicable fee-shifting provisions set by governing statute(s) and procedural rule(s).

V.

anna-_CAUSE.;-e_H-Asncs
"(TORT"OF`BKI) FAITH) ` '

37. Plaintiff incorporates herein by reference all of the foregoing and following
allegations of this Cornplaint as though fully set forth herein

38. 1a investigating Plaintift’s charges incurred to the `Life Fligh_t Net\Nork,_
Defendant has acted in'bad faith by intentionally and unreasonably delaying and/or denying
payment of charges related to a service that was not fairly debatable and, in the processq
has harmed Plaintit"f in such a way not fully compensable at contract The delay and/or
denial of payment of the charges incurred was not the result of a good faith mistake

39. By delaying and/or denying payment of Plaintiff’ s charges to the Life Flight
Network while knowing or should having known they had no legal justification for doing
so, Defendant purposefully forced Plaintiffs to tile this Complaint in order to obtain the
insurance and/or surety benefits and proceeds and for theft loss to which they he is entitlcd.

40. As a direct and proximate result o:t" the bad faith investigation and denial of
payment of Piainti'fi` s expenses incurred to the Lit`e Flight Network, Plaintiff has suffered
direct and consequential losses and damages in amounts to be determined at trial.

41. As a direct and proximate result of the bad faith investigation and denial to
payment of l’laintii`t"s expenses incurred to the Life Flight Networl<, Piaintiff has suffered
noneconomic damages for psychological harm, emotional distress, financial hardship,

pain, and suffering in amounts to be determined at trial

COMPLA]NT AND DEMANI} FOR JURY TRIAL - 8

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42, As a result of the above and foregoing events, facts, end circumstances,
Plaintiff has been required to retain an attorney and has engaged the professional services
oi`Giles & Thornpson Lew P.L.L.C, Piaintiff is entitled to recover his reasonable attorney
fees end costs of iitigetion from Defendants, pursuant to I.C. § 41~1839, I.C. § 12-}20(3)
and other appiicabie fee~shifting provisions set by governing statute(s) and procedurai
rule(s).

VI.

rem - , :--pAnAGES

43. Plaintiff reserves the right to tile a motion to amend this Complaint` for
Punitive dumages, pursuant to Idaho Ccde § 6~1604.
.\PMYER F,_OR mses
WHEREFORE, Plaintiffs request and demand judgment against Defendents es follows:

1. For Pleintiffs’ speeial, economic damages and generai, noneconomic
damages in amounts which may be proven at triai;

2. For Plaintift`s’ reasonable costs and attorney fees incurred herein; and
3. For such other and further reiiet` as this Court deems just and equitable

.DEMAN]?!:FQB:J;UBY TmAL

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`l

 

Plaintift` hereby demands a jury trial, pursuant to the fdaho Ruies ofCivz‘l

ATED-'utrs.,,_;;;.;" _ say ofnugusr, 2013.

Pr'o cei§il;;?§",; Rule `_'§)"j§'QBJ-.=-

   

GILES & THOMPSON LAW, PLLC
tx

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.. .. ._._..,r l

Chip Giies

 

COMPLAlNT AND DEMAND FOR JURY TRIAL ~ 9

Case 1:18-cV-OO418-REB Documentl Filed 10/01/18 PM%H}G§" ElLplum

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Fourth Jud|eiel D|strict, Ada County
Chi'istopher D. Rich, Cierl< of the Couri
By: i.uslna Heiskari, Deputy CIerk

Chip Giles, ISB # 9135

GILES & THOMPSON LAW, PLLC

350 N. 9th Street, Suite 500

Beise, Idaho 83702

Telephone: (208) 342-7880

Facsimile: (208) 947-2424 ,
ch§c)@gtidaholaw.com Ba';' Deborah A'

Attorney for Plaintiff
IN THE COURT FOR THE FOURTH JUDICIAL I)ISTRICT OF THE
STATE OF IDAHO, IN AND FOR THE COUNTY OF ADA

PAUL VINCI, an individual, 0_ CVO’i-18~15982

Case N

Plaintiff,
SUMMONS
v.

REGENCE BLUE SHIHLD O‘§ lDAI-IO,
INC., AND IOHN and JANE DOES l
through X,

Defendants.

 

 

NOTICE: YOU HAV`E BEEN SUED BY THE ABOVE-NAl\/IED PLAINT[FF.
'I‘HE COURT MAY ENTER JUDGMEN’I` AGAINS'I` YOU WITHOUT FURTBER
NOTICE UNLESS YOU RESPOND WITH[N 20 DAYS. READ 'I`I'IE
INFORMATION BELOW.

’I`O: REGENCE BLUE SHIELD OF IDAHO, INC.

You are hereby notiiied that in order to defend this iawsuit, an appropriate written
response must be filed with the above designated Court Within' twenty (20) days after
service of this Sumrnons on you. If you fail to so respond the court may enter judgment
against you as demanded by the 'Plaintiff in the Cernplaint.

A copy of the Conrpiaint is served with this Sumrnons. If you wish to seek the
advice or representation by an attorney in this case, you should do so promptly so that your
Written response, if any, may be filed in time and other legal rights protected

An appropriate written response requires compliance with Rule 10(a)(1) and other
Idaho Ruies of Civil Procedure and shall also include:

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l. The title and number of the case.

2. if your response is an Answer to the Cornplaint, it must contain admissions
or denials of the separate allegations of the Cornpiaint and other defenses you may
eiaim.

3. Your signature, mailing address and telephone number, pr the signature,

mailing address and telephone number of your attorney

4. Proof of maiiing or delivery of a copy of your response to Piaintiff attorney,
as designated above.

To determine Whether you must pay a friin g fee with your Answer, contact the Cleri<

of the above-namedo co
8128/20‘¥8 12: 04 PM

DATED this day of August, 2018.

 

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'¥ransmitta| Number: 186673?6

Notice of Service of Process esa messages eeoa/2013

 

Primary Contact: Bil| l_ehman
Cambia l-iealth Soiutlons, Enc.
100 SVV lVlarket St
lVlS EtZB
Port|and, OR 97201

Electronic copy provided to: Ginger Frager
doan Lep|ey
Llsa §<uykendall
Darra Schee|e
Emlly Brewood

 

A|lssa Smith
i_lsa Oman
Sandy Nlertln
Entity: Regence B|ueshie|d Of |daho, inc.
Entlty iD Numbet 3268857
Entity Servecl: Regence Bfue Shleid of ldaho, |nc.
Title of Action: Paul Vlncl vs. Regence B|ue Shieic| of idaho, lnc.
Document(s) Type: Summons/Compfaint
Nature of Action: Contract
CourUAgency: Ada County Dlstrict Court, idaho
CaselReference i\£o: CVOl-18~15982
Jurisdiction Served: idaho
Date Served on CSC: 09/05/20‘| 8
Answer or Appearance Due: 20 DayS
Original|y Served On: CSC
How Served: Personal Service
Sender information: Chip Glles

208-342-7880

 

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constitute a iega§ opinionl The recipient is responsible for interpreting the documents and taking appropriate actson.

To avoid potential defay, please cio not send your response to CSC
251 tittle Fa§ls Drive. W:|mington, Delaware 19808-1674 (888) 690-2882 l sop@csog|obal.com

Case 1:18-cV-00418-REB Documentl Filed10/01/18 Pag@:&l@elw@¥

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Attorneys for Defendant Regence Blue Shield of
Idaho, lnc.

9125/2018 9245 ANl

Feurth Judiciai Distrlct, Ada Counly
Christopher D. Rich, Clerk of the Courl
By: Kaiee Hyse||, Depuly Clerk

IN THE DISTRICT COURT OF THE FOURTH JUDICEAL DISTRICT

OF THE STATE OF IDAHO, lN AND FOR THE COUNTY OF ADA

PAUL VINCI, an individual,
Plaintii`f,
vs.
REGENCE BLUE SHIELD OF IDAHO,
>LE?C., AND JOHN and JANE DOES l through

Defendants.

 

 

Case No. CVOl-i 8-i5982
NOTICE O‘§ APPEARANCE

TO: PAUL VTNCI, PLAINTIFF ABOVE NAMED, AND HIS ATTORNEY OF RECORD

PLEASE TAKE NOTICE that 5 ames L. l\/iar'tin, John C. Hughes and Wiiliarn K. Srnith,

members of the firm of Hawley Troxell Ennis & Hawley LLP, Post Office Box i6l7, Boise,

NOTICE OF APPEARANCE - l

55555.0855.11369300,1

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ldaho, 83701, hereby enters an appearance as Attorneys of Record for Defendant Regence Blue

shield Ofldého, lnc.

Dated: %)/%CV HAWLEY TROXELL ENNIS &; HAWLEY LLP

By %MM/

lam L. Mar’€in, ISB No. 4226
orneys for Defendant Regence Blue Shield of
daho, Inc.

NOTICE OF APPEARANCE ~ 2
55555.0855.§1369300.1

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CERTIFICATE OF SERVICE

l HEREBY CERTIFY that l caused to be served a true copy ofthe foregoing NOTICE
OF APPEARANCE by the method indicated befow, and addressed to each of the foliowing:

Chip Giles 1:1 U.S. Mail, Postage Pr'epaid
GILES'& THOMPSON LAW, PLLC |:l Hanci Deiivered
350 N. 9th Street, Suite 500 l:l Ovemight Mail
Boise, ID 83702 C] E-mail: chip@gtidaholaw.com
ij Facsimile: 208.947.2424
MOUR

Dated: :7/25’%0{

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NOTICE OF APPEARANCE - 3
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2016 CONTRACT FOR:
REHABAUTHOR|TY LLC

Group Number: 60017706

Regence HSA Hea|thp|an 2.0SM Nledicaf Plan

Regence

llcgeocc illucSEx£cld ol`!dn§w is an Indcpvlsdcoi
licensee of!bc Blue Cross and B§ue Sh|ch§ Assodm£on

Regenee B|ue$hie|d of idaho

EXHIBIT B

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CON'TRAC`T' for:
REHABAUTHORITY LLC
Boc)klet Type:

segsnce i-isA nealsrplsn 2.03"' Medical alan

Regence BiueShield of tdaho, an independent licensee of the Btue Cross and B|ue Shield Association,
agrees to provide the health care benefits described in this Contraot to eiigtb|e emptoyees of the Group
named above, and their eligible dependents, Who become enrot§ed under this Contract. The benefits to be
provided and att other terms and conditions are set forth in this Contract, including the attached Booktet.

in this Contract, the terms "We," "Us," and "Our" refer to Regence BiueSh§eid of idaho and the term
“Group" means the organization named above Whose empioyees may participate under this coverage
*‘Enrotied Empioyee" means an employee ot the Group who is eligible under the terms of this Contract,
has completed an enrollment form and is enrolled under this Contract. "Enrotted Dependent“ means

an Enrolled Employee's eligible dependent Who is listed on the Enrotted Empioyee's appiicatton, has
compieted an enroi[rnent form and is enrolled under this Contraot. 'i'he term "Nlember" refers to an
Enro||eci E.mployee or an Enro||ed Dependent. Other terms are defined vvhere they are first used or in the
definitions section in the back of the Boel<tet.

EN W|TNESS WHEREOF, We, by Our duty authorized oi"iicer, have executed this Contract.

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Soott D. Kreiiirig
President
Regenoe B|ueShield of idaho

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Regence BlueShield of idaho Contract

`i'his Contract, including the Group’s application, the Booklet and any amendments, endorsements or
riders and any subsequent renewals thereof is the entire understanding between the Group and Regence
BlueSi'iield of idaho concerning the subject matter of this Contract. lt states all the terms ct the coverage
and supersedes and cancels eiland any prior contracts issued to the Group by Us. No modifications of or
additions to this Contract will be binding upon Us untess set forth in an amendmentz endorsement or rider
issued by Us and signed by one of Our authorized officers

GROUP ELiGiB¥L|TY

Ti'le Group must continuously satisfy the requirements of this section, this Contract and the Group's
application in order to become enroiied and remain enrolled under this Contract.

Group Quatification

in order to guaiify as an employer and to maintain eligibility for this employer hesith insurance Contract.
the Group must be a person (includlng soie proprietors or self-empioyed individuais}, iirrn, corporation
(inciudlng i_irnited Liability Corporations, or L.i.Cs), partnership (inciuding Limited i_iat)iiity Partnersnips
(i_LPs)), association or trust, labor union or poiitical subdivision that, on at least 50 percent ot its working
days during the preceding calendar year, empioyed no less than 51 eligible empioyees, tire majority of
whom were empioyed within this state, |n determining the number oi eligible employees, companies that
are afniiated companies or tnat are eligibie to fiie a combined tax return for the purpose of state taxation,
shail be considered one empioyer. ln order to be eligiblel a Group must:

- accept biiiing on a consoiidated basis and coilect any required employee premium contributions via
payroii deductions;

- be activety engaged in legal business activity;

- be iicensed to conduct business in the state and obtain other business licenses as required by iaw;

- provide workers' compensation insurance to aii empioyees legaliy required to be so insured; and

- have a status as a legal entity With authority to contract ior health insurance coverage and not be
formed primarily for purposes of buying health insurance

Emp|oyer Premium Contribution and Empioyee and Dependent Participation

Coverage under this Contract is contingent upon the Group satisfying all eligibilityl participation, Group
sizel premium contribution and other requirements as specified in the Group's application Note that when
caicuiating the participation requirements We count only eligibie empioyees who are not already covered
by existing qualifying coverage

Rep|acement

in the event this Contract replaces within 60 days, the Group's previous coverage which was discontinued
by the preceding carrier, We shall immediately cover all employees and dependents who were covered
under the previous coverage on the date of discontinuance and who meet tire definition ot an employee
and dependent and who would otherwise be eligible to enroll under the previous coverage, regardiess of
any limitations or exciusions relating to active employment or nonconfinement.

MEMBER EL|GiBii_|TY

Tne foliowing sections describe employee and dependent eiigibllity under this Contract. The Group
agrees that We have the right to examine emptoyee records for purposes of confirming any ivlernber's
employment status

EMPLOYEE EL|G|B|L|`!'Y

`E'o enroll and remain eilglbie under this Contract, an individual must rneet ali of the following
requirements on a continuous basis (except that eligibility commences or continues white an employee is
otherwise eiigibie but is confined to a i-iospital, Skilled i\iursing Facility or extended care taci[ity):

- have begun performing personai services for the Group;
- be and remain a permanentl active, iuil-time empioyee of the Group working the required number of
hours;

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- be ciassined by the Group as its employee for ali purposes, including determination of eligibility for
coverage under the group health plan;

- be covered by workers` compensation insurance as required by law;

- be paid on a regular, periodic basis through the Group's payroll system;

- have federal and state taxes (inciuding FlCA) withheld via payroii deduction;

~ be in an employer/employee reiationshlp as defined by federai tax law;

' have completed any applicabie probationary period as required by the Group;

- have premium contributions toward the cost of coverage {if any) withheid via payroli deduction; and

- not be classified as a part-time, ieased, temporary1 seasonal or substitute employeel or as an
independent contractor or a person whose earnings are reported on iRS Form 1099.

DEPENDENT EL|G|B|L|TY
Dependent eligibility is described within the Group Appiioation.

TERM, ZVlODlFlCAT¥Oi\i, TERNiiNA`§`|ON

Term

This Contract goes into etfect on July i, 2016. Thls is the Contract Ettective Date. i'he date this Contract
is renewed is the Renewai Date, i'he Renewal Date is duly 1 of each year. The Contract wiil remain in
effect from one Renewai Date to the next uniess otherwise terminated as described in the "renewa| and
termination" provision

Modification

We have the right to modify or amend any provision of this Contract, including premium rates1 on any
Renewal Date by giving the Group at ieast 30 days (or longer, as required by law) advance written notice.
No moditication or amendment wili be effective until at least 30 days aiter such advance notice has been
given. Any modification will be uniform within the product line and at the time of renewal.

However, when a change in the Contract is beyond Our control (tor exampie, iegisiative or regulatory
changes take placef the Group size increases or decreases by ten cr more percent or the Group initiates
a benefit change). We may modify or amend the Contract on a date other than the Renewal Date,
including changing the premium rates, as of the date of the change in the Contract. We will give the
Group prior notice of a change in premium rates when feasible. if prior notice is not ieasibie, We wiil notify
the Greup in writing of a change of premium rates within 30 days after:

- the later ct the effective date or the date ot Our implementation of a statute or regulation;
' the Premium Due Date following Our knowiedge of a Group size change ct ten percent or more; or
- reaching agreement with the Group on a Group-initiated behest change

Provided We give notice of a change in premium rates within the above period, the change in premium
rates shall be effective from the date for which the change in the Contract is implemented1 which may be
retroactive

Payment ct new premium rates after receiving notice of a premium change constitutes the Group's
acceptance of a premium rate change.

Changes can be made oniy through a modified Contract, amendment endorsement or rider authorized
and signed by one of Our otHcers. No other agent or emptoyee of Ours is authorized to change this
Contract.

Renewa| and Termination

‘i“he Contract is renewable at the option ot the Group, except that We may discontinue or nonrenew this
Contract With no iess than 30 days written notice if there is no longer any lvlember covered through the
Group who Eives, resides or works in Our service area or in the area in which We are authorized to do
business

We may also discontinue this Contract or coverage for a Nlember on any Premium Due Date with written
notice and/or re-rate and collect any additional funds from the Group as tollows:

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- For the Group's faiiure to pay the required premiums by the end of the grace period (aiso see
"i:'ayment of F’rerniurns“ below).

- For fraud or intentional misrepresentation of materiai fact by the Group.

' For the Group's failure to provide Us annual census information or tal|ure to respond to Our written
request for current status information including group size, participation and premium contribution

- For the Group‘s failure to compiy with Our minimum participation requirements or emptoyer premium
contribution requirements

in addition, if We choose to discontinue offering coverage in the smaii group and/or large group market,
We wilt provide 180-days prior written notice to the Director of the State of idaho Department of insurance
and the Group. in this case {when We discontinue coverage in a certain market}, We will not write
business in that market ior a period ct at least five years.

in the event We eiiminate the coverage described in this Contract for the Group and all other enroiled
groups on their renewai dates, We will provide 530-days written notice to the Group and all Ntembers
covered through the Group. We wiil make avaiiahle to the Group, on a guaranteed issue basis and
without regard to the claims experience of the Group or health status of any l'v‘|ember covered through it,
the option to purchase all other group ooverage(s) being offered by Us for which the Group qualifies

'l"he Group may terminate this Contract on any Prerniurn Due Date without cause upon 30 days prior
written notice to Us.

'i'he Group shail provide each Enroiied Emptoyee 30 days prior written notice of termination and notify
the Enroiied Empioyee and Enroiied Dependents of any right which may exist to continue coverage upon
termination

Retroactive Termination of Nfernbers

`i'he Group rnay retroactiveiy terminate a lViember, if all of the foiiowing conditions are met: i)the
Contract covers oniy active empioyees (or those on COBRA); 2} the iViemiJer has paid no premium for
coverage after the effective date of the cance|iation; 3) the i\!lernber had no expectation of coverage

after the requested effective date of cancellation; and 4) the retroactive cance|iation is due to a deiay

in administrative record-keeping that occurred in the normal course of business. if a Member for which
the Group requests retroactive termination incurs expenses and We pay claims after the requested
termination date, premium is due and must be paid for that Nlember for the monthly period in which ciairns
are incurred.

PREM§UMS

The date the montth premium is due is the Prerniurn tJue Date. 'ihe premium amount will usually depend
on the number of persons in a family who are to be enrolled (for examplef a rate is charged based on
whether one. two or three or more persons are covered). A group may instead use a single rate (cal|eci a
unit rate) that does not change no matter how many peopie in a famiiy are enrolled

Payment of Premiums

The Group must pay tie the premium for each Member before the Premiurn Due Date for each month this
Contract is in effect. The i°remium Due Date is the first oi each monthl regardiess of the date coverage
became effective

l\ionpayment of premiums

if the Group does not pay the premium for the Group or any Member by the Premiurn Due Date, We will
send the Group a notice that the premium is overdue if the Group does not pay t.is within 30 days ot the
Premium Due Date (the grace period), the Group's or Mamber's coverage may end automaticaily and
without further prior written notice on the iast day of the monthly period through which premiums are pald,
|f termination for nonpayment of premiums is effective later than the fast date tor which premium has been
received by Us, We shali be entitied to coiiect premium tier the period between the last date through which
premium was paid and the effective date of termination

in the event this Contract ends for nonpayment of premium, it may be reinstated at Our option and oniy
by Our written agreement Unless reinstated, this Contract shait remain terminated regardless of the tact

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that after the termination date We send monthly billing statements to the Group or, ior security purposes,
deposit payments received irom the Group.

Subiect to the provisions of this Contract, no person shati be entitled to coverage under this Contract
during any period of time for which payment of the required premium on his or her behaii has not been
made. Receipt by Us of any sum on account for any individual not entitled to coverage under this Contract
during the period for which such premium has been paid sha|i not constitute Our acceptance of the
individual.

Refuncis of Premiums

if premiums are paid for someone who is not eiigibie for coveragel We shaii refund the amount paid in
error as tong as no claims have been paid for expenses incurred during the period of none|igibi|ity. if We
have paid claims for the iVlernber in guestion, premium is due and must be paid for that Member during
the period in which claims are incurred

|n the event this Contract is terminated We shali refund any unearned premiums to the Group. ln the
event this Contract is terminated because ot material misrepresentation Vv'e shail refund to the Group any
unearned premiums less the amount of paid ciaims.

OUT-OF-AREA SERV|CES

We have a variety of reiationships with other Blue Cross and/or B|ue Shield l_icensees referred to
generally as "lnter-Ptan i:‘rograms.‘l Whenever Nlembers access heaith care services outside the
geographic area We serve, the claim for those services may be processed through one of these inter-
Plan Programs and presented to Us for payment in accordance with the rules ot the lnter~Plan Programs
policies then in etfect. 'ihe lnter-P|an Programs available to Members under this Contract are described
generat|y beiowr

Typicaiiy, iviembers, when accessing care outside the geographic area We serve, obtain care from
heaith care Providers that have a contractuai agreement (for example, are “participating Providers*') with
the iocal Biue Cross and/or Blue Shieid i_icensee in that other geographic area ("Host Biue"). in some
instances, lvlembers may obtain care from nonparticipating Providers. Our payment practices in both
instances are described beiow.

BtueCard® Program

tinder the BtueCard Prograrn, when Members access Covered Services within the geographic area
served by a i-lost Blue, We wiil remain responsibie to the Group for fuifilling Ourcontractuai obiigations.
i-iowever, in accordance with appiicable inter-Plan i~'“rograms poiicles then in effect, the iiost Blue will
be responsible for providing such services as contracting and handiing substantiaily all interactions with
its participating Providers. 'i'he financial terms ct the B|ueCard Program are described generally beiow.
individual circumstances may arise that are not directly covered by this description; however, in those
instances, Our action wiii be consistent with the spirit of this descriptionl

Liabtiity Calcu|ation Method Per C|aim

The calculation of the lv'lember liability on claims for Covered Services processed through the BiueCard
Program wiii be based on the tower of the participating Provider‘s billed covered charges or the negotiated
price made avaiiable to t.is by the E“~iost Blue.

i-iost Biues may use various methods to determine a negotiated price, depending on the terms of each
i~iost Biue's health care Provider contracts. The negotiated price made available to its by the Host
Blue may represent a payment negotiated by a itost Biue with a health care i'-"rovider that is one of the
following:

- An actuai price. An actual price is a negotiated payment without any other increases or decreases, or
~ An estimated price. An estimated price is a negotiated payment reduced or increased by a percentage
to take into account certain payments negotiated with the Provider and other ciaim~ and non-claim-

related transactionsl Such transactions may lnciude, but are not limited to, antl-iraud and abuse

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recoveries, Provider refunds not appiied on a claim-specific basls, retrospective settlements, and
performance-related bonuses or incentives; or

~ An average price. An average price is a percentage ot biiied covered charges representing the
aggregate payments negotiated by the l-tost Blue with aii of its health care Providers or a similar
classification of its Providers and other oiaim~ and non~ciaim~reiated transactions Such transactions
may include the same ones as noted above for an estimated price.

Host Blues using either an estimated price or an average price may, in accordance with lnter~P|an
Programs policies, prospectively increase or reduce such prices to correct for over~ or underestimation

of past prices (for exampie, prospective adjustments may mean that a current price reflects additionai
amounts or credits for ciairns aiready paid to Providers or anticipated to be paid to or received from
Providers). i-towever, the amount paid by the lviember is a final price; no future price adjustment wiil result
in increases or decreases to the pricing of past ciaims. The BiueCard Prograrn requires that the price
submitted by a iiost Blue to Us is a final price irrespective of any future adjustments based on the use of
estimated or average pricing.

ln some instances federal law or the laws of a smait number of states may require Host Biues either (i)
to use a basis for determining Nlember liabiiity for covered medical expenses that does not reflect the
entire savings reallzed, or expected to be reaiized, on a particular cialm or (ii) to add a surcharge Shouid
either federal law or the law of the state in which heaEth care services are accessed mandate liabiiity
calcuiation methods that differ from the negotiated price methodology or require a surcharge, We wouid
then calculate lviember liability in accordance with appiicabie law.

Return of Overpayments

i.tnder the BiueCard program, recoveries from a i~lost Blue or its participating Provlders can arise in
several ways, inciuding, but not limited to, anti-fraud and abuse recoveries, health care Provider/i~iospitai
audits, credit balance audits, utilization review refunds, and unsolicited refunds. ln some cases, the i-iost
Blue will engage a third-party to assist in identification or cofiection of recovery amounts. The fees of
such a third-party may be netted against the recovery Reoovery amounts determined in this way witt be
applied in accordance with appiicab|e inter'P|an Programs poiicies, which generaliy require correction on
a ciairn-by-claim or prospective basis.

Negotiated Nationa| Account Arrangernents
As an aiternative to the BlueCard Program, the Member's claim for Covered Services may be processed
through a negotiated national account arrangement with a i-lost Biue.

if We have arranged for (a) i~tost Blue(s) to make avaiiable (a) custom health care Provider network(s) in
connection with this Contract, then the terms and conditions set forth in Our negotiated national account
arrangements with such t-iost Biue(s) shaft app|y.

iViember iiability calculation wili be based on the lower of either billed covered charges or negotiated price
(reter to the description ct negotiated price above) made available to tjs by the i-iost Blue that allows
l\/lembers access to negotiated participation agreement networks of specified Partlcipating F’roviders
outside of Dur service area.

Nonparticipating Providers Outside Our Service Area

- ivlernber i_iability Calcuiation. When Covered Services are provided outside of Our service area by
nonparticipating Providers, the amount(s) a i\/lember pays for such services witt generaiiy be based on
either the i-iost Blue's nonparticipating Provider iocai payment or the pricing arrangements required by
appiicable state iaw. in these situations, the lViember may be responsibie for the difference between
the amount that the nonparticipating Provider biiis and the payment We wiii make for the Covered
Services as set forth in this paragraph

- Exceptions, in some exception oases, We may pay claims from nonparticipating Providers outside
of Our service area based on the Provider's bilied charge, such as in situations where a ivlember did
not have reasonabie access to a participating Provider, as determined by t.ls or by applicable state
iaw. in other exception cases, We may pay such a claim based on the payment We would make
if We were paying a nonparticipating Provider inside of Our service areal as described eisewhere

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in this Contract, where the tiost Blue’s corresponding payment would be more than Our in-service
area nonparticipating Provider paymentl or We may negotiate a payment with such a Provider on

an exception basis in any of these exception situations the l\/iember may be responsibie for the
difference between the amount that the nonparticipating Provider biiis and payment We will mat<e for
the Covered Services as set forth in this paragraph

GENERAL PROV|S|ONS
Group Responsibilities
The Group agrees to the tollowing:

o

i'iandie and distribute enro|irnent materials in a timely manner and promptly provide to th the
information necessary to administer this Contract. 'ihere is an understanding and agreement that the
Group‘s failure to provide information in a timely manner may substantially delay and/orjeopardlze the
enroilmenl of eligible l\/ismbers.

Restrict enroiiment and payment of premiums through the Group to eligible lviembers

Niake payroll deductions for and verify with tie the eiigibi|ity of any l\/iember on a temporary leave of
absence

Rernit premiums for a terminating tvlember through the end of the monthiy coverage period in which
the i\/lember terminates (except as provided under Reiund of Premiums), untess otherwise agreed in
advance in writing.

Deiete terminations from the bi|iing and to notify Us of terminations in a timely manner and as part of
the administrative record-keeping process that occurs in the normai course of business The Group
further agrees that any refund ot the number of months of premiums paid by the Group in error or for
an ineligible lviember shalt be made oniy if claims have not been palc|.

Provide each l\/lember 30 days prior written notice of termination of this Contract, including any
termination due to the Group's failure to pay premiums

l\iotify each l\/lember of any right(s) that may exist to continue coverage upon termination, as provided
by any appiicable law or as otherwise described in the Bookiet, and cotiect and forward associated
timely enrollment forms and premiums

Provide those notices in a timely manner, that a group hesith plan is required by law to provide (for
example, special enroiiment rights provisions). The Group agrees to indemnify and hold tie harmiess
from any damages loss, action, claim or suit (lncluding court costs and attorney‘s tees) arising from or
related to its failure to provide such legaily~required notices

Report monthly the names of new l‘viembers, cancelled Members and l\/lembers eiecting any statutory
continuance of coverage

lV|aintain workers‘ compensation coverage for all lviembers, as required by lawi

Nlaintain Group eligibiiity in accordance with the minimum standards of appiicable statutory
continuances of coverage, unless We have agreed in advance and in writing to the Group's use of
standards more generous to l\/lembers.

if We provide Our enroliment andlor change forms ("Forms") and/or any summary plan descriptions
benefit summaries and/or comparison sheets ("Docurnents") in an electronic medium for inclusion on
the Group‘s internal intranet or by similar means, Group agrees that:

~ electronic access shaft be limited to the Group's enrotling empioyees and covered empioyees and
be restricted to a "read-oniy“ or similar basis;

- they witt replace any hard-copy l“-`orrns that have been modified by Us;

- the hard-copy documents on file with tie shall control in the event of any disorepancy; and

- the Group remains solely responsibie for the content of the documents and all other legal
requirements pertaining to them (for exampie, distribution).

Notice Under This Contract

Any notice required under this Contract shall be deemed to be property given ii written notice is deposited
in the United States mail or with a private mail carrier. Notices to an Enrolled Ernployee or to the Group
shall be addressed to the Enroiled Employee or to the Grcup at the last known address appearing

in Our records lt We receive a United States Posta| Service change of address form for an Enrolled
Employee, We will update Our records accordingly Additionally1 We may forward any notice foran

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Enroited Empioyee to the Group administrator if We become aware that We do not have a valid mailing
address for the Enrolled Employee.

Any notice to tie will not be deemed to have been given to and received by Us until physicaily received toy
Us. l\iotices the Group gives to tis must be sent to tie at Our principal mailing address cfc

Regence BlueShieid of idaho
P.O. Box 31603
Salt i.ake City, U`t' 84130~{}603

Chotce of Forum
Any iegai action arising out ot this Contract must be filed in a court in the state ci ldaho,

Governing t.aw and Discretionary t_anguage

The Contract will be governed by and construed in accordance with the laws

of the United States of America and by the laws of the State of idaho without
regard to its conflict of law rules. As the plan administrator, the Group delegates
Us discretion for the purpose of paying benefits under the benefit plan onty if
We determine that \’ou are entitled to them and of interpreting the terms and
conditions of the benefit plan. Fina| determinations pursuant to this reservation
of discretion do not prohibit or prevent a claimant from seeking judicial review
of those determinations in federal court. “i'he reservation of discretion made
under this provision onty estabiishes the scope of review that a court will apply
when You seek judicial review of Our determination of the entitlement to and
payment of benefits or interpretation of the terms and conditions applicable to
the benefit plan. We are not the plan administrator, but are an insurance company
that provides insurance to this benefit plan, and the court will determine the level
of discretion that it wilt accord Our determinations

Arbitration

Any controversy or claim between the Group and Us arising out of or relating to this Contractl or the
breach thereof, whether involving a ciaim in tort, contract or otherwise, shail be subiect to final resolution
through binding arbitration `i“ne parties agree that the arbitrators award shaii be pinding. may include
an apportionment of attorney tees and other fees and costs and may be eniorced in any court with

the requisite jurisdiction Any such arbitration shall be conducted in accordance with the Cornrnerciat
Arbitratlon Rules of the American Arbitration Association and in Ada County, idaho, unless mutually
agreed otherwise by the parties

if any l\r‘lember or former l\/lemt:)er (or person claiming to be a i\/iernber or iormer Nlemt)er} makes any
claim or brings any action or proceeding arising out of or relating to this Contract to which We or the
Group become a party, We and/or the Group agree to cooperate in the defense ot such claim, action or
proceeding and to resoive any controversy or claim between Us and the Group through arbitration under
this paragraph only after the resolution of the l\rtember's (or aiieged l\/iember‘s) claim.

No Waiver

The failure or refusal ot either party to demand strict performance of this Contract or to enforce any
provision wiil not act as or be construed as a waiver of that party's right to later demand its performance
or to enforce that provisionl No provision of this Contract wiii be deemed waived by tis unless such
waiver is reduced to writing and signed by one of Our authorized officers

Representations Are Not Warranties

|n the absence of fraud, ali statements made in an application by the Group or an enroiirnent form by an
enrolled person shaii be deemed representations and not warranties l\to statement made for the purpose
of obtaining coverage shall void such coverage or reduce benefits untess contained in a written document

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signed by the Group or the enrotted person, a copy ot which has been furnished to the Group or the
enrolled person.

Group's Bankruptoy

lt bankruptcy, receivership or liquidation proceedings are commenced with respect to the Group, and if
this Contract has not otherwise been terminated, then We may suspend aii further performance of this
Contract pursuant to Section 365 ot the Banitruptcy Code or any similar or successor provision of federai
or state iaw. Any such suspension of turther performance by us pending the assumption or reiection

ct the Contract shall not be deemed a breach of the Contract and shai| not affect Our right to pursue or
enforce any ct the rights under this Contract or othenrvise.

Our Receivership or Liquidation

if receivership or liquidation proceedings are commenced with respect to Us, and it this Contract has

not otherwise been terminated, then the Group may suspend all further performance of this Contract
pursuant to any applicable provisions of federal or state iaw. Any such suspension or further performance
by the Group pending the assumption or rejection of the Contract shall not be deerned a breach of the
Contract and sha|i not attack the Group‘s right to pursue or enforce any oi the rights under this Contract or
otherwise

Funding

“i'he Group shali adopt policies and procedures regarding the funding of the Group's payment obligations
under this Contract. This includes the withholding of premiums by payroll deduction front Enroiied
Ernpioyees' wages and/or the payment of the Group's premium contributions from the general assets of
the Group. Arnounts paid (either directiy or withheld by payroll deduction) by |Viembers for benefits under
the plan shall be used for the exclusive benefit of the i\)iernbers and neither the Group nor the ERESA
plan administrator shall divert such amounts for any purpose other than for the payment of the Group's
obligations hereunder. Arnounts paid (either directly or withheld by payroll deduction) by i\/iembers shall
be transferred to Us by the Group prior to the payment et Group premium contributions from the general
assets of the Group.

RELAT|ONSH|P ’¥'O BLUE CROSS AND BLUE SHlELD ASSOClATlON

The Group on behaif of itself and its l‘viemt)ers hereby expressly acknowiedges its understanding that the
Contract constitutes an agreement solety between the Group and Regence B|ueShle|d of |daho, which is
an independent corporation operating under a license trorn the Biue Cross and B|ue Shieid Association,
an association of independent B|ue Cross and B|ue Shieid P|ans (the Association), permitting Us to

use the Biue Shield Service |Viark in the state of idaho and in Asotin and Garfield counties in the state

ot Washington and that We are not contracting as the agent of the Association. The Group on behaii

ct itself and its Niernbers further acknowtedges and agrees that it has not entered into the Contract
based upon representations by any person er entity other than Regence B|ueShield ot idaho and that no
person or entity other than Regence B|ueShield of idaho will be held accountable or iiat)|e to the Group
or the i\/iembers tor any ot Our obiigations to the Group or the l\rien‘\bers created under the Contract. `E'his
paragraph wli| not create any additional obligations whatsoever on the part of Regence B|ueShieid of
idaho other than those obtigations created under other provisions ot the Contract.

Certificates of Creditab¥e Coverage

We will provide certificates of creditable coverage to i\i|embers terminating irorn the Group, uniess

the Group specificaiiy notifies Us in Writing that it wit| provide such certificates of creditable coverage

to terminating l\/lernbers. The Group understands and agrees that Our timely provision of certificates

of creditable coverage depends upon the Group‘s prompt deietion of terminating l\/iernbers from the
Group's biiiing. it agrees to indemnify and hold Us harmiess from any damages ioss, action, claim er suit
(inc|uding court costs and attorney's fees) arising from or reiated to Our failure to provide a certificate of
creditable coverage in a timeiy manner as a result of the Group's faiiure to promptiy delete a terminating
Member from the Group's billing.

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Group is Agent

The Group is the agent of the lVlembers for all purposes under this Contract and not the agent of Regence
BlueShield ot ldaho, Nlembers are entitled to health care benefits pursuant to this agreement between Us
and the Group. The Group agrees to act as agent for Mernbers in acknowiedging their agreement of the
terms1 provisionsl limitations and exclusions contained in this Contract and the Booi<let.

Medication Rebate

We participate in arrangements with medication manufacturers that aiiow Us to receive rebates based on
the voiume ot certain prescription medications purchased on behaif ct i\rlembers. Any rebates We receive
from medication manufacturers are credited to reduce rate increases We will withhold a percentage of
the total rebate to cover Our costs of collecting and administering the rebate program

COBRA CONT|NZ}ATEON OF COVERAGE

'i'his section applies only when the benefit plan is subject to the continuation of coverage provisions of
the Consoiidated Omnibus Budget Reconciiiation Act of 1985 (COBRA). Certain circumstances called
qualifying events, give Members the right to continue this coverage beyond the time it ordinarily would
have ended. COBRA continuation rights and obligations are governed by the COBRA law, as amendedl
and it there is any conflict between the provisions of this Contract and COBRA, COBRA‘s minimum
requirements wilt govern. This section wlli automatically cease to apply when federal law requiring
COBRA continuation no longer applies to the benefit plan. This section does not provide a full description
of COBRA.

Who ls Eiigible for COBRA Continuation and t-|ow Long it Lasts

if an Enroiied Employee's health coverage eligibility ends due to either ot the foliowing qualifying events,
the Enrol|ed Employee may eiect COBRA continuation coverage lasting up to ‘iB months after his or her
coverage normaiiy would have been lost:

- termination of the Enroiied Employee's employment {except termination for gross misconduct); or
- reduction in the Enroiled Empioyee‘s hours ct empicyrnent.

Enroiled Dependents whose health coverage eligibility ends due to either of these qualifying events also
may elect COBRA Continuation Coverage lasting up to 18 months.

if health coverage eiigibiiity for any Enroiied Dependents ends due to any of the following qualifying
events, those Enrolled Dependents may elect COBRA Continuation Coverage testing up to 36 months
after their coverage normaily would have been iost:

- the Enroiied Employee‘s death;

- the Enrolied Empioyee dissolves his or her marriage (divorces);

- the t“inrolied Empioyee becomes entitied to Nledicare benefits; or
- the enroiied child loses eligibility as a child under this Contract.

By electing COBRA continuations uniess Enro|led Employees specify to the contrary, Enroiied Emp|oyees
automatically continue benefits ior themselves and their Enrol|ed Dependents. if COBRA continuation
coverage is not desired for an Enroiled Employee cr any Enrclied Dependent, each Member may
independently eiect such coverage on behalf of him or herself. Any election by the Enroi|ed Employee's
spouse automatically continues coverage of the enrolled childrenl unless specified to the contrary.

COBRA coverage following a termination of empioymentfreduction in hours qualifying event can be
extended to a maximum of up to 29 total months if one of the lVlembers in the iamiiy is determined

to have been disabled for purposes of Title ll or 'i'itle X\/i of the Social Security Act at the time of the
initial dealifying event or within the first 60 days of COBRA continuation coverage To be eligible for the
extension, a l\/lernber must provide the Group documentation of the Soclai Security Administration‘s
disability determination within 60 days ot the date it is made and while still within the iB-rnonth
continuation period. 'Fhe disability extension extends to the family unit, even if onty one of the l\/lembers is
disabied.

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An lB~month period of COBRA continuation following a termination of employment/reduction in hours
qualifying event (or a 253-month COBRA continuation period involving such a termination/reduction
foliowed by a disability extension} may be extended to a total period of up to 36-months for an Enroiled
Dependent whose health coverage othenrvise would end because of any of the following "second"
dua|ifying events occurring within the iirst 123-month (or, it there has been a disabiiity extension, 29~mcnth)
period:

- the Enrolled Ernployee's death;

- the Enro|led Employee dissolves his or her marriage (divorces);

- the Enrolled Employee becomes entitled to i\fledicare benefits; or
~ the enrolled child loses eligibiiity as a child under this Contract.

An event is only a "second" quaiifying event lt it would have ended the l\/lember's heaith coverage
eligibiiity if the original termination ct employment/reduction of hours qualifying event had not aiready
occurred Except with regard to employer Chapter ll bankruptcy as described below, in no event will
COBRA continuation extend more than 36 months from the date coverage normaiiy would have been
lost due to the termination of employment/reduction in hours qualifying event. l\/iembers must provide the
Group notice of the occurrence of one of these "second" qualifying events

if an Enro||ed Employee ls Retired and the Employer Fiies Chapter ‘i‘l Bankruptcy

COBRA also allows continuation of coverage ii the Enrci|ed Employee is retired, the Group fiies a
Chapter l‘l bankruptcy petition, and a Nlember experiences a loss of coverage (or substantial reduction
in coverage) within one year before cr after the bankruptcy niing. Retired employees, and widows or
Widowers of retired ampioyees who died before the bankruptcy, may continue coverage for the remainder
of their lifetimes. if the Enroiled Emp|oyee is retired and dies after the bankruptcy, Enrclled Dependents
may continue coverage for up to 36~months after the Enrolled Employee's death.

if an Enrollecl Employee Becomes Entitled to ila‘iedicare Before Electing COBRA

if the Enrol|ed Ernployee becomes entitled to lv|edicare before electing COBRA in connection with
employment termination or a reduction in hours qualifying event, he or she may maintain both Medicare
and up to 18~months of COBRA coverage and Enrolled Dependents may continue their COBRA
coverage, until the later of:

~ up to iB~months from the date coverage otherwise would be iost due to the termination of
employment/reduction in hours; cr
- up to 136-months from the date the Enrol|ed Employee became entitled to lvledicare.

When COBRA Continuation Coverage Ends
COBRA continuation ends for l\/iemt)ers as of the last day of the monthly premium payment period in
which any of the following occurs:

- failure to make premium payments necessary to bring premiums current within 45 days of electing
COBRA;

' faiiure to make the monthiy premium payment within 30 days of its due date;

- the date, after eieciion of COBRA, that a ivlernber becomes covered by another group health plan
that does not limit or exclude any preexisting condition the person might have (either because of no
applicable preexisting condition or sufficient creditable coverage to eliminate any preexisting condition
limitation), or becomes entitled to i'\/ledicare benefits;

» the date this Contract terminates; cr

~ the applicable period of COBRA continuation ends.

COBRA continuation will aiso end for l\ltembers when there is a finai determination that a ivlember is
no longer disabied for purposes of Title il cr “l“itle X\/l of the Socia| Security /»\ct. in that case, COBRA
continuation ends as of the later oi:

- the last day of 18 months ct continuation coverage; or
- the first day of the month that is more than 30 days following the date of the ilnal determination of the
nondisability.

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i'hls event terminates the continuation of att Nlembers who had qualified to extend by virtue ct the
l\/lernber's disabiiity. lt‘s the i\ilember's responsibility to notify the Group of such a final determination within
30 days of the day it is made.

When an Enro|ted Empioyee Acquires a New Child Whiie on COBRA

Chlldren born to or placed tor adoption with the Enroiied Employee while the Enrolied Employee is on
COBRA, and who otherwise qualify as eligible dependents, may be added to COBRA coverage and have
all the rights extended to Mernbers who have elected COBRA. Addition of such chiidren must occur in
accordance with the terms of the "Who ls Eligibie" section ot the Boci<let.

Notification Responsibilities

in order to preserve rights under COBRA, itflerribers and the Group must meet certain notificationr election
and payment deadline requirements it is therefore very important that l\/iembers keep the Group informed
of the current address ot aii persons who are or may become quaiiiied beneficiaries.

Niembers must inform the Group in writing within 60-days of divorce or legal separation, or a loss

of eiigibility ot a chiid. `i'he Group is responsible for notifying Members oi the right to elect COBRA
continuation due to any of the other qualifying events (for examplel employee‘s deathr termination of
emptoyrnent or reduction in hours or l\rledicare entitlement).

Once the Group is notified or aware of a quaiifying event, it sends Memt)ers information concerning
continuation options, including the necessary COBRA continuation election forms. Members have 60-
days from the later of the date ci the qualifying event or the date ot the Group‘s notice to a Nlember in
which to make an etection.

As mentioned above, to he eiigii)le for disability extension, a l\)lember must provide the Group
documentation of a Social Securlty disability determination within 60 days of the date it is made and
white still within the iii-month COBRA continuation period following a termination or reduction of hours
qualifying event. The determination must refiect that the Niember was disabled ior Sociai Security
purposes attire time of the initial qualifying event or within the first 60-days of COBRA continuation

lt a iinai determination is subsequently made that a i\/lember is no longer disabled for Social Security
purposes, the lviember must provide the Group notice ot that determination within 30 days of the date it is
made.

To be eligtbte for an extension of the iii-month continuation that foiiows a termination of empioyrnent/
reduction in hours qualifying event (or a 29~rnonth COBRA continuation period involving such a
termination/reduction foilowed by a disability extension), Nlernbers must notify the Group. Notiiioation
must occur within 30 days of the occurrence ct any of the foiiowing "second" qualifying events causing a
loss of coverage within that iii-month (or 29-rnonth) period:

' the Enroiled Employee‘s death;

- the Enroiied F£mployee dissoives his or her marriage (divoroes) or legaiiy separates;
- the Enroiied Employee becomes entitled to lvledicare henefits; or

- the enrolled child icses eligibility as a child under this Contract.

Paying Continuation Prernium

lt !Vlemt:)ers wish to continue coverage, they must pay for lt. Prerniurns generaiiy witt reflect the total

cost of the group heaiih care coverage and up to a 2 percent administration fee. For ll/iembers who
receive COBRA Continuation Coverage due to a Social Security disabitity determination, premiums and
administration fees witt be up to 150 percent of the total cost for coverage ior the period of the disabiiity
extension (provided the disabled individual is among those continuing coverage). Coverage ceases if
timely premium payments are not made. i\/lernbers have a maximum of 45 days from the date that the
election form is mailed to the Group to submit the first payment This first payment must retroactively
cover any period oi time after the date coverage was terminated Ali subsequent payments are due on the
first day of the month ior which coverage is to be provided or within a 30-day grace period thereafter

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|f Nlembers Do Not E|ect COBRA Contlnuation

ii lviembers dc not elect COBRA continuation coverage, coverage will end according to the terms of
this Contract and We will not pay claims ior services provided on and aiter the date coverage ends.
l\llembers who dc not elect COBRA continuation coverage, may have the right to other coverage, in
certain circumstances Reier to the continuation of coverage provisions in the Book|et tor details.

MEDiCARE SECONDARY PAYOR RL§LES

The federal government has adopted l\iledicare secondary payer (iviSP) rules for determining which are
the primary and secondary payers when a ivlember is covered under both lvledicare and a group health
pian. The rules depend on:

- whether the Medicare eilgibie person is active or retired (or the spouse of such person};

» whether the person has ivledicare because of reaching age 65, disability or end stage renal disease;
and

- the size oi empioyer sponsoring the group health plan.

in order to administer ciairns in compliance with the MSP ruies, We need to i<now certain iniorrnation.
Accordingiy, the Group must advise Us in writing within 30 days cfa change in the number of employees
as described in the foilowing pulleted paragraphs:

- Wnen the number of employees in a "current employment status" according to federal regulations
increases to 20 or more. or decreases below 20. For purposes of this calculation, the Group will be
considered to employ 20 or more employees if it has had 20 or more iull- or part-time employees for
each working day in each cf 20 or more calendar weeks in the current calendar year or the preceding
calendar year.

- When the number of employees in a current employment status increases to i00 or more or
decreases below 100. For purposes of this caiculation, the Group will be considered to employ t00 or
more employees if it had 100 or more full- or part~time employees on 50 percent cr more of its regular
business days in the previous caienc|ar year.

- When an employee retires and eiigibillty under this Contract aliows retired employees to remain
enrolled.

The Group shall be responsible for claim amounts or penalties payable to the federal government
resuitlng from noncompliance with the i\/lSP ruies caused by its iailure to give Us notice ci a Group size
change under this provisicn.

ERiSA
lf this Contract is part of an employee weliare benetit plan regulated under the Employee Retirement
|ncorne Security Act of tQ?¢i as amended (ERlSA}:

» `i'he Group intends that this Contract be maintained for the exclusive benefit of the empioyees.

- The Grcup intends to continue this coverage indetinitely, but it also reserves the right to discontinue or
change this coverage at any time. lf the Group terminates this Contract for any reason and does not
replace the coverage with comparabie benefits, employees will receive ample nctice. Ernployees will
also receive instructions for converting their coverage to an individual pian.

Emptoyees are entitled to certain rights and protection under ERESA. £RiSA provides that all employees
shaii be entitled to:

- Exarnine without charge, at the plan administrator's office, all policy documents, inciuding insurance
policies and copies of certain documents filed by the plan administrator with the U.S. Department of
Labor, such as detailed annuai reports and policy descriptions

- Obtain copies of documents governing the operation of the benefit plan upon written request to the
plan administrator. The plan administrator may charge a reasonable fee for the copies.

» Continue, generaily at their own expense, health care coverage of themselves their spouses and
children if coverage ends due to certain qualifying events. Review the summary plan description and
governing documents of the plan for rules and other details about such COBRA continuation rights.

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- Receive a certificate of creditable coverage from group plans and heaith insurance issuers1 free
of charge, when they lose coverage, become entitled to COBRA continuation, exhaust COBRA
continuation, and upon request within 24 months after losing coveragel

|n addition to creating rights for employees1 ERlSA imposes duties upon the people who are responsible
for the operation oi the employee benefit plah. i'he people who operate the benefit plan, called
“ilduclaries," have a duty to do so prudently and in the interest of employees and their dependents l\lo
onel including the employer, or any other perscn, may fire an employee or otherwise discriminate against
one in any wayte prevent an employee from obtaining a welfare benefit or exercising his or her rights
under ERESA.

lf an employee's ciaim for a weifare benefit is denied (or ignored) in whole or in part, he or she must
receive a written explanation ct the reason for the deniai. Empioyees have the right to obtain copies of
related documents without charge and to appeai any denial within certain time frames tinder ER|SA,
there are steps they can take to enforce the above rights. l'~“or instancer if an employee requests certain
materials from the plan administrator in writing and does not receive them within 30 days, the employee
may tiie suit in a federal court. in such a case, the court may require the plan administrator to provide the
materlais and pay an employee up to $‘liO a day until the materials are received, unless the materials
were not sent because of reasons beyond the control oi the plan administrator.

if an employee has a claim for beneiits which is denied or ignored, in whole or in part, he or she may file
suit in a state or federal court An employee may also do so if he or she disagrees with a decision or lack
thereof concerning the qualified status of a domestic relations order or medical child support order. if it
should happen that fiduciaries misuse money, cr lt employees are discriminated against for asserting their
rights, they may seek assistance irorn the U.S. Department of i.,abor, or may file suit in a federal court.
The court will decide who shouid pay court costs and legal fees

|f an employee is successful, the court may order the person who an employee has sued to pay these
costs and fees lien empioyee losesl the court may order the employee who sued to pay these costs and
fees, for example, if it finds the claim frivoious. if an empioyee has any questions about the benefit plan,
he or she should contact the plan administrator. if an employee has any questions about this statement
or his or her rights under ERlSA, or lt he or she needs assistance obtaining documents from the plan
administrator, the empioyee should contact the nearest Field Ofiice of the Pension and Weliare Benefits
Admlnistration, U.S. Department of Labor (listed in the telephone directory) or the Division of technical
Assistance and inquiries Empioyee Benefits Security Adminlstration, ti.S. Department of Labor, 200
Constitution Avenue, NW, Washington, D.C. 20210. Employees can also obtain publications about their
ER|SA rights and responsibiiities by calling the pubilcatlons hot|ine of the Employee Beneflts Security
Adminlstration.

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2016 BOOKLET FOR:

REHABAUTHOR|TY LLC

Group Number: 60017706

Regence HSA Hea|thpian 2.0SM Nledical Plan

 

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EXHIBIT C

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introduction

Regence BlueShie|d of idaho

Street Address:
i602 2 t st Avenue
Lewiston, iD 83501

C|aims Address:
P.O. Box 3t603
Sait Lal<e Oity, UT 84131-0603

Customer ServicelCorrespondence Adclress:
P.O. Box 1271, l‘v‘|/S C?A
Port|and, OR 97207-1271

Appea|s Address:
P.O. Bo)< 4208
Portfand, OR 97208-4208

'i`his Bool<iet provides the evidence and a description of the terms and benefits of coverage The
agreement between the Group and Regence BlueShieid of idaho (caited the "Ccntract") contains aii the
terms of coverage Your plan administrator has a copy.

This Booklet describes benefits eifective Ju|y 1, 2016, or the date after that on which Your coverage
became effective this Bool<|et replaces any pian description, Booklet or certificate previously issued by
t.ls and makes it void.

As You read this Bool<|et, piease keep in mind that references to "You“ and "Your" refer to both the
Enro||ed Emp|oyee and Enroi|ed Dependents (except that in the eligibility and continuation of coverage
sections, the terms “You" and "Your" mean the Enro||ed Employee only). The terms "We,“ "Us" and "Our“
refer to Regence BlueShield of idaho and the term "Group" means the organization whose empioyees
may participate under this coverage. Other terms are defined in the Definitions Section at the back of this
Bool<iet or where they are first used and are designated by the first ietter being capitalizedl

Notlce of Privacy i-"ractices: Regence BlueSnie|d of idaho has a i\lotice of Privacy i:’ractloes that is
available by caiiing Customer Service or visiting the Wet) site listed beiow,

CONTACT lNFOR|ViATiON
Custorner Service: 1 (877) 508~7359
(TTY: 711)

And visit Our Web site at: www.Regence.com

For assistance in a language other than English please call the Customer Service telephone number.

Using ¥our Regence HSA Hea|thpian 2.03'“ Booklet

YOUR PARTNER iN §~lEALTH CAR§

Regence BiueShie|d of idaho is pleased that Your Group has chosen ljs as Your partner in health oare.
lt's important to have continued protection against unexpected health care costs. Thanks to the purchase
of Regence l-lSA Healthplan 2.0, You have coverage that's comprehensive affordable and provided t)y a
partner You can trust in times when it matters most.

Regence liSA Hea|thplan 2.0 provides You with great benefits that are quickly accessible and easy to
understand, thanks to open access to Providers and innovative too|s. With Regence l-lSA Healthplan 2.0

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health care coverage, You will discover the personai freedom to make informed heaith care decisions as
well as the assistance You need to navigate the health care system.

YOU SEt.ECT YOUR PROVIDER AND CONTROL YOUR OUT-OF-POCKET EXPENSES
Regence l-iSA Hea|thplan 2,0 aiiows You to controi Your out-of-pocket expenses such as copayments
and Colnsurance, for each Covered Service. Here‘s how it works - You controi Your out-of-pocket
expenses by choosing Your Provider under three choices called: "Category ‘l," "Category 2" and
"Category 3.“

- Category 1. You choose to see a preferred Provider and save the most in Your out-of-pocket
expenses Choosing this category means You wiil not be biiied for balances beyond any Deductib|e
and/or Coinsurance for Covered Senrices,

- Category 2. You choose to see a participating Provider and Your out~of~pocl<et expenses wii| generally
be higher than if You choose Category f because We may negotiate larger discounts with preferred
Providers that wi|i resuit in lower out~of~pocitet amounts for You. Choosing this category means You
will not be bilied for baiances beyond any Deductib|e andfor Cotnsurance for Covered Services.

- Category 3. You choose to see a Provider that does not have a participating contract with Us and
Your out~of~poci<et expenses wiii generally be higher than Category 'l. Also, choosing this category
means You may be bi|ied for balances beyond any Deductib|e and/or Coinsurance. this is sometimes
referred to as baiance billing.

For each benefit in this Booklet, We indicate the Provider You may choose and Your payment amount for
each Category. Categories ‘i, 2 and 3 are aiso in the Definitions Section of this Bookiet. You can go to
www.Regence.com for further Provider network information.

ADD|T§ONAL MEMBERSH|P ADVANTAGES

When Your Group purchased Regenoe l-lSA l-iea|thpian 2.0, You were provided with more than just
great coverage You also acquired Regence membershipl which offers additional valuable services The
advantages of Regence membership inciude access to personaiized health care planning information
heaith~reiated events and innovative health-decision toolsr as weil as a team dedicated to Your personal
health care needs You also have access to www.Regence.com. an interactive environment that

can help You navigate Your way through health care decisions THESE ADDl`t'iONAL VALUABLE
SERVtCES ARE A COMPLEMENT ?O THE GROUP l-iEALTH PLAN, BUT ARE NOT lNSURANCE.

- Go to wvvw.Regence.com. lt is a health power source that can heip You lead a heaithy lifesty|e,
become a well-informed health care shopper and increase the value of Your health care do|iar. i-|ave
Your iviemioer card handy to log on. Use the secure Nlernher Web site to:

- view recent ciairns, benefits and coverage;

- find a contracting Provider;

- participate in oniine wel|ness programs and use tools to estimate upcoming healthcare costs;

- identify Participating Pharn'iacies',

~ find alternatives to expensive medicines;

- learn about prescriptions for various illnesses', and

- compare medications based upon performance and cost, as we|i as discover how to receive
discounts on prescriptions

GU|DANCE AND SERVECE ALONG THE WAY

This Bool<iet was designed to provide information and answers quickly and easiiy. Be sure to understand
Your benefits before You need them. You can iearn more about the unique advantages of Regence

i'tSA i-lealthptan 2.0 heaith care coverage and the rewards of Regence membership throughout this
Bookietl some of which are highlighted here. We realize that You rhay still have some questions about
Your Regence llSA ilea|thpian 2.0 health care coverage, so piease contact Us itYou do.

- Learn more and receive answers about ¥our coverage or any other plan that We offer. dust call
t (877) 503~7359 to talk with one of Our Custorner Servlce representatives Phone lines are open
lvlonday~Friday 6 a.m. ~ 6 p.m. You may also visit Our Web site at: www.Regence.com.

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~ Case N|anagement. You can request that a case manager be assigned or You may be assigned a
case manager to help You and ‘r'our Physician best use Your benefits and navigate the heaith care
system in the host way possible Case managers assess Your needs, develop plans coordinate
resources and negotiate with Providers. Cail Case i\/lanagement at 1 (866) 543-5765.

BlueCarol® Program. hearn how to have access to care through the BiueCard Program, i'his unique
program enabies You to access Hospitals and Physlcians when traveling outside the four-state area

Regence serves (|daho, Oregon, Utah and Washlngton), as weil as receive care in 200 countries
around the worid.

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Understanding Your Benefits

in this section, You will discover information to help You understand what We mean by Your Maximum
Benetits, Deductibies, Coinsurance and Out~of~Pocket l\/laximum. Other terms are defined in the
Definitions Section at the back of this Booi<let or where they are first used and are designated by the first
ietter being capitaiized.

While this Understanding Your Benefits Section defines these types of cost-sharing elementsl You need
to refer to the l\/iedical Benefits Section to see exactly how they are applied and to which benefits they
apply

MAXIMUM BENEF|TS

Some benehts for Covered Services may have a specific l\/iaximum Benefit. For those Covered Services,
We wiii provide benefits until the specified Nlaximum Benefit (whlch may be a number of days, visits,
services supplies dollar amount or specified time period) has been reached. A||owed Amounts for
Covered Services provided are aiso appiied toward the Deductible and against any specific lvlaxirnum
Benefit that is expressed in this Bookiet as a number of days, visits, services or supplies Refer to the
lvledicai Benefits Section in this Bookiet to determine if a Covered Service has a specific lviaximum
Benefit.

OUT-OF-POCKET MAX|MUM

An important feature of this high deductible health plan is how the single and Famiiy Out-of-Pocket
i‘v§aximurns work. The key is understanding the difference between lising|e" and "famiiy" coverage Single
Coverage means only one person has coverage in this Booklet. An employee who is the only one in his
or her Family who has coverage in this Book|et, a husband and wife who both work for the Group and
have each filled out an application and are Enroiied Ernp|oyees on separate coverages and an Enrolied
Dependent who is continuing insurance coverage on his or her own are ali examples of Singie Coverage.
Famiiy Coverage, on the other hand, means two or more members of the same Family have coverage in
this Book|et under a single application

Nlernbers can meet the Out-of-Pocket Maximurri by payments of Deductibie and Coinsurance for ail
categories as specifically indicated in the Nledica| Benefits Section. Any amounts You pay for non-
Covered Services or amounts in excess of the A|iowed Amount do not apply toward the Out-ot~Poci<et
i\/laxirnum. You will continue to be responsible for amounts that do not apply toward the Out-of-Pocket
Nlaximum, even after You reach this Booi<let‘s Out-of-Pocket l\/iaxirnum.

Once You reach the Out-of-Pocket Maximurn, benefits will be paid at 100 percent of the Ai|owed Amount
for the remainder of the Caiendar Year.

“l'he Farriiiy Out-of~Pocket lviaximum for a Ca|endar Year is satisfied when some or ali Famiiy Members'
Deductib|es and Coinsurance for Covered Services for that Calendar Year total and meet the Famity Out~
oi-i:’ocket iv|axirnum amount.

PERCENTAGE PA|D UNDER THE CON'¥'RACT (CO!NSURANCE)

Once Ycu have satisfied any applicable Deductib|e, We pay a percentage of the Al|owed Amount for
Covered Services You receive, up to any |Viaximum Benefit. When Our payment is less than 100 percent,
You pay the remaining percentage (this is Your Coinsurance). ‘(our Coinsurance will be based upon the
lesser of the biiied charges or the Allowed Amount. The percentage We pay varies depending on the kind
of service or suppr You received and who rendered it.

We do not reimburse Providers for charges above the A|iowed Amount. i-iowever. a Preferred or
Participating Provider wiii not charge You for any baiances for Covered Services beyond Your Deductible
and/or Coinsurance amount if You choose Category 1 or Category 2. i\ionparticipating Providers,
however, may bill You for any balances over Our payment ievei in addition to any Deductible and/or
Coinsurance amount if You choose Category 3. See the Definitions Section for descriptions of Providers.

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DEDUCT|B¥..ES

We will begin to pay benefits ior Covered Services in any Ca|endar Year only attei' a l\/lerriber satisfies the
Calendar Year Deductlble. A lvl|ernbet who is enrolled on Singie Coverage satisfies the Singie Coverage
Deductibie by incurring a specific amount of expense ior Covered Services during the Ca|endar Year fcir
which the A||owed Amounts iotai and meet the Singie Coverage Deductibie.

The Fatniiy Coverage Deduciit)ie is satisfied when serna or all covered Fetni|y Nlembers' Allowed
Amounts for Covered Services for that Ca|endar \!ear total and meet the i=arniiy Coverage Deductibie
amount

We do not pay ior services applied toward the Deductible. Reter to the lviedical Benefits Section to see
if a particular service is subject to the Deductib|e. Any amounts You pay for non-Covered Services or
amounts in excess of the Ailowed Amount do not count toward the Deduotibie.

HOW CALENDAR \’EAR BENEFlTS RENEW

l\/lany provisions in this Booklei {for exampie, Deductib|es, Out~of-Pocl<et l\riaxirnum, and certain benefit
maximums) are caicuiated on a Calendar Year basis. Each January t, those Ca|endar Year maximums
begin again

Sorne benefits in this Booi<let have a separate lviaximum Benefit based upon a iviembet‘s t.ifetime and
do not renew every Ca|endar Year. Those exceptions ate specifically noted in the benefits sections in this
Bool<let.

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N|eclical Benefits

in this section, You will learn about Your health plan's benefits and how Your coverage pays for Covered
Services. “l“here are no referrals required before You can use any of the benefits ot this coverage,
including women's health care servicesl For Your ease in finding the information regarding benefits most
important to You, We have listed these benefits alphabetical|y, Wllh the exception of the Preventive Care
and lmrnunizaticns and Proiessional Services benetits.

All covered benefits are subject to the limitations exciusions and provisions of this plan. `i'o be covered,
medicai services and supplies must be lviedlca|iy Necessary for the treatment of an tiiness cr lniury
(except tor any covered preventive care). Alsc, a Provlder practicing within the scope ct his or her license
must render the service. Piease see the Deiinitions Sectlon in the back of this Booi<let tcr descriptions of
i\/iedically Necessary and of the kinds ct Providers who deiiver Covered Servlces.

A l'tealth intervention may be medically indicated or otherwise be lv‘ledicaliy Necessary, yet not be a
Covered Sarvice in this Booklet.

if benefits in this Booldet change while You are in the l-iospital (or any other facility as an inpatient),
coverage will be provided based upon the benefit in effect when the stay began.

CALENDAR VEAR OUT~OF~POCKET illiAXil\/lt.illll

'i'he maximum Out~ot~Poci<et tor any Member on Farnily Coverage is not to exceed $6,850, including
any Deductibie. if a Mernt)er reaches this maximum amount prior to satisfying the Famiiy Out-oi~Poci<et
lvlaximum, including any Deductlble, benefits will be paid at t(}O percent of the Allowed Amount for that
ivlernber,

Singte Coverage: $5,000

Farni|y Coverage: $10,000

Be aware that Your actual costs for Covered Services provided by a Nonparticipating Provider
may exceed this Bcoklet's Out-ot~Pocl<et itl|aximum amount. A|so, Nonparticipating Providers can
biil You for the difference between the amount charged and Our Al|owed Amount and that amount
does not count toward any Out-of-Pocket llf|aximum.

CO|NSURANCE
Coinsurance is listed in the tabies for Covered Servlces for each applicable henefit.

CALENDAR YEAR DEDUCT|BLES

Single Coverage Deductib|e: $2,500

Farni|y Coverage Deductibie: $5,000 (entire Deductibie must be rnet before benefits begln, except for
any ivlernber cf the Fami|y that meets the $6,850 maximum amount for the Out-oi-Pocket iviaxlmum as
described above.)

You do not need to meet any Deductibie before receiving benefits for:
- Preventive Care and immunizations.

PREVENTNE CARE AND ilVilVlUNlZAT|ONS

Benefits wiii be covered under this Preventlve Care and immunizations benetit. not any other provision
in this Bcoi<let, if services are in accordance with age limits and frequency guidelines according tol and
as recommended by, the United States Preventive Service 'i'ask Force (USPSTF), the l-iealth Resources
and Servlces Adrninistratlon (HRSA) or by the Advlsory Committee on immunization Practices of the
Centers for Disease Controi and Prevention (CDC). in the event any ci these bodies adopts a new or
revised recommendation, this pian has up to one year before coverage of the related services must be
available and effective under this benefitl Fcr a list ct services covered under this benefit, please visit
www.Regence.com cr contact Customer Servlce at l (877} 508-7359. NOTE: Covered Services that do
not meet these criteria will be covered the same as any other iliness or injury.

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4
Preventive Care
Category: 'i Category: 2 Category: 3
Prov|der: Preferred Provider: participating Prcvider: Nonparticipating
Payment: We pay iOO% of the Payment: We pay iOO% of the Payment: We pay 60% of the
Aliowed Amount. Aiiowecl Amount. Allcwed Arnount and You pay

balance of billed charges Your
40% payment of the Aliowed
Arnount will be applied toward the
Out-of-Pccket lvllaximum.

 

 

 

 

 

We cover preventive care services provided by a professional Prcvider or facility. Preventlve care
services inciude routine wali-baby care, routine physical examinations routine weii~wcmen's care,
routine lmmunizations and routine health screenings. Aiso inciuded is Provider counseling for tobacco
use cessation and Generic ivledications prescribed for tobacco use cessation. See the Prescription
ivledlcatlons benefit in this Bookiet for a description ot how to obtain Generic l\/ledicattons. Coverage for
ali such services ls provided oniy for preventive care as designated above (whlch designation rnay be
modified from time to time).

Additionaily, We cover all United States Food and Drug Adminlstraticn (FDA) approved contraceptive

and sterilization methods for women in accordance with HRSA recommendations i'hese include

female condoms, diaphragm with sperrnicide1 sponge with spermlcide, cervicai cap with sperrniclde1
spermicide, oral contraceptives (comt)lned pill, mini pill and extended/continuous use pili), contraceptive
patch, vaginal ring, contraceptive shot/injectionl emergency contraceptives (both levcnorgestrel- and
ulipristal acetate-containing products), lntrauterine devices (both copper and those with prcgestin),
implantab|e contraceptive rod, surgical implants and surgical steriiizatlon. Please see Our Web site at
www.Regence.com for Our preferred contraceptive products covered under the Prescription ivledicatlons
benefit

tmmunizations - Adutt and Chitdhood

 

 

 

Category: 1 Category: 2 Category: 3
Provider: Preferred Provlder: Participating Provider: Nonparticipatirtg
Payrnsnt: We pay 100% of the Payment: We pay 100% of the Payrnent: We pay 60% of the
Aiiowed Amount. Allowed Arnount, Ailowed Arnount and You pay

balance of biiled charges Your
40% payment of the Aiiowed
Amount wiii be applied toward the
Out-of-Pocket Maximum.

 

 

 

 

 

We cover immunizations for adults and children according tol and as recommended by, the USPSTF and
the CDC.

 

 

PROFESS!ONAL SERViCES
Category: 1 Category: 2 Category: 3
Provider: Preferred Provlder: Participating Provider: Nonparticlpatlng

 

Payment: After Deductibie, We Payment: After Deductlbie, We Payment: After Deductible, We
pay 80% and You pay 20% of pay 60% and You pay 4{}% of ‘ pay 60% of the Aiiowed Amount
the Ailowed Arnount. Your 20% the Allowed Amount. Your 40% and You pay baiance of billed
payment Will be applied toward payment will be applied toward charges. Your 40% payment

the Out-cf-F’ocket lvlaxirnurn. the Out-of-Pocl<et ivlaxlmum. of the Allowed Amcunt will be
applied toward the Out-of-Pocket
lvlaximum.

 

 

 

 

 

We cover services and supplies provided by a professionai F’rovider subject to the Deductlble and
Coinsurance and any specified limits as expiained in the following paragraphs

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Ntedicai Servtces

We cover professional services second opinions and supplies including the services of a Provider whose
opinion or advice is requested by the attending Provider, that are generally recognized and accepted non-
surgical procedures for diagnostic or therapeutic purposes in the treatment oi illness or lnjury. Services
and suppiies also include those to treat a Congenitai Anomaly for lvtembers up to age 26 and foot care
associated with diabetes.

Office Visits
We cover office visits for treatment of iiiness or lnjury.

Professionai inpatient

We cover professional inpatient visits for illness cr injury. lf pre-arranged procedures are performed by a
preferred Provider and You are admitted to a preferred Hospital, We wlii cover associated services (for
exampie, anesthesiologist, radioiogist, pathologist, surgicai assistant, etc.) provided by participating and
nonparticipating Providers at the Category t benefit level. However, a nonparticipating Provider may bill
You for baiances beyond any Deductibie and/or Coinsurance Please contact Customer Service for further
information and guidancel

Radic|ogy and Labcratory
We cover diagnostic services for treatment of illness or lnjury. `i'his includes but is not limited to,
mammography services not covered under the Preventlve Care and lrnrnunizations benefit

Diagnostic Procedures
We cover services for diagnostic procedures including cardiovascular testingl colonoscopies, putmonary
function studies sleep studies and neurology/neuromuscular procedures

Surgica| Services
We cover surgical services and supplies including the services of a surgeon, an assistant surgeon and an
anesthesiologist

Therapeutic injections
We cover therapeutic injections and related supplies when given in a professional Provider's office.

A selected iist of Self-Administrable |njectable l\/ledications ls covered under the Prescription lifledications
benefit in this Booidet. Teaching doses (by which a Provider educates the linember to self-inject)

are covered for this iist of Self-Administrabie lnjectable ivledlcaticns up to a limit of three doses per
medication per lviember i_ifetime. Teaching doses that are applied toward the Deductible will be appiied
against the lviaxirrium Beneht limit on these services

AMBULANCE. SERV|CES

 

Category: A||
Prcvider: Al|

Payment: After Deductible, We pay 80% and You pay 20% of the Ailowed Amount. Your 20% payment
of the Allowed Arnount wlii be applied toward the Out-of~F’ocket lvlaxlmum.

 

 

 

 

 

We cover ambulance services to the nearest i-lospital equipped to provide treatment, when any other
form cf transportation would endanger Your heaith and the purpose of the transportation is not for
personai or convenience purposes Covered ambulance services include licensed ground and air
ambulance Providers.

APPROVED CLtNlCAL ?RlALS

We cover Your Routine Patient Costs in connection with an Apprcved Ctinical Trlal in which You are
enrolled and participating subject to the Deductlbiel Coinsurance and l\/iaximurn Benefits as specified
in the i\fledlcai Beneftts and Prescriptlon lvledications benefits in this Bookiet. Addltlonai specified limits
are as further defined lt a Provlder is participating in the Approved Ciinicai Trial and wili accept You as
a trial participant, these benefits will be provided only if You participate in the Approved Ciinicai Trial

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through that Provider. if the Approved Clinicai 't'rial is conducted outside Your state ot residence, You rnay
participate and benefits witt be provided in accordance with the terms for other covered out-of-state care.

Definitions

in addition to the definitions in the Definiticns Section, the foiiowing definitions apply to this Approved
Clinicai trials benefit:

Ap_p_ro_ved~('}linical Triai means a phase l, phase il, phase iii or phase lV clinical triat conducted in relation
to prevention, detection or treatment of cancer or other L.ife~threatening Condition and that is a study or
investigation:

- Approved or funded by one or rnore of:

- The Nationai institutes of Heaith (Nlii}, the CDC, the Agency for Heaith Care Research and
Quality, the Centers tor lviedicare & Niedicaid, or a cooperative group or center of any ct those
entities or of the Departrnent of Detense (DOD) or the Departrnent of Veteran's Ai'fairs (VA);

- A quatified non-governmentat research entity identi&ed in guidelines issued by the NiH for center
approval grants; or

- The VA, DOD or Departrnent of Energy, provided it is reviewed and approved through a peer
review system that the Departrnent of Hea|th and l-iurnan Services has determined both is
comparable to that of the i\tii-t and assures unbiased review ot the highest scientific standards by
qualified individuais without an interest in the outcome ot the review; or

- Conducted under an investigationai new drug appiication reviewed by the Food and Drug
Administration or that is a drug triai exempt from having an investigational new drug applicationl

Life~threatening Condition means a disease or condition from Which the likelihood of death is probabie
uniess the course ot the disease or condition ts interrupted

miioutine Patient Costs means items and services that typicaliy are Covered Services for a Mernber not
enroited in a ciinical trial, but do not inciude:

- An investigationai item, device or service that ls the subject ct the Approved Clinicai Trial;

v items and services provided soieiy to satisfy data collection and anatysis needs and riot used in the
direct ciinicai management ct the i\/iember;

- A service that is clearty inconsistent vvith widely accepted and estabiished standards of care for the
particular diagnosis; or

' Services, supplies or accommodations for direct complications or consequences of the Approved
Clinicai Triat.

Bt..OOD BANK

 

Category: A|i
Provider: A|l

Payrnent: After Deductib|e, We pay 80% and You pay 20% of the Aiiowed Arnount. Your 20% payment
of the Allowed Arnount Wili be apptied toward the Out~of~F’oci<et Nia)<irnum.

We cover the services and suppiies of a blood bank, excluding storage costs.

 

 

 

 

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DENTAZ_ HOSP|TAL¥ZATION

 

Category: 1

Category: 2

Category: 3

 

Provider: Preferred

Provider: Participatlng

Provider: Nonparticipating

 

Payrrient: After Deductibte, We
pay 80% and You pay 20% of
the Allcwed Arnount. Your 20%
payment will be applied toward
tire Out-of-Poci<et Maximurn.

 

 

Payment: Atter Deductibie, We
pay SO% and You pay 40% of
the Aiiowed Arnount. Your 40%
payment witt be applied toward
the Out-oi~Poci<et iviaxiinum.

 

Payment: After Deductibie. We
pay 60% of the Allowed Amount
and You pay balance of biiled
charges. Your 40% payment

of the Aitowed Arnount wiii be
applied toward the Out~ot-Poci<et
N|aximum.

 

 

We cover inpatient and outpatient services and supplies tor hospitatization for Dentai Services {inctuding
anesthesia), if hospitalization in an Ambulatory Surgical Center or Hospital is necessary to safeguard Your
health Benefits are not avaiiable for services received in a dentist‘s oftice.

DETOX|F|CATION

 

Category: 't

Category: 2

Category: 3

 

Provider: Preterred

Provider: Participating

Provider: Nonparticipating

 

Payrnent: After Deductible, We
pay 80% and You pay 20% of
the Allowed Amount. Your 20%
payment will be apptied toward
the Out-of~Pocket Nlaximum.

 

 

Payment: Atter ll}eductibiel We
pay 80% and You pay 20% of
the Allowed Arriount. Your 20%
payment will be appiied toward
the Out~of-F'ocket t\iiaximum.

 

Payrnent: After Deductibie, We
pay BO% of the Allowed Arnount
and You pay balance ot biiied
charges Your 20% payment

of the Allowed Amount will be
applied toward the Out-of-Pocl<et
Maxirnum.

 

 

We cover Nleciica||y Necessary detoxification

DIABETES SUPPL|ES AND EQt}iPMENT
We cover supplies and equipment for the treatment of diabetes. Piease refer to the Professionai Services,
Diabetic Education, Durabie t\/iedical Eguiprrient, Nutritionat Counseiing, Orthotic Devices or i°rescription
i\!ledications benefits in this Booi<iet ior coverage details of such covered supplies and equipment

DlABETiC EDUCATtON

 

Category: 1

Category: 2

Category: 3

 

Provider: Preferred

Provider: Participating

Provider: Nonparticipating

 

Payment: After Deductible, We
pay 80% and You pay 20% ct
the Aiiowed Amount. Your 20%
payment wilt be applied toward
the Out-of-Pocket Niaxirnum.

 

Payrnent: After Deductible, We
pay 60% and You pay 40% of
the Ailowed Amount. Your 40%
payment witt be applied toward
the Out-of»Poci<et l\/laxirriurn.

 

Payment: After Deductible, We
pay 60% of the Aiiowed Amount
and You pay balance ot bitled
charges. Your 40% payment

ot the Aitowed Arnount wiii be
appiied toward the Out-ot-Pocket
N|aximum.

 

 

We cover services and supplies for diabetic self-management training and education, including nutritional
therapy if provided by Providers with expertise in diabetes

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DURABLE MED|CAL EQU|PMENT

 

Category: t

Category: 2

Category: 3

 

Provider: Preferred

Provider: participating

Provicter: Nonparticipating

 

Payment: Aiter Deductibie, We
pay BG% and You pay 20% of
the Atiowed Arnount. Your 20%
payment will be appiied toward
the Out-of~Pocl<et Niaxirnurrr.

 

 

Payment: After Deductib|e, We
pay 60% and You pay 40% of
the Al|owed Arnount. Your 40%
payment will be appiied toward
the Out-of-Pocket Nlaximum.

 

Payment: Aiter Deductible, We
pay 60% ot the Atiowed Arnount
and You pay batance of bilied
charges Your 40% payment

ot the Aiiowed Amount witi be
appiied toward the Out-of~Poci<et
Maxirnum.

 

Durab|e Medical Eduipment means an item that can withstand repeated user is primarity used to serve a
medicai purpose, is generally not useful tc a person in the absence of lilness or injury and is appropriate
for use in the i\riember‘s norris Exampies include oxygen equipment and wheelchairs. Durable Niedical
Equipment is not covered if it serves solely as a comfort or convenience item.

EMERGENCY ROOtVl (|NCLUD!NG PROFESSEONAL CHARGES)

 

Category: 1

Category: 2

Category: 3

 

Provicter: Preferrect

Provider: Participating

Prov|der: Nonpartictpating

 

Payrnerrt: After Deductible, We
pay 80% and You pay 20% of
the Al|owed Amount. Your 20%
payment wili be applied toward
the Out-of”i:’ocl<et iViaximum.

 

 

Payment: After Deductibie, We
pay 80% and You pay 20% of
the A|iowed Amount. Your 20%
payment witt be applied toward
the Out~of-Poct<et i\/laxirnurn.

 

Payment: After Deductibie, We
pay BO% of the Allowed Amount
and You pay balance of bitted
charges Your 20% payment

of the Aiiowed Amount witt be
appiied toward the Out~ot-Poci<et
Nlaxirnum.

 

We cover emergency room services and supplies inciuding outpatient charges for patient observation
and medical screening exams that are required for the stabilization of a patient experiencing an
Emergency iVledicai Condition. For the purpose of this benefit, "stabiiization" means to provide Niedicaiiy
Necessary treatment t) to assure, within reasonabie medicai probability, no material deterioration of

an Emergency i\r‘ledical Condition is likely to occur during, or to result from, the transfer of the Niernber
from a facility; and 2) in the case ot a covered femaie i\/iember, whom is pregnant, to perform the deiivery
(including the placenta). Emergency room services do not need to be pre-authorizedl ii admitted to a
participating or nonparticipating Hospital directly from the emergency room, services witt be covered

at the Category 'i benefit |evei. i-iowever, a nonparticipating Provider may bili You for balances beyond
any Deductible and/or Coinsurance Piease contact Customer Service for further information and
guidance See the l-iospitai Care benefit in this Medicai Benefits Section for coverage of inpatient Hospita|

admissions

FAtVfiLY PLANN|NG

 

Category: 1

Category: 2

Category: 3

 

Provider: Preferred

Provider: Participating

Provider: Nonparticipating

 

Payment: After Deductibie, We
pay 80% and You pay 20% of
the Aiiowed Amount. Your 20%
payment wii| be apptied toward
the Out-of-Pocket iVlaximum.

 

 

Payment: After Deductibie, We
pay 60% and You pay 40% of
the Ailowed Amount. Your 40%
payment Will be applied toward
the Out-of~i:’ocket thaximum.

 

Payment: After Deductible, We
pay 60% of the Aitowed Amount
and You pay balance of billed
charges Your 40% payment

of the Allowed Amount will be
applied toward the Out-of-Pocl<et
t\/laximum.

 

We cover certain professional Provider contraceptive services and suppiies, inciuding, but not limited
to, vasectomy. See the Prescription Medications benefit in this l\/ledicai Beneiits Section for coverage of

prescription contraceptives

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Piease see the Preveniive Care and immunizations benefit for coverage of women's contraceptive
methods, sterilization procedures and patient education and counseling services in accordance with any
frequency guidelines according to, and as recommended by i-iRSA.

GENE`¥`|C TEST|NG

 

Category: 1

Category: 2

Category: 3

 

Provider: Preferred

Prcvider: Particlpating

Provider: |\ionparticipating

 

Payment: After Deductlble, We
pay 80% and You pay 20% of
the Allowed Arnount. Your 20%
payment will be appiied toward
the Out~of-Poci<et Niaxirnurn.

Payment: After Deductibie, We
pay 60% and You pay 49% ct
the A|lowed Arnount. Your 40%
payrnent wlii be appiied toward
the Out-oi~Pocket Nlaxirriurn.

Payrnent: After Deductibie, We
pay 60% of the A|lowed Amount
and You pay balance of biited
chargesl Your 40% payment

of the Aiiowed Arnount wlii be
appiied toward tire Out-of-Poci<et
Nlaxirnurn.

 

HONIE HEAi..TH CARE

 

Category: 't

Category: 2

Category: 3

 

Provider: Preferred

Provider: Participating

Provicier: Nonparticipatirig

 

Payment: Aiter Deductible, We
pay BO% and You pay 20% of
the Allowed Amocnt. Your 20%
payment wiii be applied toward
the Out~ot-Poci<et l\/iaximum.

 

Payment: Aiter Deductlble, We
pay 60% and You pay 40% of
the Aiiowed Amount. Your 40%
payment wiii be applied toward
the Out~oi-Poci<et l\/laximurn.

 

Payrnent: After Deductible, We
pay 60% ot the A|lowed Amount
and You pay balance of billed
charges Your 40% payment

of the Allowed Amoant wili be
appiied toward the Out-oi-Pocket
l\/laxirnum.

 

 

l.irn|t: 130 visits per lvlemt)er per Caiendar Year

 

We cover home heaith care when provided by a iicensed agency or facility for home heaith care. i-lome
heaith care includes ali services for nomebound patients that would be covered if tne patient were in a
l-lospital or Sl<illed l\iursing i-`acility. Home health care visits that are applied toward the Deductible will be
applied against the Nlaxirnum Benefit limit on these services Durabte lvledical Eduiprraent associated with
home health care services is covered under the Durable Medical Equipment beneiit in this Booi<let.

i'lOSP|CE CARE

 

Category: ‘i

Category: 2

Category: 3

 

Provider: Preferred

Provider: Participating

Provider: Nonparticipating

 

Payrnent: Aiter |Iieductiblel We
pay 80% and You pay 2{)% of
the Allowed Amoontt Your ZG%
payment will be applied toward
the Out~oi~Pocket Maxlmurri.

Payment: Atter Deductibie, We
pay 60% and You pay 46% of
the Allowed Amount. Your 40%
payrnent wlii be appiied toward
the Out~ot-F’ocl<et l'v‘laxirnurn.

 

Payment: After Deductibie, We
pay SO% of the Allowed Arnoont
and You pay balance of biiied
charges Your 40% payment

of the Aliowed Arnount wlii be
appiied toward the Out-oi-i:’oci<et

 

Nlaxirncrn.

 

 

Limit: 14 inpatient or outpatient respite care days per Member i.ifetime

 

We cover hospice care when provided by a licensed nospice care program. A hospice care program
is a coordinated program of horne and inpatient care, availabte 24 hours a day. This program uses an

 

 

interdisciplinary team ot personnei to provide comfort and supportive services to a patient and any family
members who are caring ior a patient, who is experiencing a lite threatening disease with a limited
prognosis These services include acote, respite and horne care to meet the physicai, psychosoclat and
special needs ci a patient and his or her farnin during the tinai stages of |l|ness. Resplte care: We cover
resplte care to provide continuous care of the l\/iember and allow temporary relief to family members from
the duties of caring for the lvlember. Respite days that are applied toward the Dedoctibie wiil be applied

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against the i\/iaxlmum Beneiit ilmit on these services Durable lviedical Equipment associated with hospice
care is covered under the Durab|e i\.fiedical Equiprnent benefit in this Bool<iet.

HOSPiTAL CARE - |NPAT|ENT, Oi}TPATiENT AND AMBULATORY SURG§CAL CENTER
Category: 1 Category: 2 Category: 3
Provider: Preferred Provider: Participating Provider: Nonparticipating

Payment: After Deductib|e, We Payment: Aiter Deductibie, We Peyrrient: After Deductibie, We
pay 80% and You pay 20% ot pay 60% and You pay 40% of pay 60% of the Al|owed Amount
the Aliowed Amount. Your 20% the Aliowed Amount. Your 40% and You pay balance of biiied
payment wiii be applied toward payment witt be applied toward charges. Your 40% payment

the Out-of-F’oci<et Niaxlmum. the Out~ct-Poct<et ivtaximtim. of the Aiiowed Amcunt wilt be
appiied toward the Out-of~F’oci<et
Nlaximum.

We cover the inpatient and outpatient services and supplies of a i-iospitai or the outpatient services and
supplies of an Ambuiatory Surgicai Center for injury and illness (including services of staff Providers
billed by the Hospital). Rcorn and board is limited to the i-iospitai's average semiprivate room rate, except
where a private room is determined to be necessary See the Ernergency Roorn benefit in this l`vledical
Benefits Section for coverage of emergency services, inciuding medical screening exams, in a i-lospital‘s
emergency room.

 

 

 

 

 

 

 

 

if benefits in this Bookiet change while You or an Enroiled Dependent is in the i-lospltai (or any other
facility as an inpatient), coverage will be provided based upon the benefit in etfect when the stay pegan.

 

 

MATERN!TY CARE
Category: 1 Category: 2 Category: 3
Provider: Preferred Provider: Participating Provider: Nonparticipating

 

Payment: After Deductii)ie, We Payment: After Deductib|e, VVe Payment: Aiter Deductible, We
pay 80% and You pay 20% of pay BO% and You pay 40% of pay 60% ot the Aiiowed Amount
the Aliowed Arnount. Your 20% the Al|owed Amount. Your 40% and You pay baiance of billed
payment will be appiied toward payment will be applied toward chargesl Your 40% payment

the Out-oi~Pocket Maxinium. the Out-of-Pocket Nlaxinium. of the A|lowed Amount wlii pa
applied toward the Out-of-Pocket
Niaximum.

 

 

 

 

We cover prenatai and postnatal maternity (pregnancy) care, chiidbirth (vaginai or cesarean), involuntary
compiications of pregnancy, and related conditions for a female Enroiied Employee or a female Enro|ied
Spouse. We cover involuntary complications of pregnancy for a female Enrolled Chiid oniy as specified
beiow. Tnere is no limit for the mother‘s iength of inpatient stay. Where the rnother is attended by a
Provider, the attending Provider will determine an appropriate discharge timel in consuitatlon with the
mother. See the i\iewborn Care benefit in this lvledical Benefits Section to see how the care of Your
newborn is coveredl Coverage also inciudes termination ot pregnancy oniy when done to preserve the tlie
of the female Member.

Certain services such as screening for gestational diabetes, breastieeding support, supplies (ior exampie,
a breast pump) and counseling are covered under Your Preventive Care benefit

We will cover a iemaie lvlember for invoiuntary complications of pregnancy including:

- ectopic pregnancy which is terminated;

~ spontaneous termination of pregnancy which occurs during a period of gestatlon in which a viabie birth
is not possib|e;

- puerperai infection;

~ eclarnpsia;

- toxemia; and

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- conditions requiring inpatient oonnnement (wnen the pregnancy is not terminated), the diagnoses
ot Whtch are distinct frorn pregnancy but are adversely affected by pregnancy or are caused by
pregnancyl such as acute nephritis, nephrcsis, cardiac decompensation, missed abortion, and sirni|air
medicai and surgicai conditions of comparable severity.

Additionai|y, We witt only cover a female Enrolied Emp|oyee or a female Enrolled Spouse tor the foiiowing
involuntary complication of pregnanoy:

~ cesarean section deiivery.
invoiuntary complications of pregnancy do not include:

- false tabor;

- occasionai spotting;

~ Physician~prescribed bed rest during the period ct pregnancy;

» morning sici<ness;

~ nyperernesis gravidartirn;

~ preectampsia; and

~ similar conditions associated with the management of a difficult pregnancy not constituting a
nosciogically distinct complication of pregnancyl

Definitions

in addition to the definitions in the Detinitions Section, the foiiowing definitions apply to this |'vlaternity Care
benefit

Enro||ed Spouse: means an Enroi|ed Dependent who is the Enro|led Ernpioyee's spouse.
_i“_:“nro||ed Chiid: insane an Enroi|ed Dependent who is the Enroiied Ernpioyee‘s chiid.

lVlEDiCAL FOODS (PKU)
Category: 1 Category: 2 Category: 3
Provider: Preferred Provlder: Participating Provider: Nonparticipating

Payinent: Aiter if)eductibief We Payment: After Deductibie, We Payment: Atter Deductibie, We
pay 80% and You pay 20% of pay 60% and You pay 40% of pay 60% ct the Attowed Amount
the Ai|owed Amount. Your 20% the Aiiowed Amount. YoLir 40% and You pay baiance of billed
payment wiii be applied toward payment will be appiied toward charges Your 40% payment

the Out-of-Poci<et i\!laximum. the Out-of-Pocket iviaximum. of the Ailowed Amotint wi|i be
applied toward the Odt~of-Poci<et
ivlaximum.

We cover medicai icods ior inborn errors oi metabolisrn includingl but not limited to, fcrrnuias for
Phenyii<etonuria (F’Ktt).

NEURODEVELOPMENTAL THERAPY
Category: 1 Category: 2 Category: 3
Provider: Preferred Provider: participating Provider: Nonparticipating

Payrnent: After Dedoctibte, We Payment: After Deductibie, We Payinent: Atter Deductible, We
pay 80% and You pay 20% of pay 60% and You pay 40% ct pay 60% of the Aiiowed Arnount
the Aliowed Amoi.int, Your 20% the A|iowed Amotint, Your 40% and You pay baiance of billed
payment witt be appiied toward payment will be appiied toward charges Your 40% payment

the Out-of~Pocket N|a)<irnorn. the Out-of-Pocket i\)laxirnurn. of the Ailowed Amctint will be
applied toward the Odt-of-Pocl<et
i\!laximum.

 

 

 

 

 

 

 

 

 

 

 

 

 

inpatient iimit: unlimited
Outpatient ilm|t: 28 visits per l'vlember per Caiendar Year for ali outpatient neurodeveiopmental therapy
services

 

 

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We cover inpatient and outpatient neurodeveiopmentai therapy services To be covered, such services
must be to restore or improve function for a i‘viember age six and under with a neurodevelopmenta|
delay. For the purpose of this beneiit, "neurodeve|oprnenta| delay" means a delay in normai development
that is not related to any documented iiiness or injury. Covered Services inciude only physical therapy,
occupational therapy and speech therapy and maintenance services, ii significant deterioration

of the l`viember's condition would resuit without the service. You will not be eligible for both the
Rehabiittative Services benefit and this benefit for the same services for the same condition Outpatient
neurodeveloprnenta| therapy visits that are appiied toward the Deductibie wlii be appiied against the
Niaxirnum Benefit limit on these services

NEWBORN CARE

 

Category: 'i

Category: 2

Category: 3

 

Provider: Preferred

Provider: Participating

Providei': Nonparticipating

 

Payrnent: Atter Deductit)ie, We
pay BO% and You pay 20% of
the A||owed Amount. Your 20%
payment wii| be appiied toward
the Out-of-Pocl<et iviaxirnurn.

 

 

Payrnent: After Deductib|e, We
pay 60% and You pay 40% oi
the Aiiowed Amount. Your 40%
payment will be appiied toward
the Out-of-Pocl<et |Vlaxirnum.

 

Payment: After Deductib|e, We
pay 60% of the Aiiowed Arnount
and You pay balance ot billed
charges Your 40% payment

ot the A||owed Amount will be
applied toward the Out-of~i:’ocket
i\/laximum.

 

We cover services and supplies, under the newborn's own coverage, in connection with nursery care
for the natural newborn or newly adoptive chi|d. The Newborn Chi|d must be eligible and enrolled as

explained iater in the Who is Ellgible, liow to Enroli and When Coverage Begins Section. `i'here is no
limit for the newborn's length of inpatient stay For the purpose of this benefit, "newborn care" means
the medical services provided to a i\lewborn Child following birth including well-baby i-iospital nursery
charges, the initial physical examination and a PKU test.

NUTR¥T|ONAL COUNSELENG

 

Category: 'i

Category: 2

Category: 3

 

Provider: Preferred

Provider: Participating

Provider: Nonparticipating

 

Payment: After Deductib|e, We
pay 80% and You pay 20% of
the Ailowed Arnount. Your 20%
payment will be applied toward
the Out-ot~Pocket lviaximum.

 

Payment: Aiter Deductibie, We
pay 60% and You pay 40% of
the Aiiowed Amount. Your 40%
payment witt be applied toward
the Out~of-Poci<et |Viaximum.

 

Payment: After Deductibie. We
pay 60% of the Ailowed Amount
and You pay balance ot biiled
charges Your 40% payment

of the Ailowed Amount wlii be
appiied toward the Out»ot~Pooi<et
Maxirnum,

 

on these services.

Limit: three visits per Lifetime (diabetic education and counseling is not subject to this iirnit). Nutritionai
counseling visits that are applied toward the Deductibie will be appiied against the l\f|aximum Benetit iinitt

 

OR'¥`HOTLC DEV¥CES

 

Category: 1

Category: 2

Category: 3

 

Provider: Preterred

Provider: Participating

Provider: Nonparticipating

 

Payment: After Deductib|e, We
pay 80% and You pay 20% of
the A||owed Arnount. Your 20%
payment will be applied toward
the Out-oi-Pocket iviaximurn.

 

Payment: After Deductibie, We
pay 60% and You pay 40% of
the A|iowed Arnount. Your 40%
payment wlii be applied toward
the Out-of-Poci<et iviaxirnurn.

 

Payment: After Deductibie, We
pay 60% of the Ailowed Amount
and You pay balance ot biiied
charges Your 40% payment

ot the Aitowed Amount wlii be
appiied toward the Out~oi-Poci<et

 

Maxirnum.

 

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We cover benefits for the purchase ot braces, spiints, orthopedic appliances and orthotic supplies or
apparatuses used to support, align or correct detormities or to improve the function cl moving parts of
the body. We may elect to provide benefits tor a less costly alternative item. We do not cover off~the-shetf
shoe inserts and orthopedic shoes.

 

 

PALLiAT|VE CARE
Category: 1 Category: 2 Category: 3
Provider: Preferred Provider: Participating Provicler: Nonparticipating

 

Payrnent: Alter Deductibie, We Payrnent: After Deductible, We Payment: After Deductib|e, We
pay 80% and You pay 20% of pay 60% and You pay 40% of pay 60% ot the Allowed Arnount
the A||owed Arnount. Your 20% the A|iowed Amount. Your 40% and You pay balance of billed
payment wii| be applied toward payment will be applied toward charges Your 40% payment

the Out-of-Pocket |Vlaxirnurn. the Out-of-Pocket i\/laximurn. oi the Allowed Arnount will be
applied toward the Out~of-Pocl<et
l\/laxirnum.

 

 

 

 

Limit: 30 visits per iyiember per Caiendar Year

 

We cover pa||iative care when a Provider has assessed that a Nlember is in need of pa|iiative services
For the purpose of this benefit, "paiiiative care" means specialized services received from a Provlder in
a horne setting for counseling and home heaith aide services for activities of daily |iving. Pal|iative care
visits that are applied toward the Deductible wi|i be applied against the i\/taximum Benefit limit on these
services

PRESCR|PT|ON MED|CA`¥EONS

For Prescription Medications from a Pharmacy

~ After iJeductibie, We pay 80% and You pay 20% of the Covered Prescription i'viedication Expense tor
each Generic Niedication or Brand~i\iame iviedication. Your 20% payment wiii be applied toward the
Out~ot-F’ocket iviaximum.

For Prescription Medications from a Niail-Order Supp|ier

- After Deductib|e, We pay 80% and You pay 20% of the Covered F’rescription Medication Expense for
each Generic ivledication or Brand-Name ivledication. Your 20% payment wiil be applied toward the
Out~of-Poci<et iviaximum.

 

 

 

 

 

Covered Prescription Medicattons
Beneiits under this Prescription i\/|edications provision are available for the tollowing'.

- diabetic supplies (inc|uding test strips, glucagon emergency kits, insulin and insulin syringes, but not
insuiin pumps and their suppiies). when obtained with a Prescription Order (insuiin pumps and their
supplies are covered under the Durable i‘\£edical Equiprnent benefit);

- Prescripticn Medlcations;

- certain preventive medications (inoiuding, but not limited to, aspirin, fluoride, iron and Generic
Medications for tobacco use cessation) according to, and as recommended by, the USPSTi‘-', when
obtained with a Prescription Order;

- i:tDA-approved women's prescription and over~the~counter (if presented with a prescription)
contraception methods as recommended by the HRSA. These include temaie condoms, diaphragm
with sperrnicide, sponge with spermicide, cervicai cap with spermicide, sperrnicide, oral contraceptives
(combined piil, mini pitt and extended/continuous use piii), contraceptive patch, vaginai ring,
contraceptive shot/injection and emergency contraceptives (both ievonorgestrei- and uiipristai acetate-
containing products);

¢ immunizations for adults and children according to, and as recommended by, the CDC; and
Se|t~Adrninistrable Prescription |Vledications {inciuding, but not limited to, Seif”Administrable
Compound and lniectabie Nledications).

You are not responsibie for any applicable Deductlbie and/or Coinsurance when You fill prescriptions
at a i°articipating Pharmacy for specific strengths or quantities of medications that are specifically

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designated as preventive medications women‘s contraceptives or for immunizations, as specified
above. For a list of such medications, please visit www.Regence.com or contact Customer Service at
1 (877) 508-7359. Also, ii Your Provider believes that Our covered preventive medicationsl including
women‘s contraceptives, are medically inappropriate for You, You may request a coverage exception
for a different preventive medication by contacting Customer Service. NOTE: i“he appiicable Deductibie
and/or Coinsurance as listed in this Prescription Medlcations benefit will apply when You till preventive
medications and immunizations that meet the above criteria, at a Nonpartlcipating Pharrnaoy.

Pharmacy Network information

A nationwide network of Particlpating Pharmacies is available to You. i=’harmacies that participate in this
network submit claims electronically

Your iv‘|ernber card enables You to participate in this Prescription Niedication program, so You must use it
to identify Yourseif at any Pharmacy. if You do not identify Yourse|i as a i\/lernber of Regence BlueShieid
oi ldaho, a Participating Pharmacy or Nlali~Order Suppiter rnay charge You more than the Covered
Presoription iviedication E>cpense. You can find Participating Pharmacies and a Pharmacy locator on Our
Web site at www.Regence.com or by contacting Customer Service at 1 (877) 508-7359.

Preauthorization

Preauthorization may be required so that We can determine that a Prescription iviedication is lViedicaliy
Necessary before it is dispensed We publish a list of those medications that currently require
preauthorization. You can see the list on Our Web site at www.Regence.corn or contact Customer
Service at 1 (877) 508-7359. in addition, We notify participating Providers, including Pnarmacies,
which Prescription Medications require preauthorization. The prescribing Provider must provide the
medical information necessary to determine l\/ledical Necessity ot Prescription Nledicatlons that require
preauthorization.

Coverage for preauthorized Prescribed ivledications begins on the date We preauthorlze them lf Your
Prescription |Vledication requires preauthorization and You purchase it before We preauthorize it or
without obtaining the preauthorization, the Prescripiion iviedication may not be covered, even if purchased
from a Participating Pharmacy.

Limitations
The foiiowing ilrnitations apply to this Prescrlption Medications beneflt, except for certain preventive
medications as specified in the Covered i-"rescription Nledications Section:

- l\l'iaximum 30-Day or Greater Supply Limit

~ |njectable Niedications and 30-Day Supp|y. The iargest allowable quantity ior Self-
Adminlstrable injectab|e Medications purchased from a Pharmacy cr Nlai|-Order Suppiier, is a
30~day suppiy. The Coinsurance for Sell~Administrable lnjectable l\/ledications purchased from a
Maii~Order Supplier will be the same as it the medication was purchased irorn and the claim was
submitted electronically by a i:’harrnacy.

~ ilr‘lai|-Order and QO-Day Supply. i'he largest allowabie quantity ot a Prescription i\/ledication
purchased from a N|ai|-Order Supplier is a 530-day suppty. A Provider may choose to prescribe
or You may choose to purchase, some medications in smelter quantities Self-Administrabie
lnlectable Medications are limited to a 30-day supply as indicated above. You may aiso obtain
covered Prescriptlon Medications from a non-contracted mail-order Pharmacy, il the non-
contracted mail-order Pharrnacy is registered and agrees to dispense covered Prescription
Medications under the same terms and conditions as those provided by a i\/lail~Order Suppiier.
ln this case, covered Prescription l\/iedications dispensed by the non~contracted mail-order
Pharmacy will be covered in the same manner as covered Prescription Medications dispensed by
a Nlaii-Order Suppiier.

- Pharrnacy and 90~Day Suppiy. 'i'he largest allowable quantity of a Prescription ivledication
purchased irom a Pharmacy is a 90~day supp|y. A Pr`ovider may choose to prescribe, or You may
choose to purchase, some medications in smaller quantities

» Nlaxirnurn Quantity Limit

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For certain Prescripticn Nledioations, We establish maximum quantities other titan those described
previously This means thatr for those medications there is a limit on the amount of medication

that witt be covered during a period of time. We use information from the FDA and from scientific
publications to estabiish these maximum quantities When You tal<e a Prescription Order to a
Participating Pharmacy or request a Prescription i\/ledication refil| and use Your lifterni)er card, the
Pharmacy Wili let You know if a quantity iimitation appiies to the medication You may also find out

if a limit applies by contacting Customer Service at 1 (877} 508-7359. We do not cover any amount
over the established maximum duantity, except if We determine the amount is Medicaily Necessary
The prescribing Provider must provide medicai information in order to estabiish whether the amount in
excess ot the established maximum quantity is l\/ledically Necessary

- Refiiis
We will cover refills from a Piiarmacy when You have taken 75 percent of the previous prescription
Refiils obtained from a thaii~Order Supplier are ailowed after You have taken all but 20 days of the
previous Prescription Order. lt You choose to relil| Your Prescription ii/ledications socner, You will be
responsible for the fuii costs of these Prescription ivtedications and these costs will not count toward
Your Deductibie (if applicab|e) or any Out-oi-Poci<et |Viaxirnurn. if You feel You need a refiii sooner
than aiiowed, a reii|i exception will be considered at Our discretion on a case-by~case basis You rnay
request an exception by caliing Customer Service at l (877) 508-7359.

Prescription Ntedications Dispensed by Exciuded Pharmacies

A Pharrnacy rnay be exciuded if it has been investigated by the Oifice of the inspector Genera| (OiG)
and appears on the OiG's exclusion iist. if You are receiving medications from a Pharrnacy that is
iater determined by tile OlG to be an excluded F’harmacyl You wlii be notified. aiter Your claim iias
been processed, that the Pharmacy has been exciuded, so that You may obtain iuture F’rescription
l\/iedicatlons frorn a non-excluded Pharmacy. We do not permit exciuded Piiarmacies to submit claims
alter the excluded Pharrnacies have been added to the O|G list.

Exc|usions
in addition to the exclusions in the Genera| Exclusions Section, the following exclusions apply to this
Prescription lv'ledications benefit:

Acne Nledioation: Prescription Nledications for the treatment of acne in l\/lembers over age 39.
Bio|ogical SeraE Biood or Biood Plasrna

Cosrnetic Purposes: Prescription |Viedications used for cosmetic purposes, inciuding, but not limited to:
removai, inhibition or stimulation of hair growth; retardation of aging; or repair of sun-damaged skin.

Devlces oi;_Appliances: Devlces or appliances ot any type, even ii they require a Prescription Order
(coverage for devices and appliances may otherwise be provided under the Medicai Benefits Sectlon),

Foreiqn Prescription Medloations: Except for Presorlption Nledications associated With an Ernergency
Niedica| Condition white You are traveling outside the United States, or Prescription Nledications You
purchase while residing outside the United States, We do not cover foreign Prescriptlon Niedications.
These exceptions appiy only to medications with an equivaient i:DA-approved Prescription Medlcation
that would be covered under this section it obtained in the United States.

insulin Purnps and Pump Adminlstration Suppii_e_s_'. Coverage for insulin pumps and suppiies is provided
under the l\/ledica| Benefits Section.

l\r‘|edicaticns We Don’t Consider Selt~Administrabie: Coverage for these medications may otherwise be
provided under the Niedica| Benefits Section.

i\ionprescription Medicattons: lvledications that i)y law do not require a Prescription Order and which
are not included in Our definition of Prescription i\/ledications, shown belowl unless included on Our
i`~'ormulary.

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Prescription Niedications Dispensed in a i'-'aciiitv: Prescription i\/iedications dispensed to You while You are
a patient in a Hospital, Sl<i|ied Nurslng Faciiity, nursing horne or other health care institution lvledications
dispensed upon discharge should be processed under this benefit if obtained from a Pharmacy.

Presoriotion Nledications for Treatment of inferiility

Prescription i\/ledications Not Dispensed by a Pharmacy Pursuant to a Prescription Order

Prescription i\/ledications Not Within a Provider‘s i_icense: Prescrlption |Viedications prescribed by
Providers who are not licensed to prescribe medications (or that particular medication) or who have a
restricted professional practice iicense.

Prescription il/iedications without Examination: Except as provided under the i'eiemedioine benefit in this
Nledicai Benetits Section, We do not cover prescriptions made by a Provider without recent and relevant
iri-person examination ot the patient, whether the Prescription Order is provided by maill telephone,
internat or some other means. For purposes of this exclusion, an examination is "recent" if it occurred
within iZ months of the date of the Prescription Order and is *‘relevant" if it invoived the diagnosis,
treatment or evaluation ot the sarne or a related condition for which the Prescription i\/iedicatlon is being
prescribed

Prctessionai Charges for Adminlstration ot Any ll/tedication

Definitions

in addition to the deiinltions ira the Deiinitions Section, the following definitions apply to this Prescription
l\/ledications benefit

Brand-Narne Niedication means a Prescription i\/iedication that is marketed and soid by limited sources
or is listed in widely accepted references (or as specified by Us) as a Brand-Narrie lv'ledication based on
manufacturer and price.

Con'rpound Medlcation means two or more medications that are mixed together by the Pharrnacist. To be
covered, Compound i'\)iedications must contain a Prescription i\riedication that has been approved by the
FDA.

Covered Prescription Niedication Expense means the total payment a Participating Pharrnacy or l\riaii-
Order Suppiier has contractually agreed to accept as full payment for a Prescription i\/ledication. A
Participating Pharmacy or Mai|-Order Suppiier rnay not charge You more than the Covered Prescription
i\/ledication Expense ior a Prescription Medication.

Formuiary means Our iist ct selected Prescription Nledications. We estabiished Our Formulary end
We review and update it routineiy. it is availabie on Our Web site at www.Regence.com or by calling
Customer Service at l (877) 508-7359. ivledications are reviewed and selected for inclusion in Our
Forrnuiary by an outside committee ct providers, including Physicians and Pharmacists.

Generic Medication means a Prescription l\/iedication that is equivalent to a Brand~Name Medicatlon and
is listed in wideiy accepted references (or specified by Us) as a Generic i\)ledlcation. For the purpose of
this definition, "eduivalent" means the FDA ensures that the Generic l\./iedication has the same active
ingredientsl meets the same manufacturing and testing standards, and is as safe and as effective as

the Brand-Name iviedication. if listings in widely accepted references are conflicting or indefinite about
whether a Prescription l\/ledication is a generic or Brand-i\iarne Nledication, We will decide.

iViaii~Order Supp|ier means a mail-order Pharmacy with which We have contracted for malt~order
services.

Pharrnacist means an individual licensed to dispense Prescription i\fledications, counsel a patient about
how the medication works and its possible adverse effects and perform other duties as described in his or
her state's Pharmacy practice act.

Pharmacy means any duly licensed outlet in which Prescrlption i\fledications are dispensedl A
Perticipatlng Pharmacy means either a Pharmacy with which We have a contract or a Pharrnacy that

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participates in a network for which We have contracted to have access Participating Pharmacies have
the capability of submitting claims electronically A Nonparticipating Pharrnacy‘ means a Pharmacy
with which We neither have a contract nor have contracted access to any network it belongs to.
Nonparticipating Pharrnacies may not be able to or choose not to submit claims electronica||y.

Erescnption l\/ledications (also Prescribed ivledications) means medications and biologicais that relate
directly to the treatment of an illness or iniury, legally cannot be dispensed without a Prescription Order
and by law must bear the iegend: "Prescriptton On|y,“ or as specifically included on Our Formuiary.

prescription QLM means a written prescription or orai request for Prescription iviedications issued by a
Provider who is licensed to prescribe medications

Seli-Administrable Prescrlption Nledicaiions (also Se|f-Administrabie l\/ledications, or Se|t-Administrabie
lnjectabie lviedication) means a Prescription l‘vtedication, determined by Us, which can be safely
administered by You or Your caregiver outside a medically supervised setting {such as a Hospita|,
Physician office or clinic) and that does not require administration by a Provider. in determining what
We consider Self-Administrabie Medications, We refer to information from the manufacturer, scientific
llterature, practice standards lvledicare practices i\iiedicai Necesslty and other information that We
consider a relevant and retiabie indication of safety and acceptability We do not consider Your status
such as Your ability to administer the medication, when determining whether a medication is self-

administrab|e.

PROS'¥'HET|C DEVlCES

 

Category: 'i

Category: 2

Category: 3

 

Provider: Preferred

Provider: Participating

Provider: Nonparticipating

 

Payment: After Deductibie, We
pay BO% and You pay 20% ot
the Aiiowed Arnount. Your 20%
payment will be applied toward
the Out~of-Pocket lV|axirnum.

 

 

Payment: Atter Deductlbie, We
pay 60% and You pay 40% of
the Aiiowed Amount. Your 40%
payment wlii be applied toward
the Out-of-Pocl<et |\/iaxirnum.

 

Payment: Aiter Deductible, We
pay 60% ot the Aiiowed Amount
and You pay balance ct biiled
charges Your 40% payment

cl the Alicwed Amount wlii be
applied toward the Out-oi~Pocket
i\/iaxirnum.

 

We cover prosthetic devices for functional reasons to replace a missing body part, including artificial
limbs, external or internat breast prostheses foiiowlng a mastectomy and rnaxlliofacial prostheses.
Prosthetic devices or appliances that are surgically inserted into the body are otherwise covered under
the appropriate facility benefit (l-lospitai inpatient care or Hospital outpatient and Ambu|atory Surgical
Center care) in this il.lledical Benefits Section. We wlii cover repair or replacement ot a prosthetic device
due to normal use or growth ot a chiid.

REHAB|L|TAT|ON SERV!CES

 

Category: ’i

Cetegory: 2

Category: 3

 

Provider: Preferred

Provider: Participattng

Provider: Nonparticipatlng

 

Payment: After Deductible, We
pay 80% and You pay 20% ot
the Ailowed Amountx Your 20%
payment will be applied toward
the Out-of-Pocket Nlaxirnurn.

 

Payment: Aiter Deductibie, We
pay 60% and You pay 40% of
the Allowed Amount. Your 40%
payment will be applied toward
the Out-of-F’ocket i\/laxirnum.

 

Payment: After Deductibie, We
pay 60% of the Al|owed Arnount
and You pay balance oi billed
charges Your 40% payment

ot the Ailowed Arnount will be
applied toward the Out-of-Poci<et
i\ilaximum.

 

inpatient limit: 22 days per l\/iember per Ca|endar Year
Outpatient iimit: 30 visits per Member per Caiendar Year

 

 

We cover inpatient and outpatient rehabilitation services {physical, occupational and speech therapy
services only) and accommodations as appropriate and necessary to restore or improve lost function
caused by injury or illness Rehabiiitation days or visits that are applied toward the Deductib|e will

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be applied against the ivlaxlmam Beneiit limit on these services You will not be eligible for both the
Neurodevelopmenta| Therapy benefit and this benefit for the same services for the same condition

SK|LLED NURS|NG FAC|L|TY (SNF) CARE

 

Category: 'l Category: 2 Category: 3

 

Provider: Preferred Provider: Participating Provider: Nonparticipating

 

Payment: Aiter Dednctible, We Payrnent: Atter Dedlrctible, We Payment: Atter Dedoctible, We
pay 80% and You pay 20% of pay 60% and You pay 40% of pay 60% of the Atiowed Amount
the Aliowed Amount. Your 20% the Aiiowed Amount. Your 40% and You pay baiance of billed
payment will be applied toward payment will be applied toward charges Your 40% payment

the Out-of-Poci<et l\/laxirnurn. the Out-of-Pocket Nlaxlrnum. of the Allowed Amount will be
applied toward the Out-of-Poci<et
ivlaximum.

 

 

 

 

Limit: 60 inpatient days per lvlember per Caiendar Year

 

 

We cover the inpatient services and supplies of a Si<illed Nursing Facility ior illness injury or physical
disability Roorn and board is limited to the Sl<illed Nursing Facl|ity‘s average semiprivate room rate1
except where a private room is determined to be necessary Sl<iiied i\lursing Faci|lty days that are applied
toward the Deductlbie will be applied against the tvlaximum Beneflt limit on these services Anci[iary
services and supplies such as physical therapy, Prescription Medlcations, and radiology and laboratory
services billed as part ct a Skilled Nursing Faci|ity admission also apply toward any ll/taxirnurrl Beneiit
limit on Si<il|ed Nnrsing Faciiity care.

SPINAL MAN¥PULA¥|ONS

 

Category: 'i Category: 2 Category: 3

 

Provider: Preferrect Provider: Participating Provider: Nonparticipating

 

Payrnent: Atter Deductible, We Payment: After Deductii:)le, We Payment: At'ter Decluctible, We
pay 80% and You pay 20% of pay 60% and You pay 40% of pay 60% ot the Aiiowed Amount
the A||owed Amount. Your 20% the Aiiowed Amount. Your 40% and You pay balance of billed
payment wlii be applied toward payment will be applied toward charges Your 40% payment

the Out~of-Poci<et l'vlaxirnurn. the OLrt-of-F*ocl<et l\/laximurn. of the Allowed Amount will be
applied toward the Out-of-Poci<et
Niaximum.

 

 

 

Limit: i8 spinal manipulations per Nlember per Calendar Year

 

 

 

We cover spinal manipulations performed by any Provider. Spinal manipulations that are applied toward
the Deductiple wlii be applied against the i\/iaxtmum Benefit limit on these services |Vtanipuiations of
extremities are covered under the Neurodevelopmental `i'herapy and Rehabiiltation Servlces benefits in
this iviedica| Benefits Section.

TELEMED|CINE

 

Category: t Category: 2 Category: 3

 

F'rovider: Preferred Provider: Participating Provider: Nonparticipating

 

Payrnent: After Deductlble, We Paymerlt: Atter Deductib|e, We Payment: Atter Deductible, We
pay 80% and You pay 20% of pay 60% and You pay 40% of pay 60% ot the Allowed Amcunt
the Allowed Arnount. Your 20% the Atlowed Arnount. Your 40% and You pay balance of billed
payment will be applied toward payment will be appiied toward charges Your 40% payment

the Out»cf-Pocl<et Nlaxirnum. the Out-of-F*ocl<et Nlaximurn. of the Allowed Amount will be
applied toward the Out~of-Pocket
l\/iaximurn.

 

 

 

 

 

We cover teiernedicine (audio and video communication) services between a distant~site Physiclan,
the patient and a consulting Practltioner when the originating (dlstant) site is a rural health professional
shortage area as defined by the Centers for Nledicare and Nledicaid Servlces.

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TEMPOROMAND|BU LAR JOINT (TN|J) D|SORDERS

 

Category: 1

Category: 2

Category: 3

 

Provider: Preferred

Provider: Participating

Provider: Nonparticipating

 

Payment: Alter Deductible, We
pay 80% and You pay 20% of
the A|iowed Amount. Your 20%
payment will be applied toward
the Out-of~Pocl<et lvlaximum.

Payrnent: Afier Deductible, We
pay 60% and You pay 40% of
the A||owed Amount. Your 40%
payment will be applied toward
the Out~ot-Pocket l\/iaxlmum.

Payment: After Deductible, We
pay 60% of the Aliowed Amount
and You pay balance ct billed
charges Your 40% payment

of the Allowed Amount will be

applied toward the Out-of~Pocltet
Nlaximum. 1

 

 

 

 

We cover inpatient and outpatient services for treatment of temporomandibuiar ioinl (Tl\/ld) disorders
which have one or more of the following characteristics

- an abnormal range of motion or limitation of motion of the “l'M.i;
~ arthritic problems with the `i'l\riJ;

- internal derangement of the `l’lvt.i; and/or

- pain in the rnusculature associated with the Tl\/lJ.

"Covered services“ for the purpose ot this Ti'\/lJ benefit, mean those services that are:

- reasonable and appropriate for the treatment of a disorder of the Ti\/i..i, under all ti'le factual
circumstances of the case‘.

- effective for the control or elimination of one or more of the io||owing, caused by a disorder of the “i'l\/lJ:
pain, infection, disease, difficulty in speaking or difficulty in chewing or swallowing food;

- recognized as effective, according to the professional standards of good medical practice; and

~ not investigational or primarily for Cosmetic purposes

TRANSPLANTS
Category: ‘t

 

Category: 2 Category: 3

 

 

Provider: Preferred Provider: Perticipating Provider: Nonparticipating

 

Payment: After Deductible, We
pay 60% of the Allowed Arnount
and You pay balance oi billed
charges Your 40% payment

ot the Allowed Amount will be
applied toward the Out-of~i:’cci<et
Nlaxirnurn.

Payment: After Deductible, We
pay 80% and You pay 20% of
the Aliowed Arnount. Your 20%
payment Wil| be applied toward
the Out~of-Poc|<et Maximum.

Payment: Aiter Deductib|e, We
pay 60% and You pay 40% of
the Allowed Amount. Your 40%
payment will be applied toward
the Out-of»Pocl<et i\/laxirnum.

 

 

 

 

 

We cover transplants including transplant-related services and supplies for covered transplants A
transplant recipient who is covered under this plan and tuldlis lviedicaliy Necessary criteria will be eligible
for the following transplants heart. iung, kidney, pancreas, liverl cornea, multiviscera|, small bowei, is|et
cell and hematopoietic stem cell support (donor stern cells can be collected from either the bone marrow
or the peripheral blood). Hematopoietic stem cell support may involve the following donors, for example,
either autologous (se|f-donor}, alicgeneic {related or unrelated donor), syngeneic (ldentical twin donor)
or umbiiicai cord blood (only covered for certain conditions). This list of transplants is subiect to change
Nlembers can contact Us for a current list of covered transplants

Donor Organ Benefits

We cover donor organ procurement costs if the recipient is covered for the transplant under this plan.
Procurernent benefits are limited to selection, removal ot the organ, storage, transportation oi the surgical
harvesting team and the organ and other such procurement costs that We determine

Transplant Waiting Period
You will not be eligible for any benefits related to a transplant until the first day of the seventh month of
continuous coverage under this or any previous medical pian, whether or not the condition is preexisting

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We will reduce the duration of the transplant waiting period by the amount of Your combined periods of
creditable coverage if You have been covered by creditable coverage. i:or crediting to apply, there must
have been no break in creditable coverage greater than 63 days immediately preceding Your enrollment
date of coverage under the Contract or between any two successive creditable coverages ior which You
seek credit Creditable coverage may still be in force at the time credit ior it is sought on this coverage

You will be allowed a credit against this transplant waiting period for the combined amount of prior
creditable coverages that You have had. lf You have had more than one creditable coverage in effect at
the same time, credit is given only for one (that is, a day on which You have creditable coverage in force
under two coverages ls not counted as two days of creditable coverage). in calculating Your creditable
coverage credit, if You have had a break in coverage (that is, a period between the termination date of
one creditable coverage and the enrollment date on next creditable coverage) of 63 days or morel no
credit will be given for any creditable coverages prior to that break in coverage

Creditabie coverage means with respect to an individual, health benefits or coverage provided by any of
the iollowing:

l Group health benefit plan;

2 l-lealth insurance coverage without regard to whether the coverage is offered in the group market,
individual market or otherwise;

3 Part A or Part B ct Title X\/ili of the Social Security Act (i\/ledicare); 'l'itie XlX of the Soclal Security Act
(|Viedicald);

4 Chapter 55 of `l"itle i{i, t.lnited States Code (rnedical and dental care for members and certain former

members of the uniformed services and their dependents). For purposes of 55 iitie iG, United States

Code, "uniiorrned services" means the armed forces the Commissioned Corps of the Natlonal

Oceanlc and Atmospheric Adminlstration and the Public Heaith Service',

A medical care program of the indian i-lealth Services or of a tribal organization;

A state high-risk pool coverage;

A health plan offered under Chapter 89 of Title 5, United States Code (Federal Empioyees Heaith

Benefits Program (FEl-lBP));

8 A public health plan, which for purposes of this act, means a plan established or maintained by
a state, a foreign country, the U.S. government or other political subdivision of a state, the U.S.
government or foreign country that provides health insurance coverage to individuals enrolled in the
plan; or

9 A health plan issued under section 5 (e) of the Peace Corps Act (22 U.S.C. 2504 (e)).

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A state Chi|dren‘s ilealth insurance Program (CHlP), under i'itle XXl of the Social Security Act. is
creditable coverage, whether it is a stand-alone separate program, a Ci-lli’ lvledicaid expansion
program1 or a combination program, and whether it is provided through a group health plan, health
lnsurance, or any other mechanism.

Credltable coverage is determined separately for each illiember.
The following periods do not count in the calculation of the length of a break in coverage:

- days in a waiting period for eligibility for coverage under the Contract; and

~ tor an individual who elects COBRA continuation coverage during the second election period offered
under the 'l`rade Act of 2002, days between the loss of coverage and the first day of that second
election period.

You have the right to demonstrate the existence of creditable coverage by providing Us with one or more
certificates ct creditable coverage from a prior group cr individual plan or with other documentation You
may obtain a certificate of creditabie coverage from a prior group health plan or insurer by requesting

it within 24 months of coverage termination. We can help You obtain a certificate irorn a prior plan or
insurer or suggest other documents that wili serve as alternatives to a certificate of creditable coverage as
provided by federal law.

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General Exclusions

The following are the general exclusions from coverage in this Bookiet. Other exclusions may apply and,
if so, will be described elsewhere in this Bool<iet.

PREEXISTING COND|TiONS

This coverage does not have an exclusion period for i:’reexistlng Conditions. A Preexisting Condition
normally means a physical or mental condition for which medical advice, dlagnosis, care or treatment was
recommended or received within a specified period of time before the enrollment datel

SPECiFiC EXCLUS|ONS

We will not provide benefits for any of the following conditions, treatments, servicesl supplies or
accommodationsl including any direct complications or consequences that arise from them,
l-ioweverl these exclusions will not apply with regard to an otherwise Covered Servlce for: l) an injury, ii
the injury results from an act of domestic violence or a medical condition (inc|uding physical and mentai)
and regardless of whether such condition was diagnosed before the lnjury, as required by federal law;
or 2) a preventive service as specified under the Preventive Care and immunizations benefit and the
Prescription Medications benefit in the Nledica| Beneflts Section.

Acupuncture
App|ied Behavior Anaiysis (ABA) Therapy

Assisted Reproductive Technologies

We do not cover any assisted reproductive technologies (inciuding, but not limited to, in vitro fertlilzation,
artificial insemination, embryo transfer or other artificial rrreans of conception), or associated drugs,
testing or supplies, regardless of underlying condition or circumstance

Conditions Caused By Active Participation in a War or insurrection
The treatment of any condition caused by or arising out of a l\»iernber*s active participation in a war or
insurrection

Conditions incurred in or Aggravated During Performances in the Uniforrned Services
The treatment of any Niember's condition that the Secretary of \/eterans Aftalrs determines to have been
incurred in, or aggravated during, periorrnance of service in the uniformed services of the United States.

CosmeticiReconstructive Services and Suppiies
Cosrnetic and/or reconstructive services and supplies, except in the treatment of the following:

- to treat a Congenitai Anomaly for l\fiembers up to age 25;

- to restore a physical bodily function lost as a result of injury or illness; or

- related to breast reconstruction foiiowing a l\/iedicaliy Necessary mastectcrrry, to the extent required by
iaw. For more information on breast reconstruction, see the Women‘s i-ieaith and Cancer Rights notice
in this Bool<|et.

Cosrrretic means services or supplies that are applied to normal structures of the body primarily to
improve or change appearance

Reconstructive means services, procedures or surgery performed on abnormal structures of the bcdy,
caused by Congenital Anomailes, developmental abnormalities, trauma, inlection, tumors or disease it is
performed to restore function1 but, in the case ci significant maiformation, is also done to approximate a
normal appearance

Counse|ing in the Absence of fitness

Except as provided in this Bool<iet or as required by iaw, We do not cover counseling in the absence of
lilness, for exampie: educationall sociai, image, behavioral or recreational therapy; sensory movement
groups; marathon group therapy; sensitivity training; Empioyee Assistance Program (EAP) services,
except as provided under the EAP Section, if applicable; wilderness programs; premaritai or marital

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counseling; and lamtiy counseling (however family counseling will be covered when the identified patient
is a child or an adolescent with a covered diagnosis and the family counseling is part of the treatment
when l\/lentai Health Services are covered benefits in this Booi<let).

Custodtai Care

Exoept as provided under the Pailiatlve Care benefit in this Bookiet, We do not cover non-skilled care and
helping with activities ol daily living.

Denta| Services
We do not cover Dentai Services provided to prevent, diagnose or treat diseases or conditions of the
teeth and adjacent supporting soft tissues, including treatment that restores the function ol teelh.

E|ective Abortion

Except when performed to preserve the lite of the enrolled female iVlember, We do not cover termination
of pregnancy (e|ective abortion).

Expenses Before Coverage Begtns or After Coverage Ends
Services and supplies incurred before Your Effective Date under the Contract or alter Your termination
under the Contract.

Fees, Taxes, interest

Charges for shipping and handlingr postage, interest or linance charges that a Provider might bill. We
also do not cover exclse, sales or other taxes; surcharges; tariffs; duties; assessments; or other similar
charges whether made by federa|, state or local government or by another entity, unless required by iaw.

Government Prograrns

Beneiits that are covered, or would be covered in the absence of this plan, by any lederal, state or
government program, except for facilities that contract with i_ls and except as required by lawl such as for
cases ct medical emergency or for coverage provided by Niedicaid. We do not cover government facilities
outside the service area (except for facilities contracting with the local Blue Cross and/or B|ue Shleld plan
or as required by law for emergency services).

Growth Hormone Therapy
Except as provided under the Prescription Nledlcations beneiit in this Bookiet, We do not cover growth
hormone therapy.

Hearing Care

We do not cover hearing care, routine hearing examinations1 programs or treatment for hearing loss.
inciuding, but not limited to, hearing aids {externally worn or surgically impianted) and the surgery and
services necessary to implant them. 'i'his exclusion does not apply to cochlear impiants.

inferti|ity
Except to the extent Covered Services are required to diagnose such condition, We do not cover
treatment of infertiiity1 inciuding, i:)ut not limited to, fertillty drugs and medications

investigational Services

Except as provided under the Approved Clinicai “i`riais benefit in this Bookiet, We do not cover
investigational treatments or procedures (i-iealth |nterventions)1 services1 supplies and accommodations
provided in connection with investigational treatments or procedures (l-iealth interventions). We also
exclude any services or supplies provided under an investigational protoco|. Refer to the expanded
definition in the Definitions Section in this Booi<let.

N|enta| i-lea|th or Substance Use Disorders
Care or treatment for mental health conditions and substance use disordersl

Niotor Vehic|e Coverage and Other Avaiiabie insurance
Expenses ior services and supplies that are payable under any automobile medicai, personal injury
protection (F’lP), or automobile no-fault coverage (unless the automobile contract contains a coordination

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of benefits provision, in which case, the Coordination of Beneiits provision in this Booklet shall apply);
underinsured or uninsured motorist coverage, homeowner's coverage commercial premises coverage
excess coverage or similar contract or insurance. This applies when the contractor insurance is either
issued to, or makes benefits available to a lvlember, whether or not the i\/iember makes a claim under
such coverage Funher, the lviember is responsible for any cost-sharing required by the other insurance
coverage unless applicable state law requires otherwise Once benefits under such contractor insurance
are exhausted or considered to no longer be injury-related under the no-fautt provisions of the contractr
We Will provide benefits according to this Bool<let.

Non-Direct Patient Care
Services that are not direct patient care, inciuding:

- appointments scheduled and not kept (rnissed appointments);

- charges for preparing or duplicating medical reports and chart notes;

- itemized bills or claim forms (even at Our request); and

- visits or consultations that are not in person (inciuding telephone consultations and e-mail exchanges),
except as provided under the i'e|emediclne benefit

Obesity or Weight ReductioniControl

Except as provided under the Nutritionai Counsellng benefit in this Booklet, We do not cover medical
treatment, medication, surgical treatment (lnciuding reversals), programs or supplies that are intended to
result in cr relate to weight reduction, regardless of diagnosis or psychological conditions

Orthognathic Surgery

Except for orthognathic surgery due to an injuryl temporomandibularioint disorder, sleep apnea or
Congenitai Anomaly, We do not cover services and supplies for orthognathlc surgery. By "orthognathic
surgery," We mean surgery to manipulate facial bones including the jaw, in patients with facial bone
abnormalities resulting trorn abnormal development to restore the proper anatomic and tunctionai
relationship of the facial bones

Over»the-Counter Contraceptives
Except as provided under the i:*rescription lviedications benefit in this Booklet, We do not cover over~the-
counter contraceptive supplies

Personal Comfort items

items that are primarily lor comfort1 convenience cosmetics environmental control or education For
example We do not cover telephones televisions air conditioners air filters humidiflers. whirlpoo|s, heat
lamps and light boxes

Physical Exercise Programs and Equipment

Physical exercise programs or equipment, including hot tube or membership fees at spas, health
clubs or other such facilities 'i'his exclusion applies even if the program, equipment or membership is
recommended by the Nlember's Provider.

Private-Duty Nursing
Prlvate-duty nursing, including ongoing shift care in the home

Reversals of Steri|izations
Services and supplies related to reversals of sterilization

Riot, Rebe!lion and illegal Acts

Services and supplies for treatment of an illness injury or condition caused by a i\ilember‘s voluntary
participation in a riot, armed invasion or aggression, insurrection or rebellion or sustained by a iviember
arising directly from an act deemed illegal by an officer or a court of iaw.

Routine Foot Care

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Se|f-He|p, Self-Care, training or instructional Prograrns
Self-heip, non”rnedica| self-care, training programs, inciuding:

- diet and weight monitoring services;

- childbirth~related classes including infant care; and

- instruction programs including those that teach a person now to use Durab|e iviedica| Equiprnent or
how to care for a family member.

"ihis exclusion does not apply to services for training or educating a l\iiernber when provided without
separate charge in connection with Covered Services or when specifically indicated as a Covered Sel'vice
in the i\/iedical Benefits Section (ior example nutritional counseling, diabetic education and teaching
doses for Self-Adrninistrable lnlectabie iv‘|edications).

Services and Supplies Provided by a Mernber of Your Farni|y
Services and supplies provided to You by a member ot Your immediate family For purposes of this
provision, "immediate fami|y" means:

- You and Your parents, parents' spouses or domestic partners, spouse, children, stepchildrenl siblings
and half~sibiings;

v Your spouse‘s parents, parents' spouses or domestic partners, siblings and hait-sipiings;

~ Your chiid's or stepchild’s spouse or domestic partner; and

» any other of Your relatives by biood, marriage or who shares a residence with You.

Services and Suppiies 'l'hat Are Not lliledica||y Necessary
Except for preventive care benefits provided in this Bool<|et, We do not cover services and supplies that
are not Nledicaliy Necessary tor the treatment ot an illness or lnjury.

Sexua| Dysfunction

Except for counseling services provided by covered, licensed Practitioners when |‘vlental l'lealth Services
are covered benefits in this Booklet, We do not cover services and supplies (including medications) for or
in connection with sexual dysfunction regardless of cause

Sexuai Reassignment Surgery

Third-Party Liabi|ity
Services and supplies for treatment of illness or injury for which a third-party is or may be responsible

Travel and Transportation Expenses
Travel and transportation expenses other than covered ambulance services provided in this Bool<let.

Vision Care
Routine eye exam and vision hardware

Visual therapy, training and eye exercises, vision orthoptics, surgical procedures to correct refractive
errors/ast§gmattsm, reversals or revisions of surgical procedures which alter the refractive character of the
eye.

Work-Related Conditions

Expenses for services and supplies incurred as a result cl any work-related injury or illness. including any
claims that are resolved related to a disputed claim settlement We may require the i\/lember to file a ciairn
for workers' compensation benefits peters providing any benefits under this coverage We do not cover
services and supplies received for work-related injuries or illnesses even if the service or supply is not

a covered workers' compensation benefit 'i'he only exception is if an Enroiled Emp|oyee is exernpt from
state or federal Worl<ers' compensation law.

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Contract and Ciaims Adminlstration

This section explains a variety of matters related to administering benefits and/or claims, including
situations that may arise when Your health care expenses are the responsibility of a source other than Us.

PREAUT|-tOR|ZATION

Contracted Providers may be required to obtain preauthorization from i.ls in advance for certain services
provided to You. You will not be penalized ii the contracted Provider does not obtain those approvals irorn
Us in advance and the service is determined to be not covered in this Bookiet. Non-contracted Providers
are not required to obtain preauthorization from Us in advance for services so You may be liable lor

costs it You elect to seek services from non-contracted Providers end those services are not considered
Medlcaliy Necessary and not covered in this Booi<let. You may request that a non-contracted Provider
preauthorize services on Your behalf to determine Medicai Necessity prior to the services being renderedl

CASE MANAGEMEN'¥'

Case management is a program designed to provide early detection and intervention in cases of serious
illness or injury that have the potential for continuing major or complex resource use. Case managers are
experienced licensed health care protessionais. They will provide information, support and guidance and
will work with Your Physicians or other health care professionals in supporting Your treatment plan and
proposing alternative benefiis.

Al_TERNATlVE BENEFI`¥'S

Alternative benefits means heneiits for services or supplies that are not otherwise covered under the
Contract, but lor which We may approve coverage after case management evaluation and analysis

We rrray cover alternative benefits through case management if We determine in Our sole discretion,
that alternative benefits are iviedically Necessary and will result in overall reduced covered costs and
improved quality of care Before coverage of alternative benefits and before the processing ot claims for
alternative benefits, We, You or Your legal representative and, if required by tis (in Our sole discretion),
Your Physician or other Provider must agree in writing to the specific terrns and conditions for payment
Aiternative benefits are approved on a case-specific basis oniy. The fact that We may cover alternative
benefits for You does not set any precedent tor coverage ot continued or additional alternative benefits for
You, or anyone else covered under the Contract.

MEMBER CARD

When You, the Enrolled Ernployee, enroll with Regence BlueShield of ldaho, You will receive a Niember
card. lt will include important information such as Your identification number, Your Group number and
`{our name

lt is important to keep Your i\iiember card with You at ali times. Be sure to present it to Your Provider
before receiving care.

lf You lose Your card, or ii it gets destroyed, You can get a new one by simply calling Our Customer
Service department at ‘l (877) 508-7359. You can also view or print an image ot Your l\/iember card by
visiting Our Web site at www.Regence.com on Your F’C or mobile device if coverage under the Contract
terminates, Your ivlember card Wiil no longer be valld.

SUBM|SS|ON OF CLAiMS AND RE|N|BURSEMENT

We have the sole right to decide whether to pay You, the Provider or You and the Provider jointly. We
may make benefit payments for a child covered by a legal qualified medical child support order (QMCSO)
directly to the custodial parent or legal guardian of such child.

C|aims tor the purchase of Durabie lViedica| Equipment will be submitted to the Blue plan in the locale in
which the equipment was received. Durable l\/iedicai Equfprnent is received where it is purchased at retail
or, if shipped, where the Durable lvieciical Equiprnent is shipped tot Piease refer to Your B|ue plan network
where supplies were received for coverage ot shipped Durabie iviedical Eduiprnent.

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Claims for independent clinical laboratory services will be submitted to the Blue plan in the locale in
which the specimen was drawn or otherwise acquired, regardless of where the examination o‘i the
specimen occurred Piease refer to Your B|ue plan network where the specimen was drawn for coverage
cl independent clinical laboratory services,

You will be responsible ior the total billed charges for benefits in excess ot Nla><imum Benehts, if any,
and for charges tor any other service or supply not covered under this plan, regardless of the Provider
rendering such service or supply.

Ca|endar ¥ear and Contract Year

The Deductible and Out-oi-Poct<et lVlaxirnum provisions are calculated on a Ca|endar Year basis. this
Contract is renewed, with or without changes. each Contract \{ear‘ A Contract Year is the t2~month period
following either the Contract’s original Eifective Date or subsequent renewal date. A Contract Year may

or may not be the same as a Calendar Year. When Your Contract renews on other than January l of

any year, any Deductlble or Out-of-Poci<et l\llaximurn amounts You satisfied before the date the Contract
renews will be carried over into the next Contract Year. if the Deductlble and/or Out~of-Pocl<et Niaximum
amount increases during the Caiendar Year, You will need to meet the new requirement minus any
amount You already satisfied under the previous Contract during that same Ca|endar Year.

Tlrnely Fiting of Claims

Written proof of loss must be received within one year after the date ot service lor which a claim is
made. if it can be shown that it was not reasonably possible to furnish such proof and that such proof
was furnished as soon as reasonably possible, failure to furnish proof within the time required will not
invalidate or reduce any ciairn. We will deny a claim that is not filed in a timely manner unless You can
reasonably demonstrate that the claim could not have been filed in a timely manner. You may, howeverl
Appeal the denial in accordance with the Appeal process to demonstrate that the claim could not have
been filed in a timely manner.

Freedom of Choice of Provider
l\lothing contained in this Booklet is designed to restrict You in selecting the Provider of \/our choice for
care or treatment of an illness or injury.

Category 1 and Category 2 C|aims

You must present Your l\llerrrber card when obtaining Covered Servioes from a preferred or participating
Provider. You must also furnish any additional information requested 'i'he Provider will furnish t.ls with the
forms and information We needle process Your claim.

Category 1 and Category 2 Reimbursement

We will pay a preferred or participating Provider directly ior Covered Services. These Providers have
agreed to accept the Allowed Amount as full compensation for Covered Services. Your share ot the
Allowed Amount is any amount You must pay due to Deductible andlor Coinsurance These Providers
may require You to pay Your share at the time You receive care or treatment

Category 3 C|aims
in order for Us to pay for Covered Servicesl You or the nonparticipating Provider must first send Us a
claim. Be sure the claim ls complete and includes the following information;

- an itemized description ct the services given and the charges for them;
- the date treatment was given;

~ the diagnosis; and

¢ the patient‘s name and the group and identification numbers.

lt the treatment is for an lnjury, include a statement explaining the date, timel place and circumstances of
the injury when You send Us the claim.

Category 3 Reimbursement
in most cases, We will pay You directly for Covered Services provided by a nonparticipating Provider.

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Nonparticipating Providers have not agreed to accept the Allowed Amount as full compensation for
Covered Services. So, You are responsible for paying any difference between the amount billed by

the nonparticipating Provider and the Atlowed Arnount in addition to any amount You must pay due to
Deductibie and/or Coinsurance. For nonparticipating Providers, the Allowed Amount may be based upon
the billed charges for some services, as determined by th or as otherwise required by law.

Reimbursernent Examples by Category

l~lere is an example of how Your selection of Category l, 2 or 3 affects Our payment to Providers and
Your cost sharing amount For purposes of this examp|e, |et's assume We pay 50 percent of the Aliowed
Arnount for Category 1 and 60 percent of the Allowed Arriount for Categories 2 and 3. l'he benefit table
from the Nledica| Benefits Section (or other benefits section) would appear as iollows:

 

Category: 1 Category: 2 Category: 3
Provider: Preferred Provider: Participating Provider: Nonparticipating

Payment: After lJeductible, We Payrnent: After Deductlble, We Payrnent: After Deductibie, We
pay 80% and You pay 20% of pay 60% and You pay 40% of pay 60% of the Allowed Arriount
the Allowed Amount. Your 20% the Allowed Arnount. Your 40% and You pay balance of billed
payment will be applied toward payment will be applied toward charges Your 40% payment

the Out»of-Pocl<et Nlaxirnurn. the Out-of-Pocl<et Nlaxlrnum. of the Aliowed Arnount will be
applied toward the Out-of-Pocl<et
l\/laximurn.

Now, let's assume that the Provider‘s charge for a service is $5,000 and the Allowed Amount for that
charge is $4,000 for Categories l, 2 and 3. i:ina|ly1 We will assume that You have met the Deductible and
that You have not rnet the Out~of-l=’ocl<et Maximum. l-lere's how that Covered Service would be paid:

 

 

 

 

 

 

 

- Category l: We would pay 80 percent of the Ailowed Amount and You would pay 20 percent of the
A|lowed Amount, as foilows:

- Amount preferred Provider must "write~off" (that is, cannot charge You for): $i,OOG
- Amount We pay (80% oi the $4,000 A|lowed Arnount): $3,200
~ Amount You pay {20% ofthe $4,000 A|lowed Amount): $800

- Totai: $5,000

~ Category 2: We would pay 60 percent cl the Allowed Amount and You would pay 40 percent of the
Al|owed Amount, as iollows:

- Amount participating Provider must "write~off*l (that is, cannot charge You for): $1,000

- Arnount We pay (60% of the $4,000 Allowed Amount): $2,400
- Arnount \’ou pay (40% oi the $4,{}00 A|lowed Amount): $1,600
- 'i'otal: $5,0(}0

~ Category 3: We would pay 60 percent of the Allowed Amount. Because the nonparticipating Provider
does not accept the Ailowed Amount, You would pay 40 percent of the Allowed Amount, plus the
$1,000 difference between the nonparticipating Provider's billed charges and the Allowed Arnount, as
follows:

- Arnount We pay (60% of the $4,000 Ailowed Amount): $2,400

- Arnount you pay (40% of the $4,0{)0 A|lowed Arnount and the $i ,iJl)O difference $2,60{}
between the billed charges and the Allowed Arnount):

- Total: $5,000

The actual benefits in this Bocl<let may vary, so please read the benefits sections thoroughly to determine
how Your benefits are paid. For example, as explained in the Definitions t':`»ectionl the Allowed Amount
may vary for a Covered Service depending upon Your seiected Provider.

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Ambu|ance Claims

When You or Your Provider forwards a claim for ambulance services to l.ls, lt must show where the
patient was plci<ed up and where he or she was tal<enr lt should also show the date of service, the
patient's name and the patient's group and identification numbers.

Prescription Medicatlon Clairns Subrnitted Electronically

You must present Your lVlember card at a Pharmacy for the claim to be submitted electronicaliy. You
must pay any required Deductible and/or Coinsurance at the time of purchase if a Nonpartlclpating
Pharmacy provides Your Prescripticn ll/|edicatlon and submits the claim electronically, We will pay
the l\ionpartlcipating l=’harrriacy directly Nonparticipating Pharmacies, however, may charge amounts
in excess of Covered Prescription lvledicatlon Expenses. if that happens, You will be responsible

for the excess amounts, as welles any Deductible and/or Coinsurance shown electronically to the
i\lonparticlpatlng Pharrnacy at the time of purchasel

Prescription Nledication Claims Not Subznitted Electronically

When a claire is not submitted eiectronica|ly, You must pay for the Prescription l‘vledication in full at the
time of purchase For reimbursement, simply complete a Prescription l\lledication claim form and mail the
form and receipt to Us. We will reimburse You based on the Covered Prescription l\rledication Expense,
less the applicable Deductlble and!or Coinsurance that would have been required had the medication
been purchased from and submitted electronically by a Participating Pharmacy. We will send payment
directly to You.

lt is best to use a Participating Pharmacy so Your claims can be submitted electronically, and so You
won*t have to pay the difference between the Pharrnacy‘s charges and the Covered Prescrlption
l\riedication Expense in addition to Your Deductibte and/or Coinsurancel

Prescription Meclicatlon lVlai|-Order

You can also use mail~orcler services to purchase covered Prescripticn Medications. l\/lail~order coverage
applies only when Prescription l\/iedications are purchased from a l\/laii~Order Suppller and the claim is
submitted electronically l'\lot all Prescriptlon l\/ledications are available from lVlail-Order Suppliers.

To buy Prescription i\/ledication through the mai|, simply send ali of the following items to a Maii~
Order Supplier at the address shown on the prescription rnail~order form available on Our Web site at
www.Regence.com or from Your Group (whlch also includes refill instructions):

- a completed prescription rnaii~order form;
- any Deductible and/or Coinsurance; and
- the original Prescription Order.

C|aims Deterrninations
Within 30 days of Our receipt cfa claim, We will notify You cline action We have taken on lt. However,
this 530-day period may be extended by an additional itt days in the following situations:

- When We cannot take action on the claim due to circumstances beyond Our controi, We will notify You
within the initial 30»day period that an extension is necessary. This notification includes an explanation
of why the extension is necessary and when We expect to act on the claim.

- When We cannot tal<e action on the claim due to lack of information, We will notify You within the initial
130-day period that the extension is necessary `i’his notification includes a specific description of the
additional information needed and an explanation of why it is needed.

We must allow You at least 45 days to provide tls with the additional information if We are seeking it from
You. lf We do not receive the requested information to process the claim within the time We have ailowed,
We will deny the ciaim.

OUT-OF-AREA SERV|CES

We have a variety of relationships with other Blue Cross and/or Blue Shield t_icensees referred to
generally as "|nter-Plan Prograrrrs." Wnenever You obtain health care services outside of Our service
area, the claims for these services may be processed through one of these inter-Plan Prograrns, which

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inciude the BlueCard Program and may include negotiated i\iational Account arrangements avaiiabie
between Us and other Blue Cross and Blue Shield Licensees.

Typlcally. when accessing care outside Our service area, You will obtain care trorn heaith care Providers
that have a contractuai agreement (i.e., are "particlpating Providers“) with the iocal Eiiue Cross and/or
Blue Shieid i_icensee in that other geographic area ("Host B|ue"). ln some instances, Vou may obtain care
frorn nonparticipating Providers. Our payment practices in both instances are described beiow.

B|ueCard Program

Under the BlueCard Prograrn, when You access Covered Services within the geographic area served by
a i-lost Blue, We wi|| rernain responsible for fulfilling Our contractual obiigations. However, the Host Blue is
responsible for contracting with and generaiiy handiing all interactions with its participating Providers.

Whenever You access Covered Services outside Our service area and the claim is processed through the
BiueCard Prograrn, the amount You pay for Covered Services is calculated based on the lower of:

» The bitted covered charges for Your Covered Services; or
- 'i'he negotiated price that the Host Blue makes avaiiai)le to Us.

Oiten, this *‘negotiated price*‘ will be a simpie discount that retiects an actual price that the Host Blue
pays to Your health care Provider. Sometimes, it is an estimated price that takes into account special
arrangements with Your health care Provider or Provider group that may include types of settlements,
incentive payments and/or other credits or charges. Occasionally, it may be an average price, based on
a discount that results in expected average savings for similar types of health care Providers after taking
into account the same types of transactions as with an estimated price.

Estirnated pricing and average pricing, going icrward, aiso take into account adiustments to correct for
over~ or underestimation of modifications of past pricing for the types of transaction modifications noted
above. i~iowever, such adjustments wlii not affect the price We use for Your claim because they witt not be
applied retroactively to claims already paid.

Federa| iaw or the laws in a small number ot states may require the Host Biue to add a surcharge to
Your caicuiatton. it federai law or any state laws mandate other liability calculation methods, including a
surcharge, We would then calculate Your liability for any Covered Services according to applicable iaw.

Negotiated Nationa| Account Arrangements
As an aiternative to the BlueCard Program, Your claims for Covered Services may be processed through
a negotiated National Account arrangement with a i-lost Blue.

The amount You pay for Covered Services under this arrangement wlii be calcuiated based on the lower
ot either hllied covered charges or negotiated price (refer to the description of negotiated price above)
made availabie to Us by the i-iost Blue.

Nonparticipattng Providers Outside Our Service Area

~ i\/iember Liabllity Calculation. When Covered Services are provided outside of Our service area by
nonparticipating Providers, the amount You pay for such services witt generaiiy be based on either
the Host Blue's nonparticipating Provider local payment or the pricing arrangements required toy
applicable state iaw. in these situations, You rnay be iiat)le for the difference between the amount that
the nonparticipating Provider biits and the payment We will make for the Covered Services as set forth
in this paragraph.

- Exceptions. ln certain situations, We may use other payment bases, such as billed covered charges,
the payment We wouid make if the health care services had been obtained within Our service area,
or a speciai negotiated payment as permitted under inter-Plan Programs Policles, to determine the
amount We wiii pay for services rendered by nonparticipating Providers. in these situations, You
rnay be iiai)le for the difference between the amount that the nonparticipating Provider biiis and the
payment We will make for the Covered Services as set forth in this paragraph

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BLUECARD WORLDW|DE®

We provide BiueCard Worldwide coverage tor You. With BlueCard Worldwide, You have more access to
inpatient and outpatient iiospital care and Physiclan services when You're traveling or living outside the
United States, as well as medical assistance and ciairns support services,

When You need health care outside ot the United States or its territories, foiiow these simple steps:

- Always carry Your current l‘\/lernber card.

- if You need emergency medical care outside the United States, go to the nearest l-lospitai.

- if You are admitted, call the BiueCard Worldwlde Service Center at l (BOO) BtO-BLUE (2583) or call
collect at t (804) 673-ti77.

~ For non~emergency medical care, Call the BlueCard Worldwide Service Center. The Service Center
wilt tacliitate hospitaiizatlon it necessary at a BiueCard Woridwide i-iospital or make an appointment
with a Physician. B|ueCard Woridwide Service Center staff are availabie to assist You 24 hours a day,
7 days a week.

- You wili only be responsible for out-of-pocket expenses such as any applicable Deductible,
copayment, Coinsurance and non-Covered Services for Your inpatient care. For outpatient, Hospital
care or Physician services, You wlii be responsible for paying the l-lospltai or Physician at the time ot
service and then must compiete an internationai claim term and send it to the BlueCard Woridwide
Service Center for reimbursement of Covered Services.

You can obtain an international ciairn form and find additional information ahout the BlueCard Woridwide
program at www.bcbs.com.

NONASS|GNMENT AND NONASSEGNN$ENT OF VOT|NG RiGHTS

On|y You are entitled to benefits under the Contract. These benefits are not assignable or transferable to
anyone eise and You (or a custodial parent or the state t\/iedicaid agency, if applicable) may not detegate,
in tuli or in part, benefits or payments to any person, corporation or entity. Any attempted assignment,
transfer or delegation of benefits will he considered null and void and will not be binding on Us. You may
not assign, transferor deiegate any right of representation or collection other than to legal counsel directiy
authorized by You on a case~by*case basis.

A Contract holder entitled to vote on any matter of corporation business may not assign or in any way
deiegate such voting right to any other person or entity, other than by a validly executed written proxy tiied
with Us in compliance with Our bylaws

CLA|iViS RECOVERY

lt We pay a benefit tc which You or Your Enrolled Dependent was not entitled or if We pay a person
who is not eligible for benefits at a|l, We have the right, at Our discretion, to recover the payment from
the person We paid or anyone else who benefited from it, inciudlng a Provider ot servicesl Our right to
recovery includes the right to deduct the mistakenly paid amount from future benefits We wouid provide
the Enrolied l‘:'rnpioyee or any of his or her Enroiied Dependents, even it the mistaken payment was not
made on that person‘s behaif.

We regularly work to identity and recover claims payments that should not have been made (for example,
claims that are the responsibility of another, duplicates, errors, 1fraudulent claimsl etc.). We will credit aii
amounts that We recover, less Our reasonable expenses for obtaining the recoveries, to Your Group's
experience or the experience of the pool under which You or Your Group is rated. Crediting reduces
claims expense and heips reduce future premium rate increasesl

This Claims Recovery provision in no way reduces Our right to reimbursement or subrogation Refer
to the other-party iiabiiity provision in the Contract and Claims Adminlstratlon Sectlon for additionai
informationl

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RIGHT TO RECE|VE AND RELEASE NECESSARV lNFORMA't'lON AND MED|CAL
RECORDS

lt is important to understand that Your personal health information may be requested or disclosed by Us.
This information will be used for the purpose of facilitating health care treatment, payment of ciaims or
business operations necessary to administer heaith care benefits; or as required by law.

The information requested or disclosed may be related to treatment or services received from:

- an insurance carrier or group health plan;

- any other institution providing care, treatmentl consultation pharmaceuticals or supplies;
- a ciinic, llospitall long-term care or other medicai tacllity; or

- a Physiclan, dentisl, Pharmacist or other physical or behavioral heaith care Practltioner.

i-ieaith information requested or disclosed by Us may include1 hut is not limited to:

- billing statements;
~ claim records;
correspondence;
- dental records;
- diagnostic imaging reports;
- Hospitai records (includlng nursing records and progress notes);
- laboratory reports; and
- medical recordsl

We are required by law tc protect Your personal health information, and must obtain prior written
authorization from You to release information not related to routine health insurance operations A Notice
of Privacy Practices is available by calling Our Customer Service department or visiting Our Web site
www.Regence.com.

You have the right to request, inspect and amend any records that We have that contain Your personai
health information. Piease contact Our Customer Service department to make this request

NOTE: this provision does not apply to information regarding H|VlAlDS, psychotherapy notesr
alcohol/drug services and genetic testing. A specific authorization wlll be obtained from You in
order for Us to receive information related to these health conditions.

L|MITAT|ONS ON LiABlLiTY

in all cases1 You have the exclusive right to choose a health care Provider. We are not responsible for
the quality of health care You receivel since all those who provide care do so as independent contractorsl
Since We do not provide any health care services, We cannot be held liable for any claim or damages
connected with injuries You suffer white receiving health services or supplies provided by professionals
who are neither Our employees nor agents.

|n addition, We will not be liable to any person or entity for the inability or failure to procure or provide the
benefits in this Booi<let by reason of epidemic, disaster or other cause or condition beyond Our control.

R|GHT OF REIMBURSEMENT AND SUBROGAT¥ON RECOVERY

We will not provide benefits under this coverage for any medical (or dental and vlsion, if appiicabie} or
Prescription i\/ledicatlon expenses You incur for treatment of an ln;'ury or illness if the costs associated
with the iniury or illness may be recoverable from any ot the following:

~ a third-party;

- workers‘ compensation; or

- any other source, including automobile medica|, personal injury protection (PlP), automobile no-fault,
homeowner's coverage, commercial premises medical coverage or similar contract or insurance, when
the contract or insurance is either issued to, or makes benefits available to You, whether or not You
make a claim under such coveragel

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Advancement of Benefits

if You have a potential right of recovery for illnesses or injuries trorn a third-party who may have legal
responsibility or from any other source, We may advance benefits pending the resolution ot a claim to the
right of recovery if ali the following conditions apply:

o

By accepting or claiming benefits, You agree that We are entitled to reimbursement oi the tull amount
of beneiits that We have paid out of any settlement or recovery from any source. This inciudes any
iudgment, settiement, disputed ciaim settlement, uninsured motorist payment or any other recovery
related tc the injury or iiiness ior which We have provided henetits.

in addition to Our right of reimbursement, We may choose, at Our discretion, instead to achieve Our
rights through subrogation We are authorized, but not obiigated, to recover any benefits We have paid
directiy from any party iiahie to You, upon mailing of a written notice to the potentiai payer, to You or to
Your representative

Our rights appiy without regard to the source of payment for medicai expenses, whether from the
proceeds of any settiernent, arbitration award or judgment or other characterization oi the recovery by
the iviember and/or any third-party or the recovery source. We are entitied to reimbursement from the
first dollars received from any recovery This appiies regardless ot whether:

- the third-party or third-party‘s insurer admits iiability;

- the health care expenses are itemized or expressly excluded in the recovery; or

- the recovery inciudes any amount (in whoie or in part) for services, supplies cr accommodations
covered in this Booi<|et.

We will not reduce Our reimbursement or subrogation due to Your not being made whoie, unless
applicabie state law requires otherwise Our right to reimbursement or subrogationl however, will not
exceed the amount of recovery

We may require You to sign and deliver ali legal papers and take any other actions requested to
secure Our rights (inciuding an assignment ot rights to pursue Your claim it Vou fail to pursue Your
oiaim of recovery from the third-party or other source). if We ask You to sign a trust agreement or
other document to reimburse Us irorn the proceeds of any recovery, You will be required to do so as a
condition to advancement of any benefitsl

You must agree that nothing wii| he done to prejudice Our rights and that ‘r'ou will cooperate fuiiy
With Us, including signing any documents within the required time and providing prompt notice

of any settlement or other recoveryl You must notify t_ls ot any tacts that rnay impact Our right to
reimbursement or subrogation, inciuding, but not necessariiy limited to, the foiiowing:

- the tiiing of a iawsuit;

» the making of a ciairn against any third-party;

~ scheduiing of settiement negotiations (inciuding, but not necessariiy iirnited to, a minimum ot 2i
days advance notice of the date, time, location and participants to be involved in any settternent
conferences or mediations); or

- intent of a third-party to make payment of any kind to Your benefit or on Your behalf and that
in any manner relates to the injury or iilness that gives rise to Our right of reimbursement or
subrogation (notification is required a minimum of five business days before the settiement).

You and/or Your agent or attorney must agree to i<eep segregated in its own account any recovery or
payment of any kind to Your benefit or on Your behalf that in any manner relates to the injury or illness
giving rise to Our right of reimbursement or subrogation, untii Our right is satisfied or released.

in the event You and/or Your agent or attorney iaiis to comply with any of these conditions, We may
recover any such benefits advanced for any iliness or injury through legal actionl

Any benefits We have provided or advanced are provided solely to assist You. By paying such
benefits, We are not acting as a volunteer and are not waiving any right to reimbursement or
subrogation

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Motor Vehicie Coverage

if ‘r’ou are involved in a motor vehicie accident, You may have rights both under motor vehicle insurance
coverage and against a third-party who may be responsibie for the accident in that case1 this Right of
Reimbursement and Subrogaiion Recovery provision still applies.

Workers' Compensation
i-|ere are some rules which apply in situations where a workers' compensation ciaim has been tiied:

- You must notify tis in writing within five days of any of the foiiowing!

- filing a ciaim;

- having the claim accepted cr rejected;

- appealing any decision;

- settiing or otherwise resoiving the ciaim; or
- any other change in status of Your ciaim.

- if the entity providing workers' compensation coverage denies Your ciairn and You have iiied an
Appeai, We may advance benefits for Covered Services if You agree to hoid any recovery obtained in
a segregated account for tis.

Fees and Expenses

We are not iiabie for any expenses or iees incurred by You in connection with obtaining a recoveryl
i-icwever, You may request that We pay a proportional share of attorney‘s fees and costs at the time ot
any settlement or recovery to otherwise reduce the required reimbursement amount to less than the fuii
amount of benefits paid by Us. We have discretion whether to grant such requests

Future Medicai Expenses

Benefits for otherwise Covered Services may i)e excluded when You have received a recovery from
another source relating to an lilness or injury for which We wouid normaiiy provide benefits i-iowever,
the amount of any Covered Services exciuded under this provision wlii not exceed the amount ci Your
recovery.

COORDZNA'Y|ON GF BENEF|TS
if You are covered under any other Pian (as defined beiow), the benefits in this Booitiet and those of the
other i>|an witt be coordinated in accordance with the provisions ot this section.

Coordination of Benefits Under an HSA P|an

This high deductible heaith plan was designed for use in coniunction with a health savings account (HSA),
but can he maintained without an i-lSA. i_aws strictly limit the types of other coverages that an i-lSA
participant may carry in addition to his or her high deductibie health pian. The benefits of maintaining

an i-iSA are jeopardized ii impermissible types of other coverages are maintained We will coordinate
benefits according to this coordination ct benefits provision, regardless of whether other coverage is
permissibie under i“~iSA iaw or not. it is Your responsibility to ensure that You do not maintain other
coverage that might jeopardize any i-iSA tax benefit that You plan to claim

Benefits Subject to this Provision
Aii of the benetits provided in this Bookiet are subject to this Coordination of Benefits provision.

Definitions
in addition to the definitions in the Definitions Section, the following are definitions that apply to this
Coordination of Benefits Section:

Ailoww_abi<s,iiwxgen§e means. with regard to services that are covered in fuii or part by this Book|et or any
other Plan(s) covering You, the amount on which that Plan would base its benefit payment for a service,
inciuding Coinsurance or copayments and without reduction for any applicable Deductible. in no event
shall benefits payable under the Contract and another Pian exceed the aiiowabie charges for such
benefits The following are exampies of expenses that are not an Aliowab|e Expense:

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- An expense or portion of an expense not covered by any ot Your involved Plans.

- “i“he ditference between the cost ct a private Hospitai room and the cost ot a semiprivate iiospitai
roorn, uniess Your stay in a private iiospitat room is l‘vtedicaity Necessary or one ot Your invoived
Pians provides coverage for private l-lospitai rooms.

- When this coverage restricts coordination ci benefits to certain types ot coverage or benefits, any
expenses for other types of coverage or benefits See the Benefits Subject to this Provision paragraph,
above, for restrictions on the types of coverage or benefits to which coordination applies

- Any amount by which a Prirnary Pian's benefits were reduced because You did not cornpiy with that
Pian‘s provisions regarding second surgical opinion or fatied to use a preferred Provider.

When a Pian provides benefits in the torrn of services, the reasonable cash value of each service
provided witt be considered both an Al|owable Expense and a bene§t paid.

Birthday, for purposes of these Coordination of Benefits provisions means only the day and month in a
Caiendar Year and does not include the year in which the Niember is born.

Closed Panei Plan means a Plan that provides health benefits to a ivlernber primariiy in the form of
services through a panet of providers that have contracted with or are employed by the P|an, and that
exciudes benefits for services provided by other providers, except in cases of emergency or referral by

a panel member. lt the Primary P|an is a Ciosed Panel Pian and the Secondary P|an is note Closed
Panel Plan, the Secondary P|an shali provide benefits as it it were the Primary Ptan when a l‘viember
uses a non-panel provider, except for emergency services or authorized referrals that are provided by the
Primary P|an.

Custodia| Parent means the parent awarded custody cfa child by a court decree. ln the absence of a
court decree, the parent with whom the chitcl resides more than one halt of the Catendar Year without
regard to any temporary visitation is the Custodiai Parent.

Group~Type Coverage is a coverage that is not available to the general public and can be obtained

and maintained only because of membership in or connection with a particular organization or group,
inciuding bianket coverage Group“'l`ype Coverage does not inciude an individually underwritten and
issued guaranteed renewable coverage, even if the coverage is purchased through payroll deduction at a
premium savings to the covered person.

Pian means any of the foiiowing with which this coverage coordinates benefits:

- Group and non-group insurance contracts and subscriber contracts;

- Uninsured group or Group-Type Coverage arrangements

» Group and non-group coverage through Ciosed Pane| P|ans;

- Group-'i'ype Coverage;

- Med§cai care components of long-terrn care coverage, such as skilled nursing care;

» Nledicare brother governmental benefits, except as provided below', and

- Nledicat benefits coverage in automobile "no fault" and traditional automobile "fau|t“ type contracts

Pian does not include:

- i'iospital indemnity coverage or other fixed indemnity coverage;

~ Schooi accident-type coverage that covers students tor accidents only, including athletic injuries, either
on a 24 hour basis or a "to and trorri school basis";

- Specitied disease or specified accident coverage;

- Accident only coverage;

- tong-tenn care insurance for non~rnedicai services (such as personal care, adult daycare, homemaker
servicesl assistance with activities of daily living, respite care and Custodial Care) or that pay a fixed
daily benefit without regard to actual expenses incurred or services;

~ i_irnited benefit health coverage (as denned in iDAPA 18.0f.30);

- Niedicare suppiernent coverage;

- A state pian under t\fledicaid; or

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- A governmentai pian that, by law, provides benefits that are excess to those of private insurance or
other nongovernmental coverage

another Plan and without taking the existence of that other Ptan into considerationl (This is also reterred
to as that Ptan being "primary“ to that other Pian.) There may be more than one Primary Plan. A P|an is a
Primary Plan with regard to another Plan in any of the following circumstances

~ The Plan either has no order of benefit determination provisionl or its rules differ frorn those permitted
under this provision; or

- Both Plans use the order of benefit determination provision inciuded herein and under that provision
the P|an determines its benefits tirst.

Secondary Plan means a P|an that is note Primary Pian. You may have more than one Secondary F’lan.
lt You are covered under more than one Secondary Pian, the order of benefit determination provision
decides the order in which Your Secondary i°lans‘ beneiits are determined in relation to each other.

Year, for purposes of this Cocrdination oi Benefits provision, means Caiendar Year (..ianuary ‘l through
Decernber 31 ).

Order of Benefit Determinatior\
'i'he order of benetit determination is identified by using the first of the foiiowing rules that applies:

Non~dependent Coverage: A Pian that covers You other than as a dependent witt be primary to a P|an
under which You are covered as a dependent (except where this order of benefits would cause a violation
of federal iaw concerning coordination Oi benefits with lvledicare).

Dependent Coverage: Un|ess there is a court decree stating otherwise, Plans that cover You as a child
shall determine the order of benefits as follows:

For a child whose parents are married or living together, whether or not they have ever been married'.

- The Plan that covers You as the dependent of Your parent whose Birthday occurs earlier in the Year
wiil be primary over a Pian that covers You as the dependent ct Your parent whose Birthday occurs
later in the Year.

- if both parents covering You as a dependent have the same Birthday, the Pian of the parent who
has been covered by his or her Plan longer shall be primary to the Plan of the parent who has been
covered by his or her Pian tor a shorter period

i:or a chin whose parents are divorced or separated or that are not iiving together, whether or not they
have ever been married:

- if a court decree specifies that one ot Your parents is responsibie for Your heaith care expenses or
health care coverage and that parent's Pian has actuai knowtedge of that term ot the decree, the
Pian of that parent is prirnary to the Pian of Your other parent. if the parent with responsibiiity has
no health care coverage for Your health care expenses, but that parent's spouse does, that parent's
spouse's Pian ts the Primary P|an. lt benefits have been paid or provided by a Plan before it has actuai
knowiedge of the term in the court decree, these rules do not apply until that Pian's next Contract Year.
~ if a court decree states that both parents are responsibie for Your health care expenses or heaith
care coverage, or a court decree states that the parents have joint custody without specifying that one
parent has responsibility for Your heaith care expenses or health care coverage:

~ 'i`he Pian that covers You as the dependent of Your parent whose Birthday occurs earlier in the
Year will be primary over a Pian that covers You as the dependent of Your parent whose Birthday
occurs later in the Year.

- if both parents covering You as a dependent have the sarne Birthday, the Plan ot the parent who
has been covered by his or her Plan longer shall be primary to the Plan of the parent who has
been covered by his or her P|an for a shorter period

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- if there is no court decree ai|ocating responsibility for Your heaith care expenses or heaith care
coverage:

~ 'i'he Ptan covering the custodiai parent shall be primary to the Plan covering Your custodial
parent's spouse;

- “i`he Pian ot Your custodial parent's spouse shall be primary to the Pian covering Your
noncostodiai parent; and then

- 'i'he Plan covering Your noncustodiai parent shall be primary to the Plan of Your noncustodial
parent's spouse.

For a child covered under rnore than one Pian of individuals who are not the parents of the chitd, the
order of benefit determination shail he determined as per the provisions set forth above as if those
individuals were parents ot the chiid.

Activeiretired or laid-off empioyees: A Pian that covers You as an active empioyee (or as that
empioyee's dependent) is prirnary to a Pian under which You are covered as a retired or iaid oft employee
(or as the dependent cfa retired or iaid ott employee). if the other Plan does not have this rate and tf, as a
result, the Pians dc not agree on the order of benefits, this rule will not apply.

Continuation coverage: A Pian which covers You as an employee or retired empioyee, or as an
employee‘s or retired employee‘s dependent, will be primary over a P|an that is providing continuation
coverage (pnrsoant to COBRA or under a right of continuation under state or other federai law). if the
other P|an does not have this role and if, as a resu|t, the Pians do not agree on the order of benefits, this
roie wilt not apply. 'ihis paragraph does not appty if an order of benefit determination can be made under
the non-dependent coverage paragraph above.

Longerlshorter length of coverage: When none of the paragraphs above establishes an order of
benefit determination, the benefits of the P|an that has covered You for the ionger period of tirne wili

be determined before the benehts of the Pian that has covered You for the shorter period of time. To
determine the length of time You have been covered under a Pian, two Pians wiil be treated as one if
You were eiigib|e under the second within 24 hours after the first ended. The start of a new Pian does not
inciude:

- a change in the amount or scope of a Plan's beneiits;

» a change in the entity that pays, provides or administers the Pian‘s benefits; or

» a change from one type of Plan to another (such as from a singie-errrpioyer plan to a rnuitiple
emptoyer plan).

Your length of time covered under a Plan is measured from Your tirst date ot coverage under that Plan. if

that date is not readily available tor a group Plan, the date Vou iirst became a member of the group will be
used as the date from which to determine the length of time coverage under the present Pian has been in
force.

li an order of benefit determination is not identified by the preceding rules, the Plans shaii share equally in
the Aiiowable Expenses.

Each of the P|ans under which You are oovered, and each of the benefits within the P|an, will be
considered separately in administering this Coordination ot Benetits provision

Primary i-ieatth P|an Benefits
When, in accordance with the order of benefit determination, this coverage is the Primary Ptan, We Wiii
pay the benefits in this Booi<|et as if no other Pian exists.

Secondary Health P|an Benefits
li, in accordance With the order of benefit determination, one or more Flans are primary to this coverage,
the benefits in this Boo|<|et will be calcuiated as follows:

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We wili calculate the benefits that We would have paid tor a service if this coverage were the Primary
Plan. We Wiil cornpare the Ai|owat)ie Expense in this Booi<iet for that service to the Aiiowabte Expense for
it under the other Plan(s) by which You are covered We wlii pay the iesser of:

- the unpaid charges tor the service, up to the higher (highest) Ailowable Expenses arnong the invoived
Pians, and

- the benefits that We would have paid for the service if this coverage were the Prirriary P|an,

Deduotibies, Coinsurance and copayments in this Bool<iet wiii be used in the calcuiation of the benefits
that We wouid have paid it this were the Prirriary Pian, but they will not be applied to the unpaid charges
You owe after the Primary P|an's payment Our payment therefore will he reduced so that it, when
combined with the Primary Plan's payment does not exceed the higher (highest) A|iowabie Expense
among the involved Plans and We wiil credit toward any Deductibte in this Bool<iet any amount that wouid
have been credited to Deductibie if this coverage had been the only Pian.

if this coverage is the Secondary l-leaith Pian according to the order of benefit determination and any
other Pian(s) ciaim to be "aiways secondary" cruse order of benefit determination ruies inconsistent with
those in this Booi<let, We will pay benefits first, but the amount paid witt be calculated as if this coverage
is a Secondary i-iea|th Pian. if the other P|an(s) do not provide t.is with the information necessary tcr Us
to determine Our appropriate secondary benetits payment within a reasonahie time after Our reguest, We
shall assume their benefits are identical to Ours and pay benefits accordingly, subject to adjustment upon
receipt of the information requested from the other Plan(s) within two years of Our payment

Nothing contained in this Coordination of Benefits provision requires Us to pay for all or part of any
service that is not covered under this coverage Further, in no event wiil this Ccordination of Benet"rts
provision operate to increase Our payment over what We would have paid in the absence of this
Coordination of Benefits provision.

Right to Receive and Re|ease Needed information

Certain facts are needed to apply coordination of benetits provisions We have the right to decide which
facts We need. We rnay get needed facts froml or give them to, any other organization or person as
permitted by law, and need not teii or get the consent oi any person to do this. You wiii promptiy furnish

to Us any intorrnation necessary or appropriate to administer this Coordination of Benefits provision
Receipt of such information by Us wilt be a condition precedent to Our obiigation to provide benefits in this
Booi<|et.

Facility of Payment

Any payment rnade under any other Pian(s) may include an amount that should have been paid under
this coverage lt so, We may pay that amount to the organization that made the payment. That amount
will then he treated as though it were a beneiit paid under this coveragel We witt not have to pay that
amount again. The terre "payrnent rnade" inciudes providing benefits in the form of services, in which
case payment made means reasonabie cash value of the benefits provided in the form ot services,

Right of Recovery

if We provide benefits to or on behalf ct You in excess of the amount that would have been payable in this
Booi<let by reason of Your coverage under any other Pian(S}. We will be entitled to recover frorn You, Your
assignee or beneficiary, or irom the other Plan(s) upon request

A Secondary Plan that provides benefits in the form ot services rnay recover the reasonable cash value of
the services from the Prirnary Plan to the extent that benefits for the services are covered by the Primary
i»'»‘lan and have not already been paid or provided by lt.

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Appea| Process

if You or Your Representative (any Representative authorized by You} has a concern regarding a ciairn
deniai or other action by Us under the Contract and wishes to have it reviewed, You may Appeal. There
are two levels of Appeal, as weli as additional voiuntary Appeai levels You rnay pursue Certain matters
requiring quicker consideration may quality for a ievei ot expedited Appeai and are described separately
iater in this section.

APPEALS

Appeais can be initiated through either written or verbai request A written request can be made by
sending it to tie at: Appeais Coordinatorl Regence BlueShieid of idaho, P.O. Box 4208, i°oniand, OR
97208-4208 or facsimile t (888) 496-1542. Verbai requests can be made by calling tie at t (877)
508~7359.

Each ievei of Appeai. including expedited Appeais, must be pursued within 180 days of Your receipt of
Our determination (or, in the case of the first ievei, within ’iBO days of Your receipt of Our original adverse
decision that You are Appealing). if You don't Appeal within this time period, You witt not be able to
continue to pursue the Appeat process and may jeopardize Your ability to pursue the matter in any forum.
When We receive an Appeai request We will send a written acknowiedgement.

if You or Your treating Provider determines that Your heaith could be jeopardized by waiting for a decision
under the regular Appeai process, You or Your treating Provider may specitically request an expedited
Appeai. Piease see Expedited Appeais later in this section for more information

First-Levei Appeais

First-ievel Appeals are reviewed by an empioyee or employees who were not involved in the initial
decision that You are Appeaiing. in Appeais that involve issues requiring medicai judgment the decision
is made by Our staff of heaith care prcfessionais. For Post~Service Appea|s, a written notice of the
decision wiii be sent within 30 days of receipt of the Appeal. For Appea|s invoiving a l'-"re~Service
preauthorization of a procedure, We will send a written notice of the decision within 14 days of receipt of
the Appeai. For i:'ost-Service Appeals involving a service or supply determined to be |nvestigationai, We
wiii send a written notice of the decision within 20 working days of receipt ot the Appeal.

Panel-Levei (Second-Level) Appeais

Second-ievel Appeals are reviewed by a panei, the members ot which were not involved in, or
subordinate to anyone invoived in, the previous decisions You or Your Representative, on Your behaif,
will be given a reasonable opportunity to provide written materiais, inciuding written testimony on Your
benait. For ?ost~Service Appeais, a written notice of the decision will he sent within 30 days ot receipt

ot the Appeai. For Appeais involving a Pre-Service preauthorization of a procedure, We will send a
written notice ot the decision within 14 days ot receipt of the Appea|. For Post-Service Appeals invoiving a
service or supply determined to be investigationa|. We will send a written notice of the decision within 20
working days of receipt of the Appeai.

VO§_UN'¥`ARY EXTERNAL APPEAL - |RG

For information regarding a \/oiuntary External Appea|1 refer to the Vour Right To An independent External
Review - i\iotice provision beiow.

EXPED|TED APPEALS
An expedited Appeal is available if one ot the 1following applies:

- the appiication ot reguiar Appeai time frames on a Pre~Service or concurrent care claim either:

w couid ieopardize Your iite, health or ability to regain maximum function; or
- according to a Provider with knowledge of Your medicai condition, would subject You to severe
pain that cannot be adeguateiy managed without the disputed care or treatment or

- the treatment would be significantly less effective if not promptly initiated

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Panei~Levei (First-¥..evei) Expedited Appea|

The first~ievei expedited Appeal request should state the need ior a decision on an expedited basis

and must include documentation necessary for the Appeal decision. First-leve| expedited Appeais are
reviewed by a panei, the members ci which were not invoived in, or subordinate to anyone involved in,
the initiai denial determination You or Your Representative, on Your hehalf, will be given the opportunity
(within the constraints of the expedited Appeais timeframe) to provide written materia|s, inciuding written
testimony on Your behaif. Veri)ai notice of the decision will be provided to You and Your Representative
as soon as possible after the declsion. but no later than 72 hours ct receipt of the Appeal. This will be
foiiowed by written notification within three working days of the verbal notice. _ t

Vo|untary Expedited Appeai - iRO
For information regarding a voluntary expedited Externai Appeal, refer to the Your Right 'i'o An
independent Externai Review - Notice provision beiow.

YOUR RiGHT TO AN lNDEPENDEN'¥' EX`¥`ERNAL REVIEW - NOT|CE

Piease read this notice carefuiiy. it describes a procedure for review of a disputed heaith ciaim by a
qualified professionai who has no affiliation with Us. if You request an independent external review of Your
claim, the decision made by the independent reviewer will be binding and finai on Us. You will have the
right to iurther review of Your claim by a court, arbitrator, mediator or other dispute resolution entity, oniy

it Your plan is sub§ect to ER|SA, as rnore fully explained under the Binding i\iature of the External Review
Decision provision beiow.

if We issue a final adverse benefit determination ot Your request to provide or pay tor a heaith care
service or supply that is a Covered Service in this Booklet, You may have the right to have Our decision
reviewed by heaith care professionals who have no association with Us. You have this right only if Our
denial decision invoived:

- the I\/iedicai Necessity, appropriateness health care setting, ievel of care cr effectiveness cf Your
health care service or supply; or
- Our determination that Your heaith care service or supply was investigationa|.

You must first exhaust Our internal grievance and Appeal process Exhaustion ot that process includes
compieting all levels of Appeal, or unless You requested or agreed to a deiay, Our faiiure to respond to

a standard Appeal within 35 days in writing or to an urgent Appeal within three working days of the date
You filed Your Appeal. We may aiso agree to waive the exhaustion requirement for an externai review
request You may fiie for a panel-level expedited Appeal with Us and for an expedited external review with
the idaho Department of insurance at the same time if Your request qualifies as an urgent care request
as defined under the Expedited Externai Review Request provision beiow.

No iater than four months from the date We issue a final notice of deniai, You may submit a written
request for an external review to: idaho Departrnent of insurance, ATTN'. Externa| Review, 700 W State
Street, 3rd Floor, Boiser idaho 83720-0043. For more information and foran externai review request form
see the departments Web site at www.doi.idaho.gov or cali the departments telephone number at 1
(208) 334~4250 or toli-free in idaho at 1 (800) 721-3272.

You may represent Yourself in Your request or You may name another person, inciuding Your treating
health care Provider. to act as Your authorized representative for Your request ii You want someone else
to represent You, You must include a signed "Appointment of an Authorized Representative" form with
Your request

Your written external review request to the Departrnent of insurance must include a completed form
authorizing the release of any ot Your medical records the independent Review Organization (lRO) may
require to reach a decision on the external review, including any judicial review of the external review
decision pursuant to ERlSA. if applicable The department will not act on an external review request
without Your completed authorization form.

if Your request qualities for external review, Our final adverse benefit determination will be reviewed by an
iRO selected by the department We will pay the costs of the review.

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Standard Externai Review Request

You must tiie Your written external review request with the Department of insurance within four months
after the date We issue a final notice oi denial.

¢ Within seven days after the department receives Your request, the department wiil send a copy to Us.

‘ Within 14 days after We receive Your request from the department We will review Your request
for etigibi|ity. Within five working days after We complete that review, We wlii notify You and the
department in writing whether Your request is eligible or what additionai information is needed. if We
deny Your eligibility for review, You may Appeal that determination to the department

- lt Your request is eligible ior review, the department will assign an iRO to Your review within seven
days of the receipt ot Our notice. "i“he department will also notify You in writing.

- Withln seven days of the date You receive the departments notice of assignment to an iRO, You may
submit any additional information in writing to the lRO that You want the iRO to consider in its review.

- 'i'he iRO must provide written notice ot its decision to You, to t,is and to the department within 42
days after receipt of an external review request Upon receipt of a notice reversing the final adverse
benefit cit=,~terminationl We ehaii approve as soon as reasonably practicable, but no iater than one
working day after receipt of the decision, the coverage that was the subject of the final adverse benefit
determination

Expedited Exterr\ai Review Request

You may fite a written urgent care request with the Departrnent of insurance for an expedited external
review of a Pre-Service or concurrent service denial You may tiie for a panei~levei expedited Appeai with
Us and foran expedited externai review request with the department at the same time.

By *‘urgent care request," We niean a claim rotating to an adrnission, availability of care, continued stay
or health care service for which You received emergency services but have not been discharged from a
facility, or any Pre~Service or concurrent care ciair'n tor medical care or treatment for which application of
the tirne periods for rnat<lng a regular external review determination:

- could seriously jeopardize Your life or heaith or ability to regain maxirnurn function;

' in the opinion of the treating health care protessicnai with knowledge of Your medical condition, would
subiect You to severe pain that cannot be adequately managed without the disputed care or treatment
or

- the treatment would he significantly less effective if not promptly initiated

The department will send Your expedited external review request to Us. We will determine, no later
than the second fuii wori<ing day, whether Your request is eiigii)ie for review. We wlii notify You and the
department no later than one working day after Our decision if Your request is eligible if We deny Your
eligibility ior review, You rnay Appeai that determination to the department

if Your request is eiigib|e ior review, the department will assign an iRO to Your review upon receipt of Our
notice. The department will aiso notify You. The iRO rriust provide notice of its decision to You, to its and
to the department within 72 hours etter the date of receipt ot the external review request 'i'he iRO must
provide written confirmation oi its decision within 48 hours of notice of its decision if the decision reverses
Our deniai, We witt notify You and the department of Our intent to pay the Covered Service as soon as
reasonably practicabie, but not later than one working day after receiving notice ot the decision.

Binding Nature Of The Externai Review Decision

The Contract is subject to tederai ERiSA laws (generaiiy, any plan offered through an empioyer to its
employees). the external review decision by the lRO wiil be final and binding on Us, put You may have
additional review rights provided under federai ERiSA iaws.

Under idaho law, the iRO is immune from any legai action against lt based upon the opinion rendered
by the iRO or acts or omissions performed within the scope ot its duties unless performed in bad faith or
involving gross negligence

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|NFORN|AT|ON

if You have any questions about the Appeal Process outttned here, You may contact Our Custorner
Service department at t (877) 508-7359 or You can write to Our Custorner Service department at the
following address: Regence BiueSnield ot idahor P.O. Box 31603, Salt Lake City, UT 8413(}~0603.

DEF|N|T|ONS SPEC|F|C ’¥'0 Tl-§E APPEAL PROCESS
Appeat means a written or verbal request frorn a Member or, if authorized by the |Vlember, the Nlember‘s
Representattve, to change a previous decision made by tts concerning:

- access to heaith care benefitsl including an adverse determination made pursuant to utilization
management
claims payment, handiing or reimbursement for heaith care services;

» matters pertaining to the contractual relationship between a N|ernber and Us;

~ rescission of Your benefit coverage by Us; and

1 other matters as specifically required by state law or regulation

internal Appeai means an Appea| for wnich You may have the right to have Our final adverse benefit
determination reviewed by health care professionals wno have no association with Us. You have this right
onty if Our denial of Your request to provide or pay for a heaith care service or suppiy invoived:

» the Medicai Necesstty, appropriateness heaith care setting, ievel cf care, cr effectiveness of Your
health care service cr suppty; or
- Our determination that Your health care service or supply was investigationai.

independent Review Ordanization (|RO) is an independent Pnysictan review organization which acts as
the decision-maker for votuntary external Appeats and voluntary external expedited Appeals, through
an independent contractor relationship with Us and/or through assignment to t_is via state regulatory
requirements The ERO is unbiased and is not controlled by Us.

Post~Service rneans any ciaim for benefits in this Booklet that is not considered Pre-Servtce.

Pre-Service means any claim for benefits in this Bool<tet which We must approve in advance, in whote or
in part, in order for a benefit to be paid.

Representative rneans someone who represents You for the purpose of the Appeal. The Representative
rnay be Your personai Representative or a treating Provider. tt may aiso be another party, such as

a family member, as tong as You or Your legai guardian authorize tn writing, disciosure of personal
information for the purpose of the Appeai. No authorization is required frorn the parent(s) or legal
guardian of a i\/lember who ts an unmarried and dependent child and is tess than t3 years oic|.

For expedited Appeats oniy, a health care professional with knowiedge of Your medicai condition

is recognized as Your Representattve. Even if You have previously designated a person as Your
Representatlve for a previous matter, an authorization designating that person as Your Representatlve in
a new rnatter will be required (but redesignation is not required for each Appeal leve|). if no authorization
exists and is not received in the course of the Appea|, the determination and any personat information witt
be disciosect to You, Your personal Representative or treating Provider only.

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Who ls Eligibie, How to Enroti and When Coverage Begins

This section explains how to enroii Yourself and/cr Your eligibie dependents when first eligibie, during a
period of special enrollment or during an annual enrollment period it aiso describes when coverage under
the Contract begins for You and/or Your eiigib|e dependents Of course, payment of any corresponding
monthiy premiums is required for coverage to begin on the indicated dates

|N|TIALL¥ ELEG|BLE, WHEN COVERAGE BEG|NS
You witt be entitled to enroti in coverage for Yourse|f and Your eiigii)ie dependents within 30 days of Your
first becoming eilgib|e for coverage under the etigibiiity requirements in effect with the Group and as

stated in the following paragraphs Coverage for You and Your enrolling eligible dependents wlii begin on
the Effective Date.

Except as described under the special enroiirnent provision, if You and/or Your eligible dependents do not
enroll for coverage under the Pian when first e§igibte or You do not enroii in a timely manner, You and/or
Your eligible dependents must wait until the next annuai enrollment period to enroii.

Ernployees
You become eligible to enroii in coverage on the date You have worked for the Group long enough to
satisfy any required probationary period

Dependents

Your Enroited Dependents are eiigibie for coverage when You have iisted them on the enroiiment form
or on subsequent change forms and when We have enrolled them in coverage under the Contract
Dependents are limited to the foi|owing:

- 'i'he person to whom Vou are iegaiiy married {spcuse).
- Your (or Your spouse's) child who is under age 26 and who meets any cf the foitowing criteria:

- Your (or Your spouse‘s) naturai chiid, step chi|d, adopted chiid or chiid iega|iy P[aced with You (or
Your spouse) for adoption;

- a child for whom You (or Your spouse) have court»appointed iega| guardianship; and

- a child for whom You (or Your spouse) are required to provide coverage by a iega| quatified
medicai chiid support order (QN|CSO).

~ Your (or Your spouse's) otherwise etigible chiid who is age 26 or over and incapabie of seif-support
because of intellectual disabiilty or physicat handicap that began before his or her 26th birthday, if
You complete and submit Our affidavit of dependent eligibility iorrn, with written evidence of the chiid's
incapacityl within 31 days of the iater of the child's 26th birthday or Your Effect'rve Date and either:

- he or she is an enroiied child immediately before his or her 26th birthday; or
- his or her 26th birthday preceded Your Efiective Date and he or she has been continuously
covered as Your dependent on group coverage since that birthdayl

Our affidavit of dependent eligibility form is avaiiaple by visiting Our Web site at www.Regence.com or by
caiiing Our Custorner Service department at ‘l (877) 508-7359.

NEWLY EL|G|BLE DEPENDENTS

You may enroll a dependent who becomes eligible for coverage after Your Effective Date by compieting
and submitting an enrollment request to Us. A i\iewborn Chiid's enrollment will be effective from the
moment of birth if a compieted enrollment form is received within 60 days toilowlng the date of birth and
the appropriate premium (if any) is received by Us within 31 days of the date the rnonthiy premium invoice
is received by the Group and a notice of premium (it any) is provided to You by the Group. Enroliment for
a Newiy Adopted Chi|d wlii be effective from P|acement with the l`£nroiled Empioyee for 60 days, but will
continue frorn then on only if a cornpSeted enrolirnent forrn is received within 60 days following P|acement
with the Enroiied Employee and the appropriate premium (if any) is received by Us within 31 days of the

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date the monthiy premium invoice is received by the Group and a notice of premium (if any) is provided to
You by the Group.

NOTE: Due to the nature of this high deductibte health pian, adding dependents after January t ofany
year rnay change Your coverage from Singie Coverage to Farnily Coverage, and may change the amount
of Deductible and Out-of-Pocl<et l\/laximum that applies to Your coverage.

SPEC|At. ENROLLMENT

There are certain situations when You may enroii Yourseif andior Your eilglble dependents, even though
You didn't do so when first eiigibie, and You do not have to wait for an annual enroiirnent period.

i\iote that ioss of eligibility does not include a loss because You failed to timely pay Your portion of the
premium or when termination of coverage was because of fraud. it also doesn‘t include Your decision to
terminate coverage, though it may include Your decision to take another action (for exampie. terminating
empioyment) that results in a ross of eligibility

if You are already enroiled or it You declined coverage when first eiigibie and subsequently have one

of the foiiowing qualifying events, You (un|ess already enrotied), Your spouse and any eligible children
are eligible to enroll for coverage under the Contract within 30 days from the date of the quaiifying event
(except that where the qualifying event is invoiuntary loss of coverage under l\riedicaid or the Children‘s
t-ieaith insurance Prograrn (CHEP), You have 60 days from the date of the qualifying event to enro||):

- You and/orYour eligible dependents lose coverage under another group or individual heaith benefit
plan due to one of the foitowing:

- an empioyer‘s premium contributions to that other plan are terminated;

- exhaustion of federai COBRA or any state continuation; or

- loss of eligibility, for instance, due to iegai separation, divorce, death, termination of employment
or reduction in hours.

- You invoiuntariiy tose coverage under t\f|edicare, CHAMPUS!Tricare, indian Heatth Service or a
publiciy sponsored or subsidized heaith plan (other than the Chiidren‘s i-leaith insurance Program
(CH|P), see below).

- You lose coverage under ivledicaid or the Chiidren's tieatth insurance Prograrn (CHiP).

For the above qualifying events, if enrollment is requested as specified, coverage witt be effective on the
day after the prior coverage ended.

if You are aiready enrotled or if You destined coverage when first eiigibie and subsequently have one of
the foliowing qualifying events, You (uniess already enrolled), Your spouse and any eiigible children are
ellgibie to enroll for coverage under the Contract within 60 days from the date of the qualifying event:

- You marry;

- You acquire a new child by birth, adoption or Placement for adoption; or

~ You and/or ‘(our dependent(s) become eiigib|e for premium assistance under ivledicaid or the
Chi|dren's Health insurance Prograrn (CHEP).

For the above qualifying events, if enro|iment is requested as specified coverage wilt be effective on

the first of the calendar month following the date of the quaiifying event, except that where the qualifying
event is a chitd's birth, adoption or Placernent for adoption, coverage is effective from the date of the birth,
adoption or Placernent.

ANNUAL ENROLLNtENT PER|OD

'i'he annual enroi[rnent period is the period of time before the Group's Renewai Date and is the only
time, other than initial eligibility or a special enroiiment period, during which You and/or Your eligible
dependents may enroii. You must submit an enrollment form on behaif of atl individuals You Want
enrolied. Coverage for You and Your enroliing eligible dependents witt begin on the Effective Date.

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DOCUMENTAT|ON Ot'~` EL|G|BiL|`¥“Y
You must promptiy furnish or cause to be furnished to t.is any information necessary and appropriate to
determine the eligibility of a dependentl We must receive such information before enrolling a person as a

dependent under the Contract.

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When Group Coverage Ends

`i`his section describes the situations when coverage will end for You and/or Your Enroiied Dependents.
You must notify Us within 30 days ct the date on which an Enro|led Dependent is no longer aiigibie ior
coverage

No person will have a right to receive any benefits in this Booi<let after the date coverage is terminated
Termination of Your or Your Enro|led Dependent‘s coverage under the Contract for any reason wlii
comptetely end ali Our obligations to provide You or Your Enro|led Dependent benefits for Covered
Services received after the date of termination. This appiies whether or not You or Your Enrolied
Dependent is then receiving treatment or is in need of treatment for any ii|ness or injury incurred or
treated before or whiie the Contract was in effect

CONTRACT TERM|NAT|ON

if the Contract is terminated or not renewed by the Group or Us, coverage ends for You and Your Enroiled
Dependents on the date tire Contract is terminated or not renewedl

WHAT HAPPENS WHEN YOU ARE NO LONGER ELiG|BLE

if You are no longer eligibie as explained in the following paragraphs Your and Your Enroiled
Dependents' coverage ends on the test day of the monthly period in which Your eligibility ends. iiowever,
it may be possible for You and/or Your Enroiied Dependents to continue coverage under the Contract
according to the continuation of coverage provisions of this Booi<|et.

TERM¥NAT|ON OF YOUR EMPLOYMENT OR YOt.f ARE OTHERWESE NO LONGER
Et.|GiBLE

li You are no ionger eligible due to termination of employment or You are otherwise no ionger eiigibie
according to the terms of the Contract, Your coverage wii| end for You and all Enrclled Dependents on the
last day ot the monthly period in Whicti eligibility ends.

NONPAYMENT OF PREM|UM
if You fail to make required timeiy premium contributions, Your coverage will end for You and aff Enroiled
Dependents.

FAM|LY AND MED|CAL LEAVE

if Your Group grants You a ieave of absence under the Farniiy and Medical i.eave Act of 1993 (Public Law
103»3, "FML.A") the to|iowing ruies will app|y. 'i'he Act is generaiiy applicable to private employers of 50 or
more employees and pubiic employers of any size. You wili be entitied to continued coverage under this
provision only to the extent You are eligibie for leave under the terms of the FMLA:

- You and Your Enro||ed Dependents will remain eligibie to be enrot|ed under the Contract during the
FlViLA teave for a period of up to 12 weeks during a t2~rnonth period for one of the foiiowing:

» in order to care for Your newly horn child;

» in order to care for Your spouse, child or parent, it such spouse, child or parent has a serious
heaith condition;

- the Placement of a child With You for adoption or foster care; or

- You suffer a serious physicai or Nlental l-lealtn Conditior\.

During the Fl\/ii_A leave, You rnust continue to pay the monthiy premium through the Group on time. The
provisions described here will not be availabie it the Contract terminates

li You and/or Your Enro|led Dependents elect not to remain enrotled during the f~'ivli.A leave, You (and/or
Your Enroiied Dependents) witt be eiigibie to be reenroiied under the Contract on the date You return from
the FMLA ieave. in order to reenroi| after You return from a Fi\)li_A leave, You rnust sign a new enrollment
form just as if You were a newly eiigibie employee in this situationl if You reenroll Witlnin the required
time, atl cf the terms and conditions of the Contract will resume at the tirne of reenro|lment as if there

had been no lapse in coverage You (andlor Your Ehroiied Dependents) wiil receive credit for any waiting

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period served before the FlVit.A leave and You witt not have to re-serve any probationary period under
the Contract, although You and/or Your Enro||ed Dependents wili receive no waiting period credits for the
period cf noncoverage.

Persons entitied to coverage under this provision will not be entitled to any other extension of benefits
described in this section for the same situation that entities them to coverage under this provision.
Entitlement to FlviLA leave does not constitute a qualifying event for the purpose of COBRA continuation
l'iowever, a person who does not return to active employment following Fi\/li,/»\ leave may be entitled to
COBRA continuation coverage 'ihe duration of that COBRA continuation wiii be caiculated 1irom the date
the person fails to return from the FMt.A leave.

The provisions and administration described here are based on the requirements of the Famiiy and
ivledical l_eave Act of 1993, as amended, and will be governed by the Fivit.A law and any subsequent
amendments and regulations if any coniiicts arise between the provisions described here and Fivil.A.
the minimum requirements of Flyil.A will govern. 'i'his leave provision is available only to groups that are
required by law to comp|y. The Group must keep Us advised regarding the eligibility for coverage of any
employee who may be entitied to the benefits extended by FMLA.

LEAVE OF ABSENCE

if You are granted a non»FlviLA temporary leave of absence by Your Group, You can continue coverage
for up to three months Premiums must he paid through the Group in order to maintain coverage during a
leave of absencel

A ieave of absence is a period off work granted by Your employer at Your request during which You are
still considered to be employed and are carried on the empioyrnent records of the Group. A leave can be
granted for any reason acceptable to the Group. if You are on leave for an FMLA-dua|ifying reason, You
remain eligible under the Contract only for a period equivaient to FMLA leave and may not also continue
coverage under a non-FMLA leave.

if You and/or Your Enroiied Dependents elect not to remain enroiied during the ieave of absence,
You (and/or Your Enrolled Dependents} may reenroll under the Contract oniy during the next annuai
enroilment period.

WHAT HAPPENS WHEN YOUR ENROLLED DEPENDENTS ARE NO LONGER ELiGiBi.E
if Your dependent is no ionger eiigibie as explained in the following paragraphs (uniess specified to the
contrary heloW), his or her coverage will end on the last day of the monthly period in which his or her
eiigibility ends. i-lowever, it may be possible for an ineligibie dependent to continue coverage under the
Contract according to the continuation of coverage provisions of this Booi<let.

Divorce or Annuirnent
Eilgit)ility ends for Your enrolled spouse and the spouse's children (un|ess such children remain eligible

by virtue of their continuing relationship to You} on the last day of the monthly period following the date a
divorce or annulment is finai.

if You Die

if You dle, coverage for Your Enrolied Dependents ends on the last day of the monthly period in which
Your death occurs.

Loss of Dependent Status

For an enrolled chiid who is no ionger an eligible dependent due to exceeding the dependent age limit,
eligibility ends on the last day of the monthly period in which the child exceeds the dependent age
lirnit.

- For an enrolled child who is no longer eligible due to disruption of Piacement before legal adoption and
Who is removed from Placement, eligibility ends on the date the child is removed from Piacement.

- For an enrolled child who is no longer an eligible dependent for any other cause (not described
above), eligibility ends on the iast day ci the mcnthiy period in which the child is no ionger a
dependent

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OTHER CAUSES OF TERMINAT!ON

Coverage for the Group may be terminated for the following reason. iiowever, it may be possible for
Members to continue coverage under the Contract according to the continuation of coverage provisions in
this Booklet.

Fraud or Misrepresentation

We have issued this Booi<|et in reilance upon ali information furnished to Us by You or on behalf ot You
and Your Enrolied Dependents. No statement made for the purpose of effecting insurance will void such
insurance or reduce benefits unless such statement is contained in a Written instrument signed t)y You.

in the event of any intentional misrepresentation of materlai fact or fraud by the Group, coverage under
the Contract will terminate for the Group.

CERT|FICATES OF CREDiTABLE COVERAGE
Requests for and inquiries about required certificates rotating to period(s) of creditable coverage under
the Contract should be directed to the Group, or to Us at P.O. Bo>< 31603, Sa|t take City, U`i“ 84130-0603.

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COBRA Continuation of Coverage

COBRA is a continuation of this coverage for a limited time after certain events cause a loss of eligibility
COBRA continuation does not appiy to all groups

if Your Group is subject to COBRA, COBRA continuation is available to Your Enrolled Dependents if they
lose eligibility because:

~ Your employment is terminated (un|ess the termination is for gross misconduct);
- Your hours of work are reduced;

- You die;

- You and Your spouse divorce or the marriage is annuiled;

- You become entitied to l\/ledicare benefits; or

- Your enrolled child loses eligibility as a child under this coverage

COBRA aiso is availabie to You if You icse eiigibiiity because Your empioyment terminates (other than
for gross misconduct) or Your hours ci wori< are reduced (A special COBRA continuation aiso applies
to You and Your Enrolled Dependents under certain conditions if You are retired and Your Group files for
bankruptcy.)

There are some circumstances involving disability or the occurrence ot a second one of these events
that can result in extension ci the limited period of continuation following a termination of empioyment or
reduction in working hours GOBRA aisc can terminate earlier than the maximum periods

Generai Rules

Generally, You or Your Enrolled Dependents are responsible for payment of the full premium for COBRA
continuation, plus an administration feel even if the Group contributes toward the premiums of those

not on COBRA continuation, The administration fee is 2 percent or, during any period of extension for
disability 50 percent

in order to preserve Your and Your Enrol|ed Dependent's rights under COBRA, You or Your Enrolled
Dependents must inform the Group in writing within 60 days of:

- Your divorce or annulment or a foss of eligibility of a child;

~ Your initial loss of eiigihiiity due to Your termination of employment or reduction in working hours and
You experience another one cf the events listed above; or

~ a Social Security disabiiity determination that You or Your Enrolled Dependent were disabled for Social
Security purposes at the time of a termination of employment or reduction in working hours or within
the first 60 days of COBRA continuation following that event. (lf a final determination is later made
that You or Your Enrolled Dependent is no longer disabled for Social Security purposes You or Your
Enrolled Dependent must provide the Group notice of that determination within 30 days of the date it is
made.)

The Group also must rneet certain notification, election and payment deadline requirements it is therefore
very important that You keep the Group informed of the current address of all lvlembers who are or may
become qualified beneficiaries

lt You or Your Enrolled Dependents do not elect COBRA continuation ooverage, coverage under the
Contract wiil end according to the terms ot the Contract and We will not pay claims ior services provided
on and after the date coverage ends Further, this may jeopardize Your or Your Enroiied Dependents*
future eligibility for an individual plan.

Notice
The Contract includes additional details on the COBRA Continuation provisions outiined here and
compiete details are available from Your Group.

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Non-COBRA Continuation of Coverage

A Group that is not required to otter COBRA Continuation of Coverage must offer a continuation ot Group
coverage benetits to You and Your Enro|ied Dependents upon loss of eligibility for coverage

The Group must notify You and Your Enroi|ed Dependents ot this continuation right. if You andfor
Your Enrolled Dependents do not receive notice, You may contact Us directiy within 60 days foiiowing
termination ot coverage and etect continuation of coverage

if You and/or Your Enro||ed Dependents choose to continue coverage under this right, You must enroll

in writing and pay the premium for such coverage within 60 days of coverage termination. You wili be
required to make timely premium payments to the Group. The Group may charge You and Your Enroi|ed
Dependents a premium no higher than the current rate paid for coverage ot a comparable l\/lemiaer

(or i\)iemt)ers) who iost coverage and the Group is not required to make any premium contribution for
continuation coverage Where an enrollment form and premium are received within the 60-day periodl the
accepting l\/lember's coverage continues, without interruption, from the date the tviember's coverage was
terminated

This continuation ot coverage will terminate when the tirst of the fotiowing occurs:

- You and/or Your Enro||ed Dependents fail to make payment of premiums for the coverage to the Group
within its estabiisneci timetrame;

~ six months elapse; or

~ the Group's coverage is terminated

if the Group replaces coverage with a similar pian, those who have continued coverage may obtain
coverage under the reptacernent policy tor the baiance ot the period that they would have been allowed to
extend benefits under the replaced coverage

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Other Continuation Options

Tifis section describes situations when coverage may also iJe extended for You and/or Your Enrolied
Dependents beyond the date Oi termination.

Avai|abttity of Other Coverage

When eligibility under the Contract terminates at the end of or in iieu of any availabie COBRA continuation
coverage pertod, or otherwise upon termination of this coverage, an individuai insurance poiicy or
Nledicare supplement pian is availabie through Us. The policy or plan will have equal or lesser benetits
than this coverage

Pregnancy

if this Booklet provided for maternity beneiits and an Enro||ed Emp|oyee or Enro||ed Ernployee's female
spouse is pregnant at the time of termination of the Contract and the Enroiied Ernpioyee or Enro|ied
Ernpioyee‘s female spouse is not eligibte for any repiaoernent group coverage within 60 days of the
termination of the Contract, We Wii| provide benefits tor pregnancy, childbirth or miscarriage as detailed in
this Bookiet ior a period not to exceed i2 months beyond the date of termination.

Tota! Disabiiity

if You are totally disabled at the time ot termination of the Contract, We witt continue to provide benefits
tor You for Covered Services received as a result of the disabling condition(s) beyond the date of
termination ot the Contract until the first ot the following situations occurs'.

- it has been 12 months from the date ct termination;
¢ You are no longer totaily disabled; or
~ You have met the ivlaximum Beneiits in this Booklet.

For the purpose of this provision, “totaliy disabied" means a condition resulting from illness or injury in
whicn, as certified by a Physician:

~ An Enroiied Empioyee or spouse is completely unabie to perform the substantiai duties ot any
occupation or business for which he or she is quaiitied. Quaiified here means by reason ct education,
training or experience in addition, the Enro|led Empioyee or spouse is not engaged in any occupation
for wage or proiit at the time ot being totaiiy disabled

- A retiree or Enroiled Dependent is completely unabie to engage in normai duties or activities cia
person in good heaith who is the same gender and age.

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General Provisions

This section explains various general provisions regarding Your benefits under this coverage.

CHO|CE OF FORUM
Any legal action arising out of the Contract must be filed in a court in the state of ldaho.

ER|SA (|F APPL§CABLE)
This provision applies if the Contract is part of an employee wettare benefit plan regulated under the
Employee Retirement income Security Act ot 1974 as amended (ERISA).

The Group intends that the Contract be maintained for the exciusive benefit of the employees.

The Group intends to continue this coverage indefinitety, but it also reserves the right to discontinue or
change this coverage at any time. lt the Group terminates the Contract for any reason and does not
repiace the coverage with comparable beneiits, emptoyees wlii receive ample notice. Employees witt also
receive instructions for converting their coverage to an individual planr

Rights and Protection

Emp|oyees are entitled to certain rights and protection under ER|SA. ER|SA provides that atl employees
shaii be entitled to:

- Examine without charge, at the plan administrator's office, aii poiicy documents including insurance
policies and copies of certain documents filed by the plan administrator with the U.S. Department of
Labor, such as detailed annual reports and poiicy descriptions
Obtain copies ot documents governing the operation of the plan upon written request to the pian
administrator The plan administrator may make a reasonable charge tor the copies

- Continue, generally at their own expense, health care coverage ot themselves their spouses and
children it coverage ends due to certain quaiifying events. Review the summary plan description and
governing documents ct the coverage for rules and other details about such COBRA continuation
rights

- Receive a certificate ot creditable coverage from group pians and health insurance issuers, free ct
charge, when he or she ioses coverage, becomes entitled to COBRA continuation, exhausts COBRA
continuation, and upon request within 24 months after losing coverage

Duties

in addition to creating rights ior employees ERiSA imposes duties upon the people who are responsible
for the operation of the employee benetit plan. The people who operate the pian. ca|ied l‘tiduciaries," have
a duty to do so prudently and in the interest of employees and their dependents No one, including the
empioyer, or any other person, may tire an empioyee or otherwise discriminate against one in any way to
prevent an employee from obtaining a welfare benefit or exercising his or her rights under ERlSA,

if an employee's claim for a weifare benefit is denied (or ignored) in whole or in part, he or she must
receive a written exptanation oi the reason for the denlai. Ernp|oyees have the rights to obtain copies of
related documents without charge and to Appeal any denial within certain time frames Under ERiSA,
there are steps they can take tc enforce the above rights. For instance, if an employee requests certain
materiais from the plan administrator in writing and does not receive them within 30 days, the employee
may tile suit in a federal court. in such a case, the court may require the plan administrator to provide the
materials and pay an employee up to $1‘§0 a day untii the materials are received, unless the materials
were not sent because of reasons beyond the control of the pian administrator.

Denied Claims

if an empioyee has a claim for benefits which is denied or ignored. in whole or in part, he or she may
fite suit in a state or federal court. An employee may aiso do so if he or she disagrees with a decision or
lack thereof concerning the quaiified status of a domestic relations order or medical child support order.
if fiduciaries misuse money, or if an employee is discriminated against for asserting his or her rights
employees may seek assistance from the U.S. Department of Labor or file suit in a federal court. 'ihe

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court will decide who shouid pay court costs and legal fees. if an empioyee is successfui, the court may
order the person an employee has sued to pay these costs and tees. if an employee loses, the court may
order the employee who sued to pay these costs and iees, for example, if it finds the claim frivolous if an
empioyee has any questions about the pian, he or she shouid contact the ptan administrator.

if Vou Need liiiore ERtSA information

if an employee has any questions about this statement or his or her rights under ER|SA, or if he or she
needs assistance obtaining documents from the plan administrator, the employee should contact the
nearest Field Oftice of the Empioyee Benefits Security Adminlstration, U.S. Department of Labor (|lsted

in the telephone directory) or the Division of i'echnical Assistance and inquiries, Ernpioyee Benefits
Security Adminlstration, U.S. Department of Labor, 200 Constitutlon Avenue, N.W., Washlngton, D.C.
202t{}. §mpioyees can aiso obtain publications about their ER|SA rights and responsibilities by caliing the
publications hotiine of the Employee Benetits Security Administratlon.

GOVERNING LAW AND DiSCRETiONARY LANGUAGE

The Contract will be governed by and construed in accordance with the laws

of the United States of Arnerica and by the iaws of the state of idaho without
regard to its conflict of law ruies. The plan administrator, the Group, detegates
Us discretion for the purpose of paying benefits under this coverage only if

We determine that You are entitied to them and of interpreting the terms and
conditions of the benefit plan, Finat determinations pursuant to this reservation
of discretion do not prohibit or prevent a claimant from seeking judicial review
of those determinations in federai court. The reservation of discretion made
under this provision only establishes the scope of review that a court will apply
when You seek judicial review of Our determination of the entitlement to and
payment of benefits or interpretation of the terms and conditions applicable to
the benefit pian. We are not the plan administrator, but are an insurance company
that provides insurance to this benefit plan, and the court will determine the level
of discretion that it wlii accord determinations

GROUP |S AGENT

The Group is Your agent for all purposes under the Contract and not the agent of Regence B|ueShieid of
ldaho. You are entitied to health care benefits pursuant to an agreement between t.is and the Group. in
the Contract, the Group agrees to act as agent for You in acknowledging Your agreement to the terms,
provisions iimitations and exclusions contained in the Contract. You, through the enroitrnent form signed
by the Enroiied Ernployee, and as beneficiaries of the Contract, acknowledge and agree to the terms,
provisions, iimltations and exciusions in this Boot<|et.

MOD|F|CA'¥EON OF CONTRACT

We shali have the right to modify or amend the Contract from time to time. However, no modification or
amendment will be effective until 30 days {or longer. as required by iaw) after written notice has been
given to i\/iembers or to the Group, and modification must be uniform within the product fine and at the
time of renewal Exceptions to this modification provision for circumstances beyond Our control are
further addressed in the Contract. No modification or amendment of the Contract wttl affect the benefits of
any Nlember who isl on the Eft'ectlve Date of such modification or amendmentf confined in a tiospitai or
other facility on an inpatient basis, until the first discharge from such iaciiity occurring after such Eftective
Date.

NO WAiVER

The faiiure or refusal ot either party to demand strict performance of the Contract or to enforce any
provision wiii not act as or be construed as a waiver of that party's right to iater demand its performance
or to enforce that provision. i\io provision of the Contract wiil be considered waived by Us uniess such
waiver is reduced to writing and signed by one of Our authorized ofticers.

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NOT!CES

Any notice to Members otto the Group required in the Contract will be considered to be property given
if written notice is deposited in the United States rnaii or with a private oarrier. i\iotloes to an Enrolled
Emp|oyee or to the Group will be addressed to the Enroiied Ernployee or to the Group at the last known
address appearing in Our recordsl if We receive a United States i°ostai Service change of address form
(COA) for an Enroiied Empioyee, We wlii update Our records accordingly Addltionaliy, We may forward
notice ior an Enrol|ed Empioyee to the Group administrator it We become aware that We don't have a
valid mailing address for the Enro||ed Employee. Any notice to Us required in the Contract rnay be given
by mall addressed to: Regence BiueShield of idaho1 P.O. Box 31603. Sait Lake City, U`f 84130-0603;
provided, however that any notice to Us wlii not be considered to have been given to and received by t.is
untii physicaiiy received by Us.

Notice Of Annua| ilfleeting

The annuai meeting of Regence BiueShieid of idaho Contract holders wlii be held at 10 a.m., Pacific
`i'lme, on the third Wednesday ot Aprii at its corporate headquarters iocated at 1602 21st Avenue,
Lewistonl iD.

PREMiUMS ~

Prerniums are to be paid to tls by the Group, in advance, and on or before the premium due date, Failure
by the Group to make timeiy payment of premiums may result in Our terminating the Group's or Niember‘s
coverage on the last day of the monthly period through which premiums are paid or such iater date as is
provided by appiicable law.

RELAT|ONSH|P TO BLUE CROSS AND BLUE SHiEi..D ASSOC|AT|ON

The Group on behalf ot itself and its iviembers expressly acknowledges its understanding that the
Contract constitutes an agreement solely between the Group and Regence BiueShieid of idaho, which is
an independent corporation operating under a iicense from the Biue Cross and Biue Shieid Association,
an association of independent Biue Cross and Biue Shield P|ans (the Association), permitting Us to

use the Biue Shieid Service i\/iark in the state of idaho and in Asotin and Garfieid counties in the state

of Washington and that We are not contracting as the agent of the Association. i'he Group on behalf

of itself and its iviernbers further acknowledges and agrees that it has not entered into the Contract
based upon representations by any person or entity other than Regence BiueShield of idaho and that no
person or entity other than Regence BiueShield of idaho will be held accountable or iiabie to the Group
or the Members for any ot Our obligations to the Group or the ivtembers created under the Contract This
paragraph wiil not create any additional obligations whatsoever on the part ot Regence BiueShieid of
idaho other than those obligations created under other provisions of the Contract.

REPLACEMENT

in the event the Contract replaces another group contract or policy within 60 days of its termination, We
witt immediately cover ali employees and dependents covered under the previous pian at the date of
discontinuance provided they meet the definition of an Enroiied Employee and Enrolied Dependent under
the Contract and otherwise would be eligibie ior coverage under the previous pian.

REPRESENTAT§ONS ARE NOT WARRANT|ES

|n the absence ot fraud, ail statements You make in an enroiirnent form wilt be considered representations
and not warrantiesl i\io statement made tor the purpose ot obtaining coverage wiil void such coverage

or reduce benefits uniess contained in a written document signed by You, a copy of which is furnished to
You.

WE ARE NOT RESPONSEBLE FOR HEALTH SAV|NGS ACCGUN¥ FlNANC|AL OR TAX
ARRANGEN|ENTS

While this high deductible health pian was designed for use in conjunction with a heaith savings account
(HSA), We do not assume any tiabiiity associated with Your contribution to an l-|SA during any period
that this high deductibie health plan does not quaiify for use with an HSA. An i-lSA is a tax-exempt
account established under Seotion 223(d) of the internal Revenue Code exclusively for the purpose

of paying qualified medicai expenses ot the account beneficiary Contributions to such an account are

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tax deductible but in order to qualify for and rnai<e contributions to an t-|SA, You must be enroiied in a
quaiitied high deductibie heaith plan (and generally not be enroiied in other coverage). You are solely
responsibie tc ensure that this plan quaiifies, and continues to qualify, for use with any i-iSA that ‘/ou
choose to establish and maintain Piease note that the tax references contained in this Book|et reiate
to federai income tax only. The tax treatment ot i-iSA contributions and distributions under ‘r'our state‘s
income tax iaws may difier from the federai tax treatment, and differs irom state to statel

We do not provide tax advice and assume no responsibiiiiy for reimbursement frorn the custodial financial
institution under any HSA with which this high deductibie health plan is used. Consult with Your tinanciai
or tax advisor tor tax advice or for more information about Your eligibility for an HSA.

WHEN BENEFlTS ARE AVAlLABLE
in order for health expenses to be covered in this Booklet, they rnust be incurred white coverage is in
effect Coverage is in effect when all of the foiiowing conditions are metz

- the person is eligible to be covered according to the eligibility provisions in the Contract;
- the person has enroiied in coverage and has been enrolled by Us; and
- premium tor the person for the current month has been paid by the Group o_n a timely basis.

'i'he expense ot a service is incurred on the day the service is provided and the expense of a supply is
incurred on the day the supply is deiivered to You.

WOMEN'S HEALT§-l AND CANCER RlGHTS

if You are receiving benefits in connection with a mastectomy and You, in consultation with Your attending
Physician, elect breast reconstructionl We will provide coverage (subject to the same provisions as any
other benetit) for:

' reconstruction ct the breast on which the mastectorny was periorrned;

~ surgery and reconstruction of the other breast to produce a symmetrical appearance; and

- prosthesis and treatment of physical ccmpiications of all stages of mastectomy, including
lymphedernas,

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Definitions

'i'he following are definitions of important terms used in this Booi<let. Other terms are defined where they
are first used.' '

AEiHate means a company with which We have a relationship that ailows access to Providers in the state
in which the Afiiiiate serves and inciudes the following companies Regence BiueCross BiueShieid of
Oregon in the state of Oregon, Regence BiueCross BiueShieid of Utah in the state of Utah and Regenoe
BiueShie|d in parts of the state of Washington.

A|iowed Amount means:

- For preferred and participating Providers (see definitions of "Category 'l" and "Category 2" beiow), the
amount that they have contractuaiiy agreed to accept as payment in fuii for a service or suppiy.

- For nonparticipating Providers (see definition of "Category 3" beiow) who are not accessed through
the BiueCard Program, the amount We have determined to be reasonable charges for Covered
Services or supplies, 'ihe Aiiowed Amount may be based upon billed charges for some services, as
determined by Us or as otherwise required by iaw.

- For nonparticipating Providers (see definition ct *‘Category 3" beiow) accessed through the BiueCard
Program, the iower ot the Provider‘s billed charges and the amount that the Host Biue identifies to Us
as the amount on which it wouid base a payment to that Provider.

Charges in excess of the Aiiowed Amount are not considered reasonabte charges and are not
reimbursab|e. For questions regarding the basis for determination of the Ailowed Amount, piease contact
Us,

Ambulatory Surgica| Center means a distinct facility or that portion ot a 1iaciiity that operates exciusive|y
for the purpose of providing surgical services to patients who do not require hospitalization and for whom
the expected duration of services does not exceed 24 hours to|iowing admission

§ooklet is the description oi the benefits for this coverage. The Booi<let is part of the Contract between
the employer Group and Us. We wi|i create and furnish Booi<iets to the Group identifying the generai
provisions and scheduie of benefitsr ior distribution to each Enroi|ed Emp|oyee.

Caiendar Year means the period from danuary i through Decerriber 31 oi the same year; however, the
first Caiendar Year begins on the Ntember's Eftective Date.

Category 1 means the benefit reimbursement level for services that are received from a Provider who
has an effective participating contract with Us or one of Our Affiiiaies which designates him, her or it as

a preferred Provider as well as Providers outside the area that We or one of Our Aftiiiates serves, but
who have contracted with another Biue Cross and/or Biue Shie|d organization in the BiueCard Prograrn
(designated as a Provider in the "Preferred Provider Organization {PPO) Network") to provide services
and suppiies to Niembers in accordance with the provisions ot this coveragel if We or one ct Our Affiiiates
have more than one preferred Provider network from which the employer Group may choose for benefits
under the Contract, then the Providers contracted under the preferred network seiected by the employer
Group will be considered the only preferred Providers for purposes of payment of benefits in this Bookiet.
Category t reimbursement is generally at the highest payment level and You will not be charged for
baiances beyond any Deductibie and/or Coinsurance for Covered Services.

Category_Z_ means the benefit reimbursement level for services that are received from a Provider who
has an effective participating contract with Us or one ot Our Affiiiates which designates him, her or it as
a participating Provider as weii as Providers outside the area that We or one of Our Affiiiates servesl but
who have contracted with another Biue Cross and/or Biue Shieid organization in the BiueCard Program
(designated as a Provider in the "Participating Network") to provide services and supplies to iV|ernbers
in accordance with the provisions of this coverage. Category 2 reimbursement is generaiiy a lower
payment ievei than Category i, but You wiil not be charged for balances beyond any Deductibie and/or
Coinsurance tcr Covered Services.

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CategoryM§ means the benefit reimbursement ievei for services that are received from a Provider who
does not have an eifective participating contract with Us or one of Our Afiiiiates to provide services and
supplies to Nlembers. Category 3 reimbursement is generally the iowest payment ievel ot ait categories,
and You may be billed for balances beyond any Deductibie and/or Coinsurance for Covered Services.

QWo_ngenital Anoma|y means a condition existing at or from birth that is a significant deviation from

the common form or function of the body, whether caused by a hereditary or developmentai defect or
disease. For the purpose of this definition, the terrn "significant deviation" is defined to be a deviation
which impairs the function ot the body and inciudes, but is not limited to, the conditions ct c|eft |ip, cieft
palate1 webbed fingers or toes, sixth toes or fingers or defects of metaboiism and other conditions that are
medically diagnosed to be Congenitai Anorriaiies.

Covered Service means a service, suppiy, treatment or accommodation that is iisted in the benefits
sections in this Bookle’t.

Custodial Care means care that is for the purpose ot watching and protecting a patient, rather than being
a i-iealth intervention Custodlal Care inciudes care that helps the patient conduct activities of daily living
that can be provided by a person without medical or paramedicai skills and/or is primarily for the purpose
of separating the patient from others or preventing seif-harm.

Dentai Services means services or supplies (inciuding medications) provided to preventI diagnose or treat
diseases or conditions of the teeth and adiacent supporting soft tissues, including treatment that restores
the function ct teeth.

Effectlve Date means the date specified by Us, following Our receipt oi the enrollment torrn, as the date
coverage begins for You and/or Your dependents

Emeroencv lViedical Condition means a medical condition that manifests itself by acute symptoms ot
sutficient severity (including severe pain) so that a prudent |ayperson who has an average knowledge ot
medicine and health would reasonably expect the absence of immediate medicai attention at a l-lospital
emergency room to result in any one ot the ioi|owlng:

- placing the i\/iember‘s health, or with respect to a pregnant ivlember, her health or the heaith of her
unborn chiid, in serious jeopardy;
serious impairment to bodily functions; or

¢ serious dysfunction of any bodiiy organ or part.

Enroi|ed Dependent means an Enroi|ed Emp|oyee‘s eligibie dependent who is listed on the Enroi|ed
Employee‘s completed enro|irnent form and who is enrolled under the Contract.

Enroi|ed Employee means an employee of the Group who is eiigibie under the terms of the Contract, has
compieted an enrollment term and is enroiied under this coverage.

Essential Benefits are determined by the U.S. Department of Health and i~iuman Services (l-li-iS) and
are subject to change, but currently include at least the foiiowing generai categories and the items and
services covered within the categories: ambulatory patient services, emergency servicesl hospitaiization,
maternity and newborn care, mental health and substance use disorder services, including behavioral
health treatment, prescription drugs, rehabilitative and habiiitative services and devicesl laboratory
services, preventive and we|lness services and chronic disease management and pediatric services
including oral and vision care.

Fami|y means an Enroiied Empioyee and his or her Enroiied Dependents

Health intervention is a medication, service or suppiy provided to prevent, diagnose, detect, treat or
paiiiate the foilowing: disease, lllness, iniury, genetic or Congenitai Anomaiyl pregnancy or biological

or psychological condition that lies outside the range of normai, age-appropriate human variation', or to
maintain or restore functionai ability. A i-tea|th intervention is defined not cniy by the intervention itself, but
also by the medical condition and patient indications for which it is being applied A Heaith intervention is

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considered to be new if it is not yet in widespread use for the medical condition and the patient indications
being considered

Heatth Outcorne means an outcome that affects health status as measured by the length or quality of
a person's life. 'i'he Health intervention's overall beneficial effects on health must outweigh the overall
harmfui effects on heaith.

Hospital means a taciiity that is licensed as a generai acute or speciaity i-iospital by the state in which
the Hospitai is tocated. A t~iospita| provides continuous 24~hour nursing services by registered nurses.
A i~iospitai has an attending medicai staif consisting of one or more Physicians. A i-iospitai under this

definition is not, other than incidentai|y, a place for rest, a nursing horne or a faciiity for convalescence.

iilness means a congenital maiformation that causes functionai impairment', a condition, disease, ailment
or bodily disorder, other than an injury; and pregnancy lilness does not include any state ot mental health
or mental disorder (which is otherwise defined in this Booktet).

in'tury means physical damage to the body intiicted by a foreign obieot, torce, temperature or corrosive
chemical or that is the direct result of an accident, independent ot illness or any other cause. An injury
does not mean bodily injury caused by routine or normal body movements such as stooping, twisting,
bending or chewing and does not include any condition reiated to pregnancyl

investigationai means a Health intervention that We have ciassified as lnvestigationat. We wilt review
Scientific Evidence from wait-designed ctinica| studies found in peer-reviewed medical literature, ii
avaiiabie, and information obtained from the treating Physician or Practitioner regarding the l~leaith
intervention to determine if it is lnvestigationai. A i-ieaith intervention not meeting all of the foilowing
criteria is, in Ouriudgment, investigationa|:

- it a medication or device, the Health intervention must have final approvat from the FDA as being safe
and efficacious ior generai marketing i-iowever, ita medication is prescribed for other than its FDA-
approved use and is recognized as effective for the use for a particuiar diagnosed condition, benefits
tor the medication may be provided when so used.

- “i“he Scientii\c Evidence must permit conclusions concerning the effect of the Health intervention on
i~ieaith Outcornes, which include the disease process, injury or itiness, length of iite, abitity to function
and quaiity of iife. '

~ The l-ieatth intervention must improve net Health Outcome.

- `i'he Scientific Evidence must show that the Health intervention is as benetioiai as any estabiished
alternatives

- The improvement must be attainable outside the laboratory or olinicai research setting.

Lifetime means the entire iength ot time a t\/iernber is continuousiy covered under the Contract (which
may inciude more than one coverage) through the Group with Us.

 

Niedicaiiv Necessary or iviedicai Necessitv means health care services or suppiies that a Physician or
other health care Provider, exercising prudent clinicai judgment, would provide to a patient for the purpose
of preventing, evaluating, diagnosing or treating an iiiness, lniury, disease or its symptoms, and that are:

~ in accordance with generally accepted standards of medical practice;

- ciinicaiiy appropriate, in terms ot type, trec|uency, extent, site and duration, and considered effective tor
the patient's iiiness, injury or disease; and

- not primarily ior the convenience ot the patient, Physioian or other health care Provider, and not
more costly than an alternative service or sequence ot services or suppiy at least as iii<eiy to produce
equivalent therapeutic or diagnostic results as to the diagnosis or treatment of that patient's li|ness,
injury or disease.

For these purposes, "general|y accepted standards of medical practice" means standards that are based
on credible Scientific Evidenoe published in Peer~Reviewed Niedlcai i_iterature generally recognized
by the relevant medicai communityl Physician Speciaity Society recommendations and the views ot

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Physioians and other health care Providers practicing in relevant clinical areas and any other relevant
factors.

lviember means an Enroi|ed Empioyee or an Enrolied Dependent

i\iewborn_Children means a child or children born during the term of the Contract to a parent who is

an Enroi|ed Empioyee or spouse of an Enrolied Empioyeel i\iewborn Chlidren aiso includes adopted
newborn intents who are Piaced with the Enroi|ed Empioyee within 60 days ot the adopted chiid's date of
birth A child wiil no longer be a Newborn Child if he or she has a break in coverage ot 63 or more days.

 

i\lewly Adopted Chlidren means a child or children under the age of 18 who is Piaced for adoption with
an Enroiied Empioyee more than 60 days after the chiid's date ot birth. A child will no ionger be a Newly
Adopted Chiid if he or she has a break in coverage ot 63 or more days after Piacernent for adoption with
the Enroi|ed Empioyee.

Physlcian means an individual who is duty licensed to practice medicine and surgery in att ot its branches
or to practice as an osteopathic Physlcian and surgeon.

Eiaced or Placement means physicai Piacement in the care of the adoptive Enrolied Empioyee. in
those circumstances in which such physical Placement is prevented due to the medicai needs ot the
child requiring placement in a medical facility, it means when the adoptive Enroiied Empioyee signs an
agreement for adoption of such child and signs an agreement assuming financial responsibiiity tor such
child.

Practitioner means an individuai who is duly licensed to provide medical or surgical services which are
similar to those provided by Physicians. Practittoners include podiatrists, psychologists, certified nurse
midwlvesl certified registered nurse anesthetistsl dentists (doctor of medical dentistry or doctor of dentat
surgery, or denturist; and a dental hygienist who is permitted by his or her respective state licensing
board. to independentty biil third parties) and other professionals practicing within the scope of his or her
respective licenses

Provider means a Hospital, Si<llled Nurslng Facility, Ambutatory Surgical Center, l:’hysicianr Practitloner or
other individual or organization which is duly licensed to provide medical or surgicai services,

Rehabilitation i'-'aciiity means a iacility or distinct part ct a faciiity that is iicensed as a Rehabiiltation
F-“aciiity by the state in which it is located and that provides an intensive, multidisciplinary approach to
rehabilitation services under the direction and supervision ct a Physician.

Scientifig Evidence means scientihc studies pubiished in or accepted for pubiication by medical iournais
that meet nationaiiy recognized requirements ior scientific manuscripts and that submit most of their
pubiished articles for review by experts who are not part of the editorial statf; or findings, studies or
research conducted by or under the auspices of federal government agencies and nationaliy recognized
federal research institutes However, Scientitic Evidence shaft not include pubiished peer»reviewed
literature sponsored to a signiticant extent by a pharmaceutical manufacturing company or medicai device
manufacturer or a single study without other supportable studies

Skiiied Nursing i:aciiity means a facility or distinct part of a facility which is iicensed by the state in which
it is located as a nursing care facility and which provides skiiied nursing services by or under the direction
and supervision or a registered nurse.

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For rnore information cali Us at
't (877) 508-7359 or You can write to Us at
1602 21st Avenue, Lewiston, iD 83501

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John C. Hughes, tSB No. 7606

Wiiliam K. Srnith, ISB No. 9769

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Attomcys for Defcndarlt Regcncc Biue Shield of
Idaho, Inc.

iN THE DISTRJCT COURT OF THE FOURTH JUDICIAL DISTRICT

OF THE STATE OF IDAHO, iN AND FOR THE COUNTY OF ADA

PAUL VINCI, an individual,
Ptaintiff,
vs.
REGENCE BLUE SHIELD OF IDAHO,
YC., AND JOHN and JANE DOES t through

Defendants.

 

 

Case No. CVt}i~lS~15982

NOTICE OF FILING OF NOTICE OF
REMOVAL

TO: PLAINTIFF PAUL VINCI AND THE CLERK OF THE DISTRIC'J` COURT OF

THE FOURTH JUDICIAL DISTRICT OF THE STATE OF IDAHO, iN AND FOR THE

COUNTY OF ADA.

NOTICE OF FILING OF NOTICE OF REMOVAL - 1

EXHIBIT D

41823.(}002.§ 1381961.1

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PLEASE TAKE NOTICE that on October 1, 2018, the above-named Defendant caused to
bc filed in thc United States District Court for the District of ldaho a Notice of Removal, a copy
of` Which (excluding its eXhibits) is attached as Exhibit 1.

PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. § l446(d), the filing of
the Notice of Removal, together With the filing of this notice Wlth this Court and the service of
the Notice of Removal and this notice on the other parties, effects the removal of this action to
federal court, and this Court may proceed no further With this action unless and until this action

is remanded

Dated: /0///£0{5

HAWLEY TROXELL ENNIS & I~IAWLEY LLP

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Williarn K. Smith, ISB No. 9769
Attorneys for Def`endanf Regence Biue Shield of
Idaho, Inc.

 

NOTICE OF FILING OF NOTICE OF REMOVAL - 2
41823.0002.11331961.1

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CERTIFICATE OF SERVICE

JHEREBY CERTIFY that l caused to be served a true copy of the foregoing NOTICE
OF FILING OF NOTICE OF REMOVAL by the method indicated beloW, and addressed to each

of the following

Chip Giles

GILES & THOMPSON LAW, PLLC
350 N. 9th Street, Suite 500

Boise, ID 83702

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Dated: fitj/¢//ZQF§

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il jj rW5 ' ~.»#' § ` _

§:| U.S. Mail, Postage Prepaid
[:] Hzmd Delivered
|:§ Overnight Mail
|:3 E-mail: chip@gtidaholaw.com
l:| Facsimile: 208.947.2424
1 ourt

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William K. Smith

NOTICE OF FILING OF NOTICE OF REMOVAL - 3

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